Case 23-11131-TMH   Doc 826-3   Filed 12/06/23   Page 1 of 92




                    EXHIBIT C
          Redline of 2nd Amended Plan vs.
                 1st Amended Plan
                Case 23-11131-TMH                 Doc 826-3   Filed 12/06/23         Page 2 of 92




      THE COURT HAS NOT YET APPROVED THIS PLAN FOR SOLICITATION TO PARTIES
    ENTITLED TO VOTE ON THE PLAN. THE PLAN PROPONENTS ARE NOT SOLICITING YOUR
                          VOTE ON THIS PLAN AT THIS TIME.


                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                       Debtors. 1                      Jointly Administered


    FIRSTSECOND AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                 AMYRIS, INC. AND ITS AFFILIATED DEBTORS

PACHULSKI STANG ZIEHL & JONES LLP

Richard M. Pachulski (pro hac vice)
Debra I. Grassgreen (pro hac vice)
James E. O’Neill (DE Bar No. 4042)
Jason H. Rosell (pro hac vice)
Steven W. Golden (DE Bar No. 6807)
919 N. Market Street, 17th Floor
P.O. Box 8705
Wilmington, DE 19899-8705 (Courier 19801)
Telephone: (302) 652-4100
Facsimile: (302) 652-4400
rpachulski@pszjlaw.com
dgrassgreen@pszjlaw.com
joneill@pszjlaw.com
jrosell@pszjlaw.com
sgolden@pszjlaw.com

Counsel to the Debtors and Debtors in Possession




1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https:\cases.stretto.com\amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.


LA:4885-6165-4676.6 03703.0044866-1998-1461.5 03703.004
ACTIVE/126095810.17126374413.8
                Case 23-11131-TMH                 Doc 826-3   Filed 12/06/23        Page 3 of 92



                                               TABLE OF CONTENTS

ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
GOVERNING LAW                                                                                         1
      A.      Defined Terms.                                                                          1
      B.      Rules of Interpretation.                                                               21
      C.      Computation of Time.                                                                   22
      D.      Governing Law.                                                                         22
      E.      Reference to Monetary Figures.                                                         22
      F.      Reference to the Debtors or the Reorganized Debtors.                                 2223
      G.      Controlling Document.                                                                2223

ARTICLE II. ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, AND PRIORITY CLAIMS                          23
      A.      Administrative Claims.                                                                 23
      B.      DIP Facility Claims.                                                                   24
      C.      Professional Fee Claims.                                                               24
      D.      Priority Tax Claims.                                                                   25
      E.      Payment of Statutory Fees and Reporting to the U.S. Trustee.                         2625

ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS                                    26
      A.       Classification of Claims and Interests.                                               26
      B.       Treatment of Claims and Interests.                                                    27
      C.       Special Provision Governing Unimpaired Claims.                                        33
      D.       Elimination of Vacant Classes.                                                        33
      E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.                          3433
      F.       Intercompany Interests.                                                               34
      G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.     34
      H.       Controversy Concerning Impairment.                                                    34
      I.       Subordinated Claims.                                                                  34

ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN                                                   34
      A.     General Settlement of Claims and Interests; Estate Claims Settlement, Third-Party
             Release Settlement.                                                                    34
      1.     General Settlement of Claims and Interests.                                            34
      2.     Estate Claims Settlement.                                                              35
      3.     Third-Party Release Settlement.                                                        36
      B.     Sale of Consumer Brands Businesses and Other Assets and Allocation of Net Proceeds.    37

         C.        Unsecured Claims Reserve.                                                         37
         D.        Administrative Consolidation for Voting and Distribution Purposes Only.         3837
         ED.       Restructuring Transactions.                                                       38
         FE.       Reorganized Debtors.                                                            3938
         GF.       Sources of Consideration for Plan Distributions.                                  39
         HG.       Section 1145 Exemption and DTC Matters.                                           40
         IH.       Section 1146 Exemption.                                                         4241
         JI.       Corporate Existence.                                                              42
         KJ.       Vesting of Assets in the Reorganized Debtors.                                   4342
         LK.       Cancellation of Existing Securities and Agreements.                               43
         ML.       Corporate Action.                                                                 43
         NM.       New Organizational Documents.                                                     44
         ON.       Managers and Officers of the Reorganized Debtors.                               4544
         PO.       Effectuating Documents; Further Transactions.                                     45
         QP.       Management Incentive Plan.                                                        45
         RQ.       Preservation of Causes of Action                                                  45
         SR.       Sale ToggleOption                                                                 46

                                                          i
LA:4885-6165-4676.6 03703.0044866-1998-1461.5 03703.004
ACTIVE/126095810.17126374413.8
                Case 23-11131-TMH                 Doc 826-3    Filed 12/06/23    Page 4 of 92




ARTICLE V. EXCLUDED PARTY LITIGATIONCREDITOR TRUST                                                      47
      A.     Creation and Governance of the Excluded Party LitigationCreditor Trust.                    47
      B.     Purpose of the Excluded Party LitigationCreditor Trust.                                    47
      C.     Excluded Party LitigationCreditor Trust Agreement and Funding the Excluded Party
             LitigationCreditor Trust.                                                                   47
      D.     [Valuation of Assets.                                                                     4847
      E.     Excluded Party LitigationCreditor Trustee.                                                  48
      F.     Excluded Party LitigationCreditor Trust Interests.                                          48
      G.     Cooperation of the Reorganized Debtors.                                                     48
      H.     [United States Federal Income Tax Treatment of the Excluded Party LitigationCreditor
             Trust.                                                                                      49
      I.     Withholding                                                                                 49
      J.     Dissolution of the Excluded Party LitigationCreditor Trust.                                 50
      K.     [Tax Reporting.                                                                           5150
      L.     Transferred Privileges.                                                                   5251

ARTICLE VI. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                        52
      A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.                      52
      B.      Indemnification Obligations.                                                             5453
      C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases.                      54
      D.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.                   5554
      E.      Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.     56
      F.      Insurance Policies.                                                                        56
      G.      Reservation of Rights.                                                                     56
      H.      Nonoccurrence of Effective Date.                                                         5756

ARTICLE VII. PROVISIONS GOVERNING DISTRIBUTIONS                                                        5756
      A.      Distributions on Account of Claims or Interests Allowed as of the Effective Date.        5756
      B.      Disbursing Agent.                                                                          57
      C.      Rights and Powers of Disbursing Agent.                                                   5857
      D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.                    58
      E.      Manner of Payment.                                                                       6059
      F.      Compliance with Tax Requirements.                                                          60
      G.      Allocations.                                                                               60
      H.      No Postpetition Interest on Claims.                                                        60
      I.      Preservation of Setoffs and Recoupment.                                                  6160
      J.      Claims Paid or Payable by Third Parties.                                                   61

ARTICLE VIII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND DISPUTED
CLAIMS                                                                                                 6261
      A.       Allowance of Claims.                                                                    6261
      B.       Claims Administration Responsibilities.                                                   62
      C.       Estimation of Claims and Interests.                                                     6362
      D.       Disputed Claims Reserve.                                                                6362
      E.       Time to File Objections to Claims.                                                        63
      F.       Disallowance of Claims or Interests.                                                      63
      G.       No Distributions Pending Allowance.                                                     6463
      H.       Distributions After Allowance.                                                          6463
      I.       Single Satisfaction of Claims.                                                            64

ARTICLE IX. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS                                      64
      A.      Discharge of Claims and Termination of Interests.                                          64

                                                          ii
LA:4885-6165-4676.6 03703.0044866-1998-1461.5 03703.004

ACTIVE/126095810.17126374413.8
                Case 23-11131-TMH                 Doc 826-3     Filed 12/06/23   Page 5 of 92




         B.        Release of Liens.                                                            6564
         C.        Releases by the Debtors.                                                       65
         D.        Third-Party Release by the Releasing Parties.                                  66
         E.        Exculpation.                                                                   67
         F.        Plan Injunction.                                                             6867
         G.        Direct Claims Injunction.                                                      68
         H.        Protections Against Discriminatory Treatment.                                  69
         I.        Document Retention.                                                            69
         J.        Reimbursement or Contribution.                                                 69

ARTICLE X. CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN                                    7069
      A
      A.     Conditions Precedent to Approval of the Disclosure Statement                         69
      B.     Conditions Precedent to the Confirmation Date.                                     7069
      BC.    Conditions Precedent to the Effective Date.                                        7170
      CD.    Waiver of Conditions.                                                                71
      DE.    Effect of Failure of Conditions.                                                   7271
      EF.    Substantial Consummation.                                                          7271

ARTICLE XI. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN                                 72
      A.     Modification and Amendments.                                                        72
      B.     Effect of Confirmation on Modifications.                                            72
      C.     Revocation or Withdrawal of Plan.                                                   72

ARTICLE XII. RETENTION OF JURISDICTION                                                          7372

ARTICLE XIII. MISCELLANEOUS PROVISIONS                                                          7574
      A.       Immediate Binding Effect.                                                        7574
      B.       SEC Matters.                                                                     7574
      C.       Additional Documents.                                                              75
      D.       Statutory Committee and Cessation of Fee and Expense Payment.                      75
      E.       Reservation of Rights.                                                             75
      F.       Successors and Assigns.                                                          7675
      G.       Notices.                                                                         7675
      H.       Term of Injunctions or Stays.                                                    7776
      I.       Entire Agreement.                                                                  77
      J.       Plan Supplement.                                                                   77
      K.       Nonseverability of Plan Provisions.                                              7877
      L.       Votes Solicited in Good Faith.                                                     78
      M.       Closing of Chapter 11 Cases.                                                       78




                                                          iii
LA:4885-6165-4676.6 03703.0044866-1998-1461.5 03703.004

ACTIVE/126095810.17126374413.8
                Case 23-11131-TMH          Doc 826-3       Filed 12/06/23      Page 6 of 92



                                            INTRODUCTION

         Amyris, Inc. and the other above-captioned debtors and debtors in possession (collectively, the
“Debtors”) propose this joint chapter 11 plan of reorganization (as amended, supplemented, or otherwise
modified from time to time, this “Plan”) for the resolution of the outstanding Claims against, and Interests
in, the Debtors. Capitalized terms used herein and not otherwise defined shall have the meanings ascribed
to such terms in Article I.A of this Plan. Although proposed jointly for administrative purposes, the Plan
constitutes a separate Plan for each Debtor. The Debtors are the proponents of the Plan within the
meaning of section 1129 of the Bankruptcy Code. The classification of Claims and Interests set forth in
Article III of this Plan shall be deemed to apply separately with respect to each Plan proposed by each
Debtor, as applicable and set forth herein. The Plan does not contemplate substantive consolidation of
any of the Debtors, other than for purposes of voting on and distributions under the Plan.

        Reference is made, and Holders of Claims or Interests may refer, to the accompanying Disclosure
Statement for a discussion on the Debtors’ history, businesses, assets, results of operations, historical
financial information, valuation, projections, risk factors, a summary and analysis of the Plan, and certain
related matters.

      ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS, TO THE
EXTENT APPLICABLE, ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.
ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD REVIEW THE SECURITIES LAW
RESTRICTIONS AND NOTICES SET FORTH IN THIS PLAN (INCLUDING, WITHOUT
LIMITATION, UNDER ARTICLE IV HEREOF) IN FULL.

      THE ISSUANCE OF ANY SECURITIES REFERRED TO IN THIS PLAN SHALL NOT
CONSTITUTE AN INVITATION OR OFFER TO SELL, OR THE SOLICITATION OF AN
INVITATION OR OFFER TO BUY, ANY SECURITIES IN CONTRAVENTION OF APPLICABLE
LAW IN ANY JURISDICTION. NO ACTION HAS BEEN TAKEN, NOR WILL BE TAKEN, IN ANY
JURISDICTION THAT WOULD PERMIT A PUBLIC OFFERING OF ANY SECURITIES REFERRED
TO IN THIS PLAN (OTHER THAN SECURITIES ISSUED PURSUANT TO SECTION 1145 OF THE
BANKRUPTCY CODE IN A DEEMED PUBLIC OFFERING) IN ANY JURISDICTION WHERE
SUCH ACTION FOR THAT PURPOSE IS REQUIRED.

                                           ARTICLE I.
                           DEFINED TERMS, RULES OF INTERPRETATION,
                           COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

        1. “Ad Hoc Group” means the informal ad hoc group of certain holders of Convertible Notes
represented by Paul Hastings LLP, as primary counsel, and Blank Rome LLP, as local counsel, as further
described in the Verified Statement of the Ad Hoc Noteholder Group Pursuant to Bankruptcy Rule 2019
[Docket No. 129].

       2. “Ad Hoc Group Acceptance Event” means members of the Ad Hoc Group
holdingholders of at least 66 2/360% of the outstanding principal amount of the Convertible Notes have
executed a joinder to the Plan Support Agreement.

                                                    1
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.
17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 7 of 92



        3. “Ad Hoc Group Fee Reimbursement Letter” means those certain letter agreements, approved
by the Order Authorizing the Debtors to Assume and/or Enter Into Reimbursement Agreements With
Professionals for the Ad Hoc Noteholder Group [Docket No. 192], as amended in connection with the Ad
Hoc Group Acceptance Event by agreement among the Debtors, the DIP Lenders, the Foris Prepetition
Secured Lenders and the Ad Hoc Group Professionals to provide for the Ad Hoc Group Restructuring
Expenses to be included in the Carve-Out under the Final DIP Order.

       4. “Ad Hoc Group Professionals” means Paul Hastings LLP, as primary counsel, Blank Rome
LLP, as local counsel, and Berkeley Research Group, LLC, as financial advisor, each as retained by the
Ad Hoc Group in connection with the Chapter 11 Cases.

       5. “Ad Hoc Group Restructuring Expenses” means, subject to the terms and conditions of
the Ad Hoc Group Fee Reimbursement Letter, accrued, and not previously paid, documented fees and
expenses of the Ad Hoc Group Professionals in connection with the Chapter 11 Cases in the aggregate
amount not to exceed [$1,600,000.00]1,700,000.00.

        6. “Administrative Claim” means a Claim for costs and expenses of administration of the
Chapter 11 Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred on or after the Petition Date and
before the Effective Date of preserving the Estates and operating the Debtors’ businesses; (b) Allowed
Professional Fee Claims; and (c) all fees and charges assessed against the Estates pursuant to section 1930
of chapter 123 of the Judicial Code.

        7.      “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be (a) thirty days after the Effective Date for Administrative Claims
other than Professional Fee Claims and (b) forty-five days after the Effective Date for Professional Fee
Claims.

        8.      “Administrative Claims Objection Bar Date” means the deadline for filing objections to
requests for payment of Administrative Claims required to file a Proof of Claim form, which shall be the
first Business Day that is 18090 days following the Effective Date; provided that the Administrative
Claims Objection Bar Date may be extended by the Bankruptcy Court after notice and a hearing.

       9.       “Administrative Claims Budget” means that certain budget governing the fees,
expenses, and disbursements under the Plan, which shall be in form and substance as is attached hereto as
Exhibit [__].

       9.     10. “Affiliate” shall have the meaning of “affiliate” set forth in section 101(2) of the
Bankruptcy Code. “Affiliated” has a correlative meaning.

        10.      11. “Agent” means any administrative agent, collateral agent, or similar Entity under the
Foris Parties Facilities Documents, the DIP Facility Documents, or the Exit First Lien Facility Documents.

        11.      12. “Allowed” means, with respect to a Claim or Interest, any Claim or Equity Interest (or
portion thereof) against any Debtor (a) that has been listed by the Debtors in the Schedules as liquidated in
amount and not “disputed” or “contingent,” and with respect to which no contrary proof of Claim or proof
of Equity Interest has been filed or an objection or request for estimation has been filed on or before the
claims objection deadline or the expiration of such other applicable period fixed by the Bankruptcy Court,
(b) with respect to which a Proof of Claim or Proof of Interest has been filed and as to which no objection
or request for estimation has been filed on or before the claims objection deadline or the expiration of
such other applicable period fixed by the Bankruptcy Court, (c) as to which any objection has been filed

                                                    2
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 8 of 92



on or before the claims objection deadline or the expiration of such other applicable period fixed by the
bankruptcy courtBankruptcy Court and such objection has been settled, waived, withdrawn or denied by a
Final Order, or (d) that is Allowed (i) by a Final Order, or (ii) by a stipulation entered into between the
Holder of such Claim or Interest and Reorganized Amyris on or after the Effective Date. For purposes of
computing distributions under the Plan, a Claim or Equity Interest that has been deemed “Allowed” shall
not include interest, costs, fees or charges on such Claim or Equity Interest from and after the Petition
Date, except as provided in Bankruptcy Code section 506(b) or as otherwise expressly set forth in the
Plan. Any Claim or Equity Interest that has been or is hereafter categorized as contingent, unliquidated, or
Disputed, and for which no Proof of Claim or Proof of Interest, as applicable, is or has been timely Filed,
is not considered Allowed, as set forth in this Plan and the Confirmation Order. For the avoidance of
doubt, a Proof of Claim Filed after the applicable Claims Bar Date shall not be Allowed for any purposes
whatsoever absent entry of a Final Order allowing such late-Filed Claim. “Allow,” “Allowing,” and
“Allowance” shall have correlative meanings.

       12.      13. “Amended DSM Contracts” means the DSM Contracts as amended and restated,
modified, rejected and/or terminated materially consistent in all respects with the DSM Term Sheet.

         13.     14. “Amended Givaudan Contracts” means the Givaudan Contracts as amended and
restated, modified, rejected and/or terminated materially consistent in all respects with the Givaudan Term
Sheet.

        14.      15. “Amyris Equity Interests” means Interests in Parent.

        15.      “Approved Budget” has the meaning set forth in the DIP Facility Loan Agreement.

        16.      “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or other Claims and Causes of Action, or remedies that may be brought by or on behalf of
the Debtors or their Estates or other authorized parties in interest under the Bankruptcy Code or applicable
non-bankruptcy Law, including Claims, Causes of Action, or remedies arising under chapter 5 of the
Bankruptcy Code or under similar or related local, state, federal, or foreign statutes or common Law,
including fraudulent transfer Laws.

      17.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time.

        18.       “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware, presiding over the Chapter 11 Cases, or any other court having jurisdiction over the Chapter 11
Cases, including, to the extent of the withdrawal of reference under 28 U.S.C. § 157 and/or the General
Order of the District Court pursuant to section 151 of the Judicial Code, the United States District Court
for the District of Delaware.

        19.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court,
each, as amended from time to time.

        20.     “Bar Date Order” means the Order (I) Establishing the Claims Bar Date, (II)
Establishing the Governmental Bar Date, (III) Establishing the Rejection Damages Bar Date and the
Amended Schedules Bar Date, (IV) Approving the Form of and Manner for Filing Proofs of Claim,
Including Section 503(b)(9) Requests, and (V) Approving Notice of Bar Dates [Docket No. 528] (as
amended, modified, or supplemented from time to time in accordance with the terms thereof).


                                                    3
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 9 of 92



        21.     “Bidding Procedures Order” means the Order (A) Approving Bid Procedures for the Sale
of the Debtors' Brand Assets; (B) Approving Certain Bid Protections In Connection with the Debtors'
Entry Into Any Potential Stalking Horse Agreements; (C) Scheduling the Auction and Sale Hearing; (D)
Approving the Form and Manner of Notice Thereof; and (E) Granting Related Relief [Docket No. 553].

       22.       “Business Day” means any day other than a Saturday, Sunday, “legal holiday” (as defined
in Bankruptcy Rule 9006(a)), or other day on which commercial banks are authorized to close under the
Laws of, or are in fact closed in the State of Delaware.

        23.     “Cash” means cash in legal tender of the United States of America and cash equivalents,
including bank deposits, checks, and other similar items.

          24.     “Causes of Action” means, collectively, any and all claims, interests, controversies,
actions, proceedings, reimbursement claims, contribution claims, recoupment rights, debts, third-party
claims, indemnity claims, damages, remedies, causes of action, demands, rights, suits, obligations,
liabilities, accounts, judgments, defenses, offsets, powers, privileges, licenses, franchises, Liens,
guaranties, Avoidance Actions, agreements, counterclaims, and cross-claims, of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, asserted or unasserted, direct or indirect, assertable directly or derivatively, choate
or inchoate, reduced to judgment or otherwise, secured or unsecured, whether arising before, on, or after
the Petition Date, in tort, Law, equity, or otherwise pursuant to any theory of civil Law (whether local,
state, or federal U.S. Law or non-U.S. Law). Causes of Action also include: (a) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by Law or in
equity; (b) any claim (whether under local, state, federal U.S. Law or non-U.S. civil Law) based on or
relating to, or in any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary
duty, fraudulent transfer or fraudulent conveyance or voidable transaction Law, violation of local, state, or
federal non-U.S. Law or breach of any duty imposed by Law or in equity, including securities Laws and
negligence; (c) the right to object to or otherwise contest Claims or Interests and any Claim Objections;
(d) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; and (e) such claims and defenses
as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy
Code.

        25.     “Chapter 11 Cases” means: (a) when used with reference to a particular Debtor, the case
pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and (b) when
used with reference to all the Debtors, the procedurally consolidated and jointly administered chapter 11
cases pending for the Debtors in the Bankruptcy Court.

        26.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against
any of the Debtors.

        27.    “Claim Objection” means an objection to the allowance of a Claim as set forth in section
502 of the Bankruptcy Code, Bankruptcy Rule 3007, and/or any order of the Bankruptcy Court regarding
omnibus claims objections.

         28.     “Claims Bar Date” means the applicable deadline by which Proofs of Claim must be
Filed, as established by: (a) the Bar Date Order; (b) aany Final Order of the Bankruptcy Court; or (c) the
Plan.




                                                     4
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 10 of 92



       29.      “Claims Register” means the official register of Claims maintained by the Solicitation
Agent or the clerk of the Bankruptcy Court.

         30.    “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant
to section 1122(a) of the Bankruptcy Code.

        31.     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

       32.     “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003
and 9021occurs.

       33.     “Confirmation Hearing” means the hearing held by the Bankruptcy Court to consider
Confirmation of the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the
Bankruptcy Code, as such hearing may be continued from time to time.

        34.     “Confirmation Order” means the order entered by the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code.

        35.     “Consenting Contract Counterparties” means each of DSM and Givaudan, provided said
party executes the Plan Support Agreement.

      36.      “Consenting Convertible Noteholders” means each holder of Convertible Notes who (i) is
a member of the Ad Hoc Noteholder Group and (ii) executes the Plan Support Agreement.

        37.      “Consumer Brands” means Biossance®, JVN™, Rose Inc™, Pipette®, MenoLabs™,
Stripes™, and 4U by Tia™. For the avoidance of doubt, the Consumer Brands shall not include any of
the equity interests, assets or business with respect to Terasana®, EcoFabulous™, OLIKA™, Beauty Labs,
Purecane™, and Onda Beauty.

         38.    “Consumer Brands Businesses” means the business, operations, and assets used in
connection with the Consumer Brands [(but excluding, as specifically set forth in the applicable asset
purchase agreements, Estate Causes of Action, intercompany receivables, contracts unless assumed and
assigned to the buyer (with cure payments made by the buyer), privileged books and records, and/or
employees, (unless timely offers are made to employees of such businesses on terms of employment at
least the same as the current terms of employment)], unless provided otherwise in the applicable asset
purchase agreements).

        39.       “Consummation” means the occurrence of the Effective Date.

        40.     “Convertible Notes” means those certain convertible notes issued under that certain
Indenture dated as of November 15, 2021 for 1.50% Convertible Senior Notes Due 2026 in an aggregate
principal amount outstanding of approximately $690,000,000.

       41.       “Convertible Notes Claims” means any Claim against Parent arising under, derived from,
based on, or related to the Convertible Notes or the Convertible Notes Documents.

        42.    “Convertible Notes Documents” means, collectively, the Indenture dated as of November
15, 2021, as amended from time to time, between Parent and the Convertible Notes Trustee, relating to the


                                                    5
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 11 of 92



Convertible Notes and all other agreements, documents, and instruments delivered or entered into in
connection therewith, as amended, supplemented, or modified from time to time.

        43.     “Convertible Notes Trustee” means U.S. Bank Trust Company, National Association,
successor in interest to U.S. Bank National Association, solely in its capacity as trustee for the
Convertible Notes.

        44.      “Convertible Notes Trustee Fees and Expenses” means subject to the occurrence of the
Ad Hoc Group Acceptance Event, the reasonable and documented compensation, fees, expenses, and
disbursements incurred by the Convertible Notes Trustee, including without limitation, attorneys’ and
agents’ fees, expenses and disbursements, incurred by the Convertible Notes Trustee prior to the Effective
Date, and, after the Effective Date, reasonable fees and expenses incurred in connection with distributions
made pursuant to the Plan, in each case to the extent payable or reimbursable under any of the Convertible
Notes Documents and as set forth in the Administrative Claims Budgetaggregate amount not to exceed
$250,000.00.

        45.      “Court-Ordered Cure Cost” has the meaning set forth in Article VI.D of the Plan.

        46.     “Creditor Trust” means a trust established on the Effective Date for the benefit of the
Creditor Trust Beneficiaries in accordance with the Plan and the Creditor Trust Agreement.

         47.     “Creditor Trust Agreement” means the Creditor Trust Agreement, which shall be in form
and substance acceptable to the Creditors’ Committee and the Ad Hoc Group, as may be amended,
supplemented, restated, or otherwise modified from time to time, and substantially in the form to be
included in the Plan Supplement. provided, however, for the avoidance of doubt, the Debtors, the DIP
Lender, and the Foris Prepetition Secured Lenders shall have consent rights over the Creditor Trust
Agreement with respect to (i) access to books and records and personnel (which shall be at the sole cost
and expense of the Creditor Trust); (ii) preservation of attorney client privilege and confidentiality; and
(iii) such other terms and conditions that are not consistent with the terms hereof and the Plan Support
Agreement.

         48.     “Creditor Trust Assets” means the assets to be held in the Creditor Trust composed of (i)
the Creditor Trust Funding; (ii) the Estate Claims Settlement Consideration (including, without limitation,
the Retained Estate Causes of Action); (iii) the Third-Party Release Settlement Amounts specified for
distribution to qualifying holders of Allowed Claims in Classes 7 and 8; (iv) any amounts transferred to
the Creditor Trust pursuant to Article IV.T of the Plan; and (v) any net proceeds of (i) – (ii) above;
provided, however, that (a) Causes of Action of the Debtors and their Estates against any Released Parties
and (b) any Designated Preference Actions shall not be Creditor Trust Assets.

        49.      “Creditor Trust Beneficiaries” means the holders of Allowed Class 7 and Class 8 Claims.

         50.     “Creditor Trust Expenses” means expenses (including, but not limited to, any taxes
imposed on or payable by the Creditor Trust and professional fees) incurred by the Creditor Trust and any
additional amount determined to be necessary or appropriate by the Creditor Trustee to adequately reserve
for the operating expenses of the Creditor Trust.

        51.     “Creditor Trust Funding” means $2,000,000 in cash to be distributed to the Creditor Trust
on the Effective Date to pay for Creditor Trust Expenses.




                                                   6
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23      Page 12 of 92



       52.     “Creditor Trust Interests” means interests in the Creditor Trust held by the Creditor Trust
Beneficiaries.

       53.     “Creditor Trustee” means the trustee for the Creditor Trust, selected by the Creditors’
Committee and the Ad Hoc Group. The Creditor Trustee shall be identified in the Plan Supplement, and
such person and any successor Creditor Trustee shall be a “U.S. person” as determined for U.S. federal
income tax purposes.

        54.     46. “Creditors’ Committee” means the statutory committee of unsecured creditors
appointed in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code by the U.S. Trustee
pursuant to the United States Trustee’s Notice of Appointment of Committee of Unsecured Creditors
[Docket No. 152] on August 27, 2023, as may be reconstituted from time to time.

      55.        47. “Creditors’ Committee Member” means each Entity that is a member of the Creditors’
Committee.

        56.    “Creditors’ Committee Professionals” means White & Case LLP, as primary counsel,
Potter Anderson & Corroon LLP, as local counsel, FTI Consulting, Inc, as financial advisor, and Jefferies
LLC, as investment banker, each as retained by the Creditors’ Committee in connection with the Chapter
11 Cases.

        57.    “Creditors’ Committee Professionals Expenses” means, subject to approval by the
Bankruptcy Court, documented fees and expenses of the Creditors’ Committee Professionals in
connection with the Chapter 11 Cases in the aggregate amount not to exceed $12,000,000.00.

        58.    48. “Cure” means all amounts, including an amount of $0.00, required to cure any
monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed by the
Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

        49.     “D&O Insurance Settlement” means any settlement entered into prior to the Effective
Date between the Debtors and each of the insurance company carriers with respect to the D&O Liability
Insurance Policies, that provides for the insurance company carriers to buy back the D&O Liability
Insurance Policies for the payment of a purchase price to be agreed by the Debtors’ Independent Director
and the insurance company carriers.

          59.     50. “D&O Liability Insurance Policies” means all insurance policies (including any “tail
policy”) covering any of the Debtors’ current or former directors’, managers’, officers’, and/or employees’
liability and all agreements, documents, or instruments relating thereto.

         60.    51. “Debt Documents” shall mean, collectively, the Foris Prepetition Secured Claims
Documents, the DIP Facility Loan Agreement, the DSM Loan Agreement, and the Convertible Notes
Documents, and any other agreements, instruments, pledge or security agreements, intercreditor
agreements, guarantees, fee letters, control agreements, and other ancillary documents related thereto
(including any security agreements, intellectual property security agreements, or notes), as amended,
restated, supplemented, waived, and/or modified from time to time.

       61.      52. “Debtor Release” means the release given by the Debtors and the Estates to the
Released Parties as set forth in Article IX.C of the Plan.

        62.      53. “Deferred Deadline” has the meaning set forth in Article VI.A of the Plan.

                                                   7
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 13 of 92



         63.     54. “Definitive Documents” means all agreements, instruments, pleadings, orders, forms,
questionnaires, and other documents (including all exhibits, schedules, supplements, appendices, annexes,
instructions, and attachments thereto) that are utilized to implement or effectuate, or that otherwise relate
to, the Plan and the Restructuring Transactions, each of which shall be (except as otherwise set forth
herein) in form and substance acceptable to the Debtors and the Foris Secured Parties, including, without
limitation, (1) the New Organizational Documents; (2) the Plan Supplement; (3) the Exit First Lien
Facility Documents; (4) new, amended, or amended and restated guarantees, security documents, and
similar agreements, as applicable; (5) any and all documents required to implement, issue, and distribute
the New Common Stock; (6) any other document(s) necessary to implement or consummate the
Restructuring Transactions and the Exit First Lien Facility; (7) the New Stockholders Agreement; (8) the
Excluded Party LitigationCreditor Trust Agreement and any documents required to establish and
implement the distributions from the Unsecured Claims Reserve; (9) the Amended DSM Agreement and
Amended Givaudan Agreement; (10) the DSM Plan Promissory Note and DSM Plan Promissory Note
Pledge Agreement; and (11) any and all opinions, certificates, filings, and other deliverables required to
satisfy the conditions precedent to the effectiveness of the foregoing documents and agreements.

        64.     55. “Designated Preference Actions” means collectively Estate Causes of Action that are
preference actions arising under Section 547 of the Bankruptcy Code with respect to all Persons that are
so designated as Designated Preference Actions in the Plan Supplement.

        65.     56. “DIP Agent” means Euagore, LLC, in its capacity as administrative agent under the
DIP Facility Loan Agreement, its successors, assigns, or any replacement agent appointed pursuant to the
terms of the DIP Facility Loan Agreement.

       66.      57. “DIP Facility” means the $190 million debtor-in-possession credit facility provided to
the Debtors on the terms and conditions set forth in the DIP Facility Loan Agreement and the DIP Orders.

         67.     58. “DIP Facility Claim” means a Claim arising under, relating to, derived from, based
upon, or secured pursuant to the DIP Facility, including Claims for all principal amounts outstanding,
interest, fees, expenses, costs, indemnification obligations, reimbursement obligations, and any other
charges arising thereunder, in each case, with respect to the DIP Facility, including, for the avoidance of
doubt, such Claims held by the DIP Lenders or the DIP Agent.

        68.     59. “DIP Facility Documents” means, collectively, the DIP Facility Loan Agreement and
all other agreements, documents, and instruments delivered or entered into in connection therewith,
including, but not limited to, any guarantee agreements, pledge and collateral agreements, intercreditor
agreements, subordination agreements, fee letters, and other security documents.

        69.     60. “DIP Facility Loan Agreement” means that certain Senior Secured Super Priority
Debtor In Possession Loan Agreement, dated as of August 9, 2023 (as may be amended, supplemented, or
otherwise modified from time to time), by and among Amyris, Inc., Amyris Clean Beauty, Inc., and
Aprinnova, LLC, in their capacity as borrowers; the other Debtors and certain non-Debtor subsidiaries, as
guarantors; the DIP Lenders and the DIP Agent.

       70.      61. “DIP Lender(s)” means Euagore, LLC and other lenders from time to time party to the
DIP Facility Loan Agreement.

         71.    62. “DIP Orders” means any orders entered in the Chapter 11 Cases approving the DIP
Facility (whether interim or final) consistent with the DIP Facility Loan Agreement, including, for the



                                                    8
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 14 of 92



avoidance of doubt, the interim order entered by the Bankruptcy Court on August 11, 2023 [Docket No.
54] and the Final DIP Order [Docket No. 558].

         72.     63. “Direct Claims” means any claim or Cause of Action held by a Releasing Party
against any of the Released Parties (excluding the Debtors) and their respective Related Parties, but only
to the extent such claims arise from, relate to, or are connected with, directly or indirectly, in any manner
whatsoever, the Debtors, including their respective assets, liabilities, operations, financings, contractual
agreements, licenses, and including the governance thereof, and existing on or prior to the Effective Date
(including prior to the Petition Date).

        73.      64. “Direct Claims Injunction” has the meaning set forth in Article IX.G.1 of the Plan.

       74.      65. “Direct Claims Injunction Parties” means (a) the Reorganized Debtors; (b) the Foris
Secured Parties; and (c) the Related Parties of the foregoing parties.

        75.      66. “Direct Claims Threshold” means (a) with respect to holders of Direct Claims who are
creditors of the Debtors, determined separately with respect to such creditors classified in Class 7 and
Class 8, respectively, creditors who hold at least a majority in amount of the Claims asserted against the
Debtors (such Claims measured as of the PetitionRecord Date (as defined in the Solicitation Materials) on
the same basis as such Claims are Allowed for voting purposes) do not elect to opt out of granting the
Third-Party Release; and (b) with respect to holders of Direct Claims who are Holders of any Interests
consisting of issued and outstanding shares of common stock of Amyris, such Holders who hold at least a
majority of the outstanding common stock of Amyris (excluding for purposes of such calculation, any
outstanding common stock of Amyris held by any of the Direct Claims Injunction Parties) (such
outstanding common stock of Amyris measured as of the Distribution Record Date) do not elect to opt out
of granting the Third-Party Release.

        76.      67. “Disbursing Agent” means, as applicable, the Entity or Entities selected by the
Debtors, the Reorganized Debtors, Ad Hoc Group, Creditors’ Committee, or the Plan Administrator, as
applicable, to make or to facilitate distributions, allocations, and/or issuances in accordance with, and
pursuant to, the Plan. For the avoidance of doubt, (i) the Plan Administrator may serve as the Disbursing
Agent; and (ii) the DIP Agent shall not be a Disbursing Agent; and (iii) the Creditor Trust shall be the
Disbursing Agent for distributions to holders of Allowed Claims in Classes 7 and 8.

         77.     68. “Disclosure Statement” means the disclosure statement relating to this Plan, as may be
amended, supplemented, or modified from time to time, including all exhibits and schedules thereto, in
each case, as may be amended, supplemented, or modified from time to time, that is prepared and
distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other applicable Law,
to be approved pursuant to the Disclosure Statement Order.

         78.      69. “Disclosure Statement Order” means the order (and all exhibits thereto), entered by
the Bankruptcy Court, approving the Disclosure Statement and the Solicitation Materials, and allowing
solicitation of the Plan to commence.

         79.      70. “Disputed” means, as to a Claim or an Interest, any Claim or Interest (or portion
thereof): (a) that is not Allowed; (b) that is not disallowed by the Plan, the Bankruptcy Code, or a Final
Order, as applicable; and (c) with respect to which a party in interest has Filed a Proof of Claim or Proof
of Interest or otherwise made a written request to a Debtor for payment, without any further notice to or
action, order, or approval of the Bankruptcy Court.



                                                    9
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 15 of 92



         80.     71. “Distribution Date” means, except as otherwise set forth herein, (a) the date or dates
determined by the Debtors or, the Reorganized Debtors, the Plan Administrator, or the Creditor Trust, as
applicable, on or after the Effective Date, with the first such date occurring on or as soon as is reasonably
practicable after the Effective Date, upon which the Disbursing Agent shall make distributions to Holders
of Allowed Claims (as and if applicable) entitled to receive distributions under the Plan (except for
Holders of Allowed General Unsecured Claims), (b) the date or dates determined by the Excluded Party
LitigationCreditor Trustee, in its sole discretion, on or after the Effective Date, for distribution to the
beneficiaries of the Excluded Party LitigationCreditor Trust, or (c) the date or dates determined by the
Plan Administrator for distributions tounder the beneficiaries of the Unsecured Claims ReservePlan as
provided for in the Plan.

        81.      72. “Distribution Record Date” means the record date for purposes of determining which
Holders of Allowed Claims against or Allowed Interests in the Debtors are eligible to receive distributions
under the Plan, which date shall be the Confirmation Date, or such other date selected by the Debtors.
The Distribution Record Date shall not apply to Securities of the Debtors deposited with DTC or another
similar securities depository, the Holders of which may receive a distribution in accordance with Article
VII of the Plan and, as applicable, the customary procedures of DTC or another similar securities
depository.

        82.      73. “DSM” means DSM Finance B.V. and its Affiliates.

         83.     74. “DSM Contracts” means those contracts listed on Schedule A to the Plan Support
Agreement, as each has been amended, modified, amended and restated, or otherwise modified from time
to time, including all other contracts, agreements and licenses by and between DSM and the Debtors and
the Debtors’ Affiliates (but excluding the DSM Loan Agreement).

         84.   75. “DSM Loan Agreement” means that certain Loan and Security Agreement by and
among Amyris and (as defined therein) the Subsidiary Guarantors and DSM dated October 11, 2022 (as
further amended, supplemented, amended and restated, or otherwise modified from time to time).

         85.     76. “DSM Other Secured Claim” means that certain Claim in the aggregate principal
amount outstanding of $45,450,000 pursuant to the DSM Loan Agreement secured by a lien on Amyris’
right to receive certain earn-out payments pursuant to Section 3.5 of the Asset Purchase Agreement, dated
as of March 31, 2021, by and among, DSM Nutritional Products Ltd., as buyer and Amyris as seller.

        86.      77. “DSM Plan Promissory Note” means the note to be provided to DSM pursuant to
Section III.B.4 of the Plan, substantially in the form included as part of the Plan Supplement.

         87.     78. “DSM Plan Promissory Note Pledge Agreement” means the pledge agreement by
which Reorganized Amyris’ obligations under the DSM Plan Promissory Note will be secured by certain
interests, pursuant to Section III.B.4 of the Plan, substantially in the form included as part of the Plan
Supplement.

         88.    79. “DSM RealSweet Secured Claims” means that certain claim in the aggregate principal
amount outstanding of $29,518,925 pursuant to the DSM Loan Agreement, secured by a lien on Amyris’
Interests in Amyris RealSweet LLC.

        89.      80. “DTC” means The Depository Trust Company, a New York corporation.

       90.      81. “Effective Date” means the first Business Day after the Confirmation Order is entered
on which (a) all conditions precedent to the occurrence of the Effective Date set forth in Article X.A of

                                                   10
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
                 Case 23-11131-TMH         Doc 826-3      Filed 12/06/23      Page 16 of 92



the Plan have been satisfied or waived in accordance with Article X.CD of the Plan and (b) the Plan is
declared effective by the Debtors, in consultation with Foris, the Ad Hoc Group and the Creditors’
Committee.

           91.    82. “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       92.      83. “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11
Case pursuant to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter
11 Case.

           93.    84. “Estate Causes of Action” means all Causes of Action that are assets of the Debtors’
Estates.

       94.     85. “Estate Claims Settlement” means that settlement and release of the Estate Causes of
Action as provided for in Article IV.A and Article IX.C & F of the Plan in exchange for funding the
payments required under the Plan; (i) to satisfy Allowed Administrative Claims, Allowed Professional
Fees, Allowed Priority Tax Claims and U.S. Trustee Fees; and, (ii) the funding of the Estate Claims
Settlement Consideration.

       95.     86. “Estate Claims Settlement Consideration” means the aggregate of the Estate Claims
Settlement Cash Consideration and the Estate Claims Settlement Other Consideration.

         96.     87. “Estate Claims Settlement Cash Consideration” means $10,000,00015,000,000 in
cash which shall be distributed Pro Rata to Classes 7 and 8 by the Disbursing Agent, based upon the
Allowed Claims in such Classes, and if the Creditors’ Committee joins the Plan Support Agreement an
additional $2,000,000 to be held in the Excluded Party Litigation Trust to pay for Excluded Party
Litigation Trust Expenses.

        88.     “Estate Claims Settlement Order” means an order of the Bankruptcy Court approving the
Estate Claims Settlement in form and substance acceptable to the Debtors, the DIP Lenders, the Foris
Prepetition Secured Lenders, the Creditors’ Committee (if it joins the Plan Support Agreement) and the
Ad Hoc Group (if it joins the Plan Support Agreement), which Estate Claims Settlement Order may be
incorporated into the Confirmation Order or the Other Assets Sale Orderthe Creditor Trust Funding, in
each case whether or not Class 7 or Class 8 votes to accept the Plan.

        97.     89. “Estate Claims Settlement Other Consideration” means the Retained Estate Causes of
Action and the proceeds thereof, including any D&O Insurance Settlementwhich shall be transferred to
the Creditor Trust on the Effective Date and the proceeds thereof, which proceeds shall be distributed
topart of the Unsecured Claims ReserveCreditor Trust for distribution Pro Rata to Classes 7 and 8, based
upon the Allowed Claims in such Classes, whether or not such Classes vote to accept the Plan.

         98.      90. “Exchange Act” means the Securities Exchange Act of 1934, as amended, together
with the rules and regulations promulgated thereunder, as amended from time to time, or any similar
federal, state, or local Law.2

           99.    91. “Excluded PartyParties” means John Melo and Eduardo Alvarez.




                                                    11
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
                Case 23-11131-TMH        Doc 826-3       Filed 12/06/23      Page 17 of 92



         100.    92. “Excluded Party Direct Claim” shall mean any Direct Claim against any Excluded
Party.

        93.     “Excluded Party Litigation Trust” means a litigation trust established on the Effective
Date for the benefit of the Excluded Party Litigation Trust Beneficiaries in accordance with the Plan and
the Excluded Party Litigation Trust Agreement.

        94.      “Excluded Party Litigation Trust Agreement” means the Excluded Party Litigation Trust
Agreement, which if the Creditors Committee joins the Plan Support Agreement shall be in form and
substance acceptable to the Creditors’ Committee and reasonably acceptable to the Debtors and the Foris
Secured Parties, as may be amended, supplemented, restated, or otherwise modified from time to time, and
substantially in the form to be included in the Plan Supplement. provided, however, for the avoidance of
any doubt, the Debtors, the DIP Lender, and the Foris Prepetition Secured Lenders shall have consent
rights over the Plan Administrator Agreement with respect to (i) access to books and records and
personnel (which shall be at the sole cost and expense of the Excluded Party Litigation Trust); (ii)
preservation of attorney client privilege and confidentiality; (iii) the treatment of the Designated
Preference Actions; and (iv) such other terms and conditions that are not consistent with the terms hereof
and the Plan Support Agreement.

        95.     “Excluded Party Litigation Trust Assets” means the assets to be held in the Excluded
Party Litigation Trust composed of (i) the Excluded Party Litigation Trust Funding, (ii) all Causes of
Action of the Debtors and Estates against the Excluded Parties as of the Effective Date, (excluding (w)
any Causes of Action of the Debtors and Estates against the Released Parties, (x) preference actions under
Section 547 of the Bankruptcy Code; and (y) any Causes of Action sold or transferred to third parties
including, without limitation, any Causes of Action sold as part of the Sold Assets), and (iii) any net
proceeds thereof; provided, however, the preceding category (ii) shall be subject to any applicable D&O
Insurance Settlement.

        96.      “Excluded Party Litigation Trust Beneficiaries” means the Unsecured Claims Reserve for
the benefit of holders of Allowed Class 7 and Class 8 Claims.

         97.    “Excluded Party Litigation Trust Expenses” means expenses (including, but not limited
to, any taxes imposed on or payable by the Excluded Party Litigation Trust and professional fees) incurred
by the Excluded Party Litigation Trust and any additional amount determined to be necessary or
appropriate by the Excluded Party Litigation Trustee to adequately reserve for the operating expenses of
the Excluded Party Litigation Trust.

         98.     “Excluded Party Litigation Trust Interests” means interests in the Excluded Party
Litigation Trust held by the Excluded Party Litigation Trust Beneficiaries.

        99.     “Excluded Party Litigation Trustee” means the trustee for the Excluded Party Litigation
Trust, which person, unless the Creditors’ Committee joins the Plan Support Agreement, shall be selected
by the Debtors’ Independent Director, M. Freddie Reiss, and shall be reasonably acceptable to the DIP
Lender and the Foris Prepetition Secured Parties; if the Creditors’ Committee joins the Plan Support
Agreement, the Creditors’ Committee shall select the Excluded Party Litigation Trustee. The Excluded
Party Litigation Trustee shall be identified in the Plan Supplement, and such person and any successor
Excluded Party Litigation Trustee shall be a “U.S. person” as determined for U.S. federal income tax
purposes.

         101.    100. “Exculpated Parties” means, collectively, and in each case in its capacity as such:
(a) the Debtors; (b) the Foris Secured Parties; (c) all Consenting Convertible Noteholders; (d) the Ad Hoc

                                                  12
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 18 of 92



Group Professionals; (e) the Creditors’ Committee; (d) the Creditors’ Committee Members; and (ef) the
Related Parties of each of the foregoing parties.

        102.     101. “Executory Contract” means a contract to which one or more of the Debtors is a
party and that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

        103.    102. “Exit First Lien Facility” means the first lien senior secured credit facility for the
Exit First Lien Facility Amount, which shall be on the terms set forth in the Exit First Lien Facility
Documents, and which shall mature five years after the Effective Date, or if any portion of the outstanding
DIP Facility and/or Foris Prepetition Secured Loans is amended and restated or rolled-over into
indebtedness of Reorganized Amyris, up to ten years after the Effective Date.

        104.    103. “Exit First Lien Facility Agent” means the administrative agent and collateral agent
under the Exit First Lien Facility, solely in their respective capacities as such.

         105.    104. “Exit First Lien Facility Amount” means an aggregate principal amount of up to
$[100,000,000], excluding any portion of the outstanding DIP Facility and/or Foris Prepetition Secured
Loans that is amended and restated or rolled-over into indebtedness of Reorganized Amyris with the
specific identification and amount of the tranches of the Exit First Lien Facility to be specified in the Plan
Supplement.

        106.     105. “Exit First Lien Facility Documents” means, collectively, the applicable credit
agreements, collateral documents, mortgages, deeds of trust, Uniform Commercial Code statements, and
other loan documents governing the Exit First Lien Facility, the material documents of which shall be
included in the Plan Supplement.

        107.    106. “Exit First Lien Facility Lenders” means, collectively, the financial institutions
and/or other entities that may from time from time become lenders under the Exit First Lien Facility,
which parties shall be identified in the Plan Supplement; provided that the DIP Lender and the Foris
Prepetition Secured Lenders shall provide jointly and severally a backstop commitment for a
$[100,000,000] exit facility as set forth in the Plan Support Agreement and exhibits and schedules thereto.

        108.     107. “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition
Date.

         109.    108. “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or
its authorized designee in the Chapter 11 Cases.

       110.    109. “Final DIP Order” means the final order entered by the Bankruptcy Court on
October 16, 2023 [Docket No. 558].

         111.    110. “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court,
or other court of competent jurisdiction with respect to the relevant subject matter, that has not been
reversed, stayed, modified, or amended, and as to which the time to appeal, seek certiorari, or move for a
new trial, re-argument, or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceeding for a new trial, re-argument, or rehearing has been timely taken; or as to which, any appeal that
has been taken or any petition for certiorari that has been or may be filed has been withdrawn with
prejudice, resolved by the highest court to which the order or judgment could be appealed or from which
certiorari could be sought, or the new trial, re-argument, or rehearing has been denied, resulted in no stay
pending appeal or modification of such order, or has otherwise been dismissed with prejudice; provided
that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous

                                                    13
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH          Doc 826-3      Filed 12/06/23      Page 19 of 92



rule under the Bankruptcy Rules, may be filed with respect to such order will not preclude such order
from being a Final Order.

        112.     111. “Foris” means Foris Ventures, LLC and any of its Affiliates.

       113.     112. “Foris 2018 Loan” means that certain Amended and Restated Loan and Security
Agreement by and among Amyris, as borrower, Amyris Clean Beauty, Inc., Amyris Fuels, LLC, and AB
Technologies LLC, as guarantors, and Foris Ventures, LLC, as lender, dated as of October 28, 2019, as
amended by that certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further
amended, restated, supplemented or otherwise modified from time to time.

         114.    113. “Foris Prepetition Secured Claims” means those certain secured claims in the
approximate aggregate principal and interest amount outstanding of at least $312,100,000 as of the
Petition Date pursuant to (i) the Foris 2018 Loan, (ii) Amended and Restated Loan and Security
Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Foris, as
lender, dated as of September 27, 2022, as amended by that certain Omnibus Amendment Agreement,
dated as of June 5, 2023, and as further amended, restated, supplemented or otherwise modified from time
to time, (iii) Bridge Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary
Guarantors, as guarantors, and Perrara Ventures, LLC, as lender, dated as of March 10, 2023, as amended
by that certain Omnibus Amendment Agreement, dated as of June 5, 2023, and as further amended,
restated, supplemented or otherwise modified from time to time, (iv) Loan and Security Agreement by and
among Amyris, as borrower, the Subsidiary Guarantors, as guarantors, and Anesma Group, LLC, as
lender, dated as of June 5, 2023, (v) Loan and Security Agreement by and among Amyris, as borrower, the
Subsidiary Guarantors, as guarantor, and Anjo Ventures, LLC, as lender, dated June 29, 2023, and (vi)
Loan and Security Agreement by and among Amyris, as borrower, the Subsidiary Guarantors, as
guarantors, and Muirisc, LLC, and lender, dated as of August 2, 2023 (all of the foregoing as further
amended, supplemented, amended and restated, or otherwise modified prior to the Petition Date).

        115.   114. “Foris Prepetition Secured Claims Documents” means all agreements, documents,
and instruments delivered or entered into in connection with any Foris Prepetition Secured Claims, as
amended, supplemented, or modified from time to time.

        116.   115. “Foris Prepetition Secured Lenders” means collectively, Foris Ventures, LLC,
Perrara Ventures, LLC, Anesma Group, LLC, Anjo Ventures, LLC, and Muirisc, LLC.

      117.    116. “Foris Secured Parties” means Foris Ventures, LLC, Perrara Ventures, LLC,
Anesma Group, LLC, Anjo Ventures, LLC, Muirisc, LLC, the DIP Lenders, and the DIP Agent.

         118.    117. “General Unsecured Claim” means any unsecured Claim against any of the Debtors,
other than: (a) an Administrative Claim; (b) a Secured Claim, (c) a Priority Tax Claim; (cd) an Other
Priority Claim; (de) a Convertible Note Claim; or (e) a Section 510(b) Claim; or (f) a Direct Claim. For
the avoidance of doubt, General Unsecured Claims include (i) unsecured Claims resulting from the
rejection of Executory Contracts and Unexpired Leases, and (ii) unsecured Claims resulting from
litigation against one or more of the Debtors.

        119.     118. “Givaudan” means Givaudan SA and its Affiliates.

        120.  119. “Givaudan Contracts” means those contracts listed in the Plan Supplement, as each
has been amended, modified, amended and restated, or otherwise modified from time to time, including all



                                                  14
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 20 of 92



other contracts, agreements and licenses by and between Givaudan and the Debtors and the Debtors’
Affiliates.

        121.     120. “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy
Code.

        122.     121. “Holder” means an Entity holding a Claim against or an Interest in any Debtor, as
applicable.

         123.     122. “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        124.    123. “Intercompany Claim” means any Claim held by a Debtor or wholly-owned Affiliate
of a Debtor against another Debtor or wholly-owned Affiliate of a Debtor.

         125.    124. “Intercompany Interest” means, other than an Amyris Equity Interest in Parent, any
Interest in one Debtor held by another Debtor.

         126.    125. “Interests” means the legal interests, equitable interests, contractual interests, equity
interests or ownership interests, or other rights of any entity in the Debtors, including all equity securities
(as defined in section 101(15) of the Bankruptcy Code), capital stock, stock certificates, common stock,
preferred stock, partnership interests, limited liability company or membership interests, rights, treasury
stock, options, warrants, contingent warrants, convertible or exchangeable securities, investment
securities, subscriptions or other agreements and contractual rights to acquire or obtain such an interest or
share in the Debtors, partnership interests in the Debtors’ stock appreciation rights, conversion rights,
repurchase rights, redemption rights, dividend rights, preemptive rights, subscription rights and liquidation
preferences, puts, calls, awards or commitments of any character whatsoever relating to any such equity,
common stock, preferred stock, ownership interests or other shares of capital stock of the Debtors or
obligating the Debtors to issue, transfer or sell any shares of capital stock whether or not certificated,
transferable, voting or denominated “stock” or a similar security.

        127.  126. “Interim Compensation Order” means the Order Establishing Procedures for
Interim Compensation and Reimbursement of Expenses for Professionals [Docket No. 279].

        128.    127. “Intrepid Engagement Letter” means that certain engagement letter between Amyris,
Inc. and Intrepid Investment Bankers LLC, dated July 21, 2023, setting forth the terms of Amyris’
engagement of Intrepid as approved pursuant to that certain Order (I) Authorizing the Retention and
Employment of Intrepid Investment Bankers LLC as Investment Banker for the Debtors and Debtors in
Possession, Pursuant to 11 U.S.C. §§ 327(A) and 328, Nunc Pro Tunc to the Petition Date; (II) Waiving
Certain Requirements Imposed by Local Rule 2016-2; and (III) Granting Related Relief [Docket No. 280].

        129.     128. “IRS” means the United States Internal Revenue Service.

      130.     129. “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as
amended from time to time.

        131.   130. “KEIP/KERP Order” means that certain Order (I) Approving Key Employee
Incentive for Senior Leadership Employees and (II) Approving Key Employee Retention Plan for
Non-Insider Employees [Docket No. 286].

        132.     131. “Lavvan” means Lavvan, Inc.

                                                    15
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 21 of 92



         133.   132. “Lavvan Claims” means in the aggregate: (i) the Claims arising under, related to or
connected with, in any manner whatsoever, the Lavvan Documents; (ii) the Claims asserted by, or that
could be asserted by, Lavvan in, connection, with, or related to, the Lavvan Proceedings; and (iii) any and
all other Claims that Lavvan has, or may have, against the Debtors and its Affiliates as of the Effective
Date.

         134.    133. “Lavvan Documents” means (i) the Research, Collaboration and License Agreement
between Amyris and Lavvan dated March 18, 2019; (ii) the Security Agreement between Amyris and
Lavvan dated May 2, 2019; (iii) the Subordination Agreement between Amyris and Lavvan dated May 2,
2019; (iv) the Consent and Waiver, between Amyris and Foris Ventures, LLC dated May 2, 2019; (v) the
Escrow Agreement between Amyris, Lavvan, and SciSafe Inc. dated May 20, 2019; (vi) the DIPA Co.,
Limited Liability Company Agreement between Amyris and Lavvan dated May 2, 2019; (vii) the
Intellectual Property Assignment between Amyris and DIPA Co., LLC dated May 2, 2019; (viii) the
License Agreement between Amyris and DIPA Co., LLC dated May 2, 2019; (ix) the License Agreement
between Lavvan and DIPA Co., LLC dated May 2, 2019; and (x) all other documents, agreements,
contracts, licenses by and among LavaanLavvan and the Debtors and their Affiliates, and the same have
been amended, modified, amended and restated, or otherwise modified from time to time.

         135.   134. “Lavvan Proceedings” mean that certain arbitration proceeding pending in the ICC
International Court of Arbitration and that certain Complaint filed in the United States District Court,
Southern District of New York (Case 1:20-cv-07386-JPO) by Lavvan as plaintiff against Amyris as
defendant.

         136.   135. “Lavvan Secured Claim” means the Lavvan Claims to the extent they are secured by
a valid and enforceable Lien against any of the Debtors’ property.

         137.    136. “Law” means any federal, state, local, or foreign law (including common law),
statute, code, ordinance, rule, regulation, order, ruling, or judgment, in each case, that is validly adopted,
promulgated, issued, or entered by a governmental authority of competent jurisdiction (including the
Bankruptcy Court).

        138.     137. “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        139.    138. “Net Cash Proceeds” means Net Proceeds that are paid in cash at closing of the sale
of the Sold Assets.

        140.    139. “Net Proceeds” mean the cash proceeds from the sale of the Sold Assets less the
“Sale Fee” (as defined in and payable under the Intrepid Engagement Letter).

        141.   140. “New Board” means the new board of directors of Reorganized Amyris or each of
the Reorganized Debtors (if applicable and as the context requires).

        142.  141. “New Common Stock” means the common stock, common shares, ordinary shares, or
other common Interest or unit, as applicable, of Reorganized Amyris.

        143.    142. “New Organizational Documents” means the form of the certificates or articles of
incorporation, bylaws, shareholders’ agreement, or such other applicable formation documents, of each of
the Reorganized Debtors, including the New Stockholders Agreement.




                                                    16
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH          Doc 826-3      Filed 12/06/23       Page 22 of 92



        144.    143. “New Stockholders Agreement” means the definitive stockholders agreement or
other applicable agreement (including all annexes, exhibits, and scheduled thereto) governing the New
Common Stock, which shall be in form and substance acceptable to the Foris Secured Parties.

       145.     144. “Other Assets” means all of the assets of the Debtors’ Estates excluding: (i) the
Consumer Brands (and the proceeds of the sale thereof); and (ii) the Estate Claims Settlement
Consideration; and (iii) Third-Party Release Settlement Amounts.

        146.     145. “Other Assets Bidding Procedures” means the bidding procedures approved by
order of the Bankruptcy Court governing the sale of the Other Assets, which shall be reasonably
acceptable to the Committee and the Ad Hoc Group.

         147.    146. “Other Assets Sale Order” means the order of the Bankruptcy Court governing the
sale of the Other Assets, which shall be reasonably acceptable to the Committee and the Ad Hoc Group.

       148.    147. “Other Assets Stalking Horse Credit Bid” means a credit bid for the Other Assets by
the DIP Lenders and the Foris Prepetition Secured Lenders in accordance with the Other Assets Bidding
Procedures and as further described in the Plan Support Agreement.

      149.       148. “Other Consenting Stakeholders” has the meaning ascribed to it in the Plan Support
Agreement.

        149.     “Other Excess Administrative Claims” has the meaning ascribed to it in Article II.A.2.

         150.   “Other Priority Claim” means any Claim, other than an Administrative Claim or a
Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         151.    “Other Secured Claim” means any Secured Claim other than: (a) the DIP Facility Claims;
(b) the Foris Prepetition Secured Claims; and (c) the DSM RealSweet Secured Claims.

        152.     “Parent” means Debtor Amyris, Inc.

        153.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

        154.   “Petition Date” means, as applicable, August 9, 2023, the date on which Amyris and
certain Debtors commenced their respective Chapter 11 Cases, or in the case of Clean Beauty 4U
Holdings, LLC, Clean Beauty 4U LLC, and Clean Beauty Collaborative, Inc., August 21, 2023, the date
on which those Debtors commenced their respective Chapter 11 Cases.

        155.     “Plan Administrator” means the person or entity selected by the Debtors (or the
Creditors’ Committee if it joins the Plan Support Agreement), with the reasonable consent of the Foris
Secured Parties, the Creditors’ Committee, and the Ad Hoc Group with respect to experience and
qualifications, charged with overseeing the tasks outlined in Article VIII of thisthe Plan andnot delegated
to the Unsecured Claims ReserveCreditor Trust.

        156.     “Plan Administrator Agreement” means the agreement, which shall be in form and
substance acceptable to the Creditors’ Committee (if it joins the Plan Support Agreement) and reasonably
acceptable to the Debtors and the Foris Secured Parties, setting forth, among other things, the identity,
terms of compensation, and authority of the Plan Administrator and the scope of services to be provided
by the Plan Administrator, including in connection with establishing and administering the Unsecured
Claims Reserve, as may be amended, supplemented, restated, or otherwise modified from time to time,
and substantially in the form to be included in the Plan Supplement.; provided, however, for the avoidance
                                                   17
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23        Page 23 of 92



of any doubt, the Debtors, the DIP Lender, and the Foris Prepetition Secured Lenders shall have consent
rights over the Plan Administrator Agreement with respect to (i) access to books, records, and personnel
(which shall be at the sole cost and expense of the Trust); (ii) preservation of attorney-client privilege and
confidentiality; (iii) the treatment of the Designated Preference Actions; and (iv) such other terms and
conditions that are not consistent with the terms hereof and the Plan Support Agreement.

       157.    “Plan Distribution” means a payment or distribution to Holders of Allowed Claims,
Allowed Interests, or other eligible Entities in accordance with the Plan.

       158.     “Plan Effective Date Funding Amount” means the amount set forth in the Plan Effective
Date Funding Schedule labeled “Foris Exit Facility Advance/Foris Other Asset Sale Cash Proceeds”,
which for the avoidance of doubt shall not exceed $27,400,000.

       159.    “Plan Effective Date Funding Schedule” means collectively the amount of the Allowed
Administrative Expenses of the Debtors’ Estates for the period November 20, 2023 through and including
February 15, 2024, and in the amounts and for each of the categories, as set forth on Schedule to the
Approved Budget labeled “Plan Effective Date Funding”, which, for the avoidance of doubt, shall not
exceed $[58,200,000].

         160.     158. “Plan Supplement” means the compilation of documents and forms of documents,
agreements, schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or
supplemented from time to time in accordance with the terms hereof, and in accordance with the
Bankruptcy Code and Bankruptcy Rules) to be Filed by the Debtors before the deadline set by the
Disclosure Statement Order or such later date as may be approved by the Bankruptcy Court on notice to
parties in interest, including the following, as applicable: (a) the New Organizational Documents and the
New Stockholders Agreement; (b) to the extent known, the identities of the members of the New Board;
(c) the Schedule of RejectedAssumed Executory Contracts and Unexpired Leases; (d) the Schedule of
Proposed Cure Amounts; (e) the Schedule of Retained Causes of Action; (f) the material terms of the Exit
First Lien Facility Documents; (g) the Excluded Party LitigationCreditor Trust Agreement; (h) the Plan
Administrator Agreement; (i) the mechanics for establishing, implementing and administering the
Unsecured Claims Reserve; (jand (i) the Amended DSM Contracts, the DSM Plan Promissory Note, the
DSM Plan Promissory Note Pledge Agreement, and the Amended Givaudan Contract; and (k) the
documentation of the Third-Party Release Settlement and the payment of the Third-Party Release
Settlement Amounts. The Debtors shall have the right to alter, amend, modify, or supplement the
documents contained in the Plan Supplement up to the Effective Date as set forth in the Plan, subject, in
each case, to the consent rights set forth in the Plan. The Plan Supplement shall be deemed incorporated
into and part of the Plan as if set forth herein in full; provided that, in the event of a conflict between the
Plan and the Plan Supplement, the Plan Supplement shall control in accordance with Article I.G;
provided, further, that each such compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented
from time to time in accordance with the terms hereof, and in accordance with the Bankruptcy Code and
the Bankruptcy Rules) shall be in form and substance reasonably acceptable to the Foris Secured Parties.

         161.   159. “Plan Support Agreement” means that certain Amended and Restated Plan Support
Agreement dated December [__], 2023 (as may be amended, supplemented or otherwise modified from
time to time in accordance with its terms) by and among Amyris and (as defined therein) the Company
Parties, the Consenting Foris Prepetition Secured Lenders, the DIP Secured Parties, and the Other
Consenting Stakeholders.




                                                    18
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 24 of 92



         162.   160. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified
in section 507(a)(8) of the Bankruptcy Code.

         163.    161. “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a
particular Class recovery pool or reserve bears to the aggregate amount of Allowed Claims or Allowed
Interests in that Class recovery pool or reserve or the proportion of the Allowed Claims or Allowed
Interests in a particular Class and other Classes entitled to share in the same recovery as such Allowed
Claim or Allowed Interests under the Plan, unless otherwise indicated; provided, however, for purposes of
calculating the properties of an Allowed Interest, calculations shall be used upon the number of shares of
common stock of Amyris held by the holder of the Allowed Interest.

       164.     162. “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a
Bankruptcy Court order in accordance with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to
be compensated for services rendered prior to or as of the Confirmation Date, pursuant to sections 327,
328, 329, 330, or 331 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code. For the avoidance of doubt, the
Ad Hoc Group Professionals are not a Professional.

        165.     163. “Professional Fee Amount” means the aggregate amount of Professional Fee Claims
and other unpaid fees and expenses that Professionals estimate they have incurred or will incur in
rendering services to the Debtors prior to and as of the ConfirmationEffective Date, which estimates
Professionals shall deliver to the Debtors as set forth in Article II.C.3 of the Plan; provided such amount is
not in excess of the Approved Budget for the Professional Fee Account as incorporated into the
Administrative Claims Budget. For the avoidance of doubt, the Professional Fee Amount is not a cap on
the amount of the Allowed Professional Fee ClaimAllowed Professional Fee Claims, including, but not
limited to, the Committee Professionals, that may be determinedallowed as Administrative Claims by the
Bankruptcy Court; provided, however, the respective amounts set forth in the definitions of Ad Hoc Group
Restructuring Expenses and the Creditors’ Committee Professionals Expenses are a cap on the respective
Allowed Professional Fee Claim.

        166.    164. “Professional Fee Claim” means any Claim by a Professional for compensation for
services rendered or reimbursement of expenses incurred by such Professionals through and including the
ConfirmationEffective Date to the extent such fees and expenses have not been paid pursuant to an order
of the Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any
amount of a Professional’s requested fees and expenses, then the amount by which such fees or expenses
are reduced or denied shall reduce the applicable Professional Fee Claim.

       167.   165. “Professional Fee Escrow Account” means an interest-bearing account funded by the
Debtors with Cash on the Effective Date in an amount equal to the total estimated Professional Fee
Amount.

       168.    166. “Proof of Claim” means a proof of Claim against any of the Debtors Filed in the
Chapter 11 Cases.

       169.    167. “Proof of Interest” means a proof of Interest in any of the Debtors Filed in the
Chapter 11 Cases.

        170.   168. "Registration Statements” means, collectively, Parent’s registration statements filed
with the SEC on Form S-1 (Nos. 333-234661, 333-238188, and 333-239823), on Form S-3ASR (No.
333-255105), and on Form S-8 (Nos. 333-258319, 333-169715, 333 172514, 333-180006, 333-187598,
333-188711, 333-195259, 333-203213, 333-210569, 333-217345, 333-224316, 333-225848, 333-234135,

                                                    19
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH          Doc 826-3       Filed 12/06/23       Page 25 of 92



333-239820, 333-258319, 333-266709 and 333-271039) and any other registration statements filed by
Parent or its subsidiaries with the SEC.

         171.     169. “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to a Claim or
Interest, that the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the
Bankruptcy Code.

         172.    170. “Related Party” means, collectively, with respect to any Entity, in each case in its
capacity as such with respect to such Entity, such Entity’s current and former directors, managers,
officers, shareholders, investment committee members, special committee members, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, predecessors, participants, successors, assigns (whether by operation of Law or
otherwise), subsidiaries, current, former, and future associated entities, managed or advised entities,
accounts, or funds, Affiliates, partners, limited partners, general partners, principals, members,
management companies, fund advisors or managers, fiduciaries, employees, agents, trustees, advisory
board members, financial advisors, attorneys, accountants, investment bankers, consultants, other
representatives, restructuring advisors, and other professionals and advisors, and any such person’s or
Entity’s respective predecessors, successors, assigns, heirs, executors, estates, and nominees.

        173.    171. “Released Claims” means any Claim, Cause of Action, or Interest or Direct Claim
that has been released, satisfied, stayed, terminated, discharged, or is subject to compromise and
settlement pursuant to the Plan.

         174.    172. “Released Parties” means, collectively, and in each case, solely in their capacities as
such: (a) the Debtors; (b) the Reorganized Debtors; (c); the DIP Lenders and the DIP Agent; (d) the Foris
Prepetition Secured Lenders; (e) the Creditors’ Committee and its members (if they join the Plan Support
Agreement); (f) the Consenting Convertible Noteholders, (g) the Ad Hoc Group Professionals; (h) the
Consenting Contract Counterparties; and (hi) with respect to each of the foregoing Entities in clauses (a)
through (e), all Related Parties. For the avoidance of doubt, (i) the Debtors’ current and former directors,
managers, officers, employees, professionals, and shareholders, in each case, who are not an Excluded
Party, shall each be a Released Party; and (ii) no Excluded Party shall be a Released Party.

        175.     173. “Releasing Parties” means collectively, and in each case in its capacity as such: (a)
the Foris Prepetition Secured Lenders; (b) the Creditors’ Committee and its members (if they join the Plan
Support Agreement); (c) the Consenting Convertible Noteholders; (d) the Consenting Contract
Counterparties; (e) all Holders of Claims against the Debtors that are bound by the Third-Party Release
Settlement; and (f) all persons who hold Interests in Amyris.

        174.    “Retained Estate Causes of Action” means collectively: (i) the Estate Causes of Action
against the Excluded Party; and (ii) the Specified Preference Actions that are bound by the Third-Party
Release Settlement.

        176.   175. “Reorganized Debtors” means the Debtors, as reorganized pursuant to and under the
Plan and the Plan Supplement, on and after the Effective Date, or any successors or assigns thereto
including by merger, consolidation, or otherwise, and including any new entity established in connection
with the implementation of the Restructuring Transactions, including, for the avoidance of doubt,
Reorganized Amyris.

        177.     176. “Reorganized Amyris” means the Parent on and after the Effective Date.



                                                   20
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 26 of 92



         178.    177. “Restructuring Transactions” means the mergers, amalgamations, consolidations,
arrangements, continuances, restructurings, transfers, conversions, dispositions, liquidations, formations,
dissolutions or other corporate transactions described in, approved by, contemplated by, or undertaken to
implement or facilitate the Plan prior to, on or after the Effective Date (for tax, corporate, and/or business
purposes or otherwise), including, without limitation, those described in Article IV.DC hereof, in each
case, as applicable, acceptable in form and substance to the Foris Secured Parties.

       179.    “Retained Estate Causes of Action” means collectively: (i)all Causes of Action of the
Debtors and Estates against the Excluded Parties; and (ii) the Specified Preference Actions.

         180.    178. “Sale ToggleOption” means the election, to be made by the DIP Lenders and the
Foris Prepetition Secured Lenders, at any time prior to the Confirmation Date, for the Debtors to close a
sale of the Other Assets pursuant to the Other Assets Bidding Procedures.

       181.     179. “Schedule of Assumed Executory Contracts and Unexpired Leases” means the
schedule (including any amendments, supplements, or modifications thereto) of Executory Contracts and
Unexpired Leases to be assumed by the Debtors pursuant to the Plan.

       182.     180. “Schedule of Proposed Cure Amounts” means any schedule (including any
amendments, supplements, or modifications thereto) of the Debtors’ good faith estimate of proposed Cure
amounts (if any) with respect to each of the Executory Contracts and Unexpired Leases to be assumed by
the Debtors pursuant to the Plan.

        183.     181. “Schedule of Retained Causes of Action” means the schedule of Causes of Action
that shall vest in the Reorganized Debtors on the Effective Date, which, for the avoidance of doubt,
include all section 547 preference actions, all Claims against an Excluded Party, and shall not include any
of the Causes of Action that are settled, released, or exculpated under the Plan.

        184.     182. “SEC” means the United States Securities and Exchange Commission.

        185.    183. “Section 510(b) Claim” means any Claim subject to subordination under section
510(b) of the Bankruptcy Code, including, but not limited to, Claims asserted in or related to the
Securities Actions.

         186.    184. “Secured Claim” means a Claim that is: (a) secured by a Lien on property in which
any of the Debtors has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
Law or by reason of a Bankruptcy Court order, or that is subject to a valid right of setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the Debtors’
interest in such property or to the extent of the amount subject to setoff, as applicable, as determined
pursuant to section 506(a) of the Bankruptcy Code; or (b) Allowed pursuant to the Plan, or separate order
of the Bankruptcy Court, as a secured claim.

        187.     185. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§
77a–77aa, together with the rules and regulations promulgated thereunder, as amended from time to time,
or any similar federal, state, or local Law.

         188.    186. “Securities Actions” means (a) Bonner v. Doerr, et al., Case No. 4:19-cv-03621,
previously pending in the U.S. District Court for the Northern District of California; (b) Carlson v. Doerr,
et al., Case No. 4:19-cv-06230, previously pending in the U.S. District Court for the Northern District of
California; (c) Kimbrough v. Melo, et al., Case No. 4:20-cv-09227, previously pending in the U.S. District
Court for the Northern District of California; (d) Bonner v. Melo, Case No. 20 –CIV-04799), Superior

                                                    21
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 27 of 92



Court of San Mateo County; (e) Roth v. Foris Ventures, LLC, et al., Case No. 21-CV-4288-YGR, U.S.
District Court for the Northern District of California; and (f) any other previous, current or subsequent
shareholder derivative suits naming the Company and any of the Company’s current and former officers
and directors, as defendants[, relating to allegedly misleading statements and omissions made in
connection with the Company’s securities filings]; and (e) any appeals of the foregoing actions.

        189.     187. “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

        190.     188. “Sold Assets” means the Consumer Brands Businesses that are sold and theany Other
Assets that are sold.

        191.    189. “Solicitation Agent” means Stretto, Inc., the notice, claims, and solicitation agent
retained by the Debtors in the Chapter 11 Cases [Docket No. 53].

         192.    190. “Solicitation Materials” means all materials provided in connection with the
solicitation of votes on the Plan pursuant to sections 1125 and 1126 of the Bankruptcy Code.

        193.    191. “Specified Preference Actions” means Estate Causes of Action that are preference
actions arising under Section 547 of the Bankruptcy Code with respect to all Persons except for
Designated Preference Actions, as such Specified Preference Actions are identified in the Plan
Supplement.

        194.     192. “Substantial Consummation” has the meaning set forth in Article X.E of the Plan.

        195.     193. “Tax Code” means the United States Internal Revenue Code of 1986, as amended.

         196.   194. “Third-Party Release” means the release of Direct Claims deemed given by each of
the Releasing Parties to the Released Parties in consideration for the distributions to be made as set forth
in Article IX.D of the Plan.

        197.     195. “Third-Party Release Settlement” means that settlement and release of Direct Claims
as provided for in Article IV.A. and Article IX.D & G. of the Plan. in consideration for the distributions to
be made as set forth in Article IX.D of the Plan. The documentation of the Third-Party Release
Settlement and the payment of the Third-Party Release Settlement Amounts will be included in the Plan
Supplement.

       198.    196. “Third-Party Release Settlement Amounts” means, as applicable, the following
amounts allocated from the Net Proceeds or other assets of the Estates that would otherwise be paid to the
DIP Lenders and the Foris Prepetition Secured Lenders, as applicable:

             (A) (i) $6,900,00012,714,000, consisting of that portion of the Third-Party Release Settlement
             Amounts to be distributed to the Holders of Convertible Notes, if the Third-Party Release
             Settlement is approved on a non-consensual basis; or (ii) $3,450,0009,264,000, consisting of
             that portion of the Third-Party Release Settlement Amounts to be distributed to the Holders of
             Convertible Notes if the Third-Party Release Settlement is not approved on a non-consensual
             basis and the Direct Claims Threshold is satisfied as to holders of Direct Claims who are
             creditors (but only as to holders of Allowed Convertible Notes Claims who do not opt out of
             the Third-Party Release Settlement);

             (B) (i) $2,000,0003,686,000, consisting of that portion of the Third-Party Release Settlement
             Amounts distributed to the Holders of General Unsecured Claims, if the Third-Party Release
             Settlement is approved on a non-consensual basis; or (ii) $1,000,0002,686,000 consisting of
                                                   22
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 28 of 92



             that portion of the Third-Party Release Settlement Amounts distributed to the Holders of
             General Unsecured Claims if the Third-Party Release Settlement is not approved on a
             non-consensual basis and the Direct Claims Threshold is satisfied as to holders of Direct
             Claims who are creditors (but only as to Holders of Allowed General Unsecured Claims who
             do not opt out of the Third-Party Release Settlement);

             (C) (i) $5,000,000 consisting of that portion of the Third-Party Release Settlement Amounts
             distributed to the Holders of Interests as of the Voting Record Date, if the Third-Party Release
             Settlement is approved on a non-consensual basis; or (ii) $2,500,000 consisting of that portion
             of the Third-Party Release Settlement Amounts distributed to the Holders of Interests as of
             the Voting Record Date if the Third-Party Release Settlement is not approved on a
             non-consensual basis and the Direct Claims Threshold is satisfied as to holders of Direct
             Claims who are holders of any Interests (but only as to Holders of Interests who do not opt out
             of the Third-Party Release Settlement).

        197.    “Threshold Administrative Claims” means collectively the amount of the Allowed
Administrative Expenses of the Debtors’ Estates for the period [ ] through and including February 15,
2024, and in the amounts and for each of the categories, as set forth in the Administrative Claims Budget,
which, for the avoidance of doubt, shall not exceed $[ ].

             With respect to A(ii), B(ii), and C(ii) of Article I.A.198 hereof, the DIP Lenders and Foris
             Prepetition Secured Lenders, as applicable, shall only allocate from the Net Proceeds, other
             assets of the Estates, or the Exit First Lien Facility (payable to the Creditor Trust or Plan
             Administrator, as applicable under the Plan), that portion necessary to pay the aggregate
             amount to be distributed to Holders of Allowed Convertible Notes Claims, Allowed General
             Unsecured Claims, and Interests, respectively, who do not opt out of the Third-Party Release
             Settlement; provided, however, that in no event shall such amounts allocated exceed the
             amounts referenced in A(ii), B(ii), and C(ii) of Article I.A.198 hereof.

         199.   198. “Trading Order” means the Final Order (I) Approving Notification and Hearing
Procedures for Certain Transfers of and Declarations of Worthlessness With Respect to Common Stock,
(II) Certain Transfers of Claims Against Debtors and (III) Granting Related Relief [Docket No. 215].

        200.     199. “Transferred Privileges” has the meaning set forth in Article V.L of the Plan.

      201.    200. “Treasury Regulations” means the regulations promulgated under the Internal
Revenue Code by the United States Department of the Treasury pursuant to the Tax Code.

        202.     201. “Unclaimed Distribution” means any distribution under the Plan on account of an
Allowed Claim or Allowed Interest to a Holder that has not: (a) accepted a particular distribution or, in
the case of distributions made by check, negotiated such check within 180 calendar days of receipt; (b)
given notice to the Reorganized Debtors of an intent to accept a particular distribution within 180 calendar
days of receipt; (c) responded to the Debtors’ or the Reorganized Debtors’ requests for information
necessary to facilitate a particular distribution prior to the deadline included in such request for
information; provided, however, the Reorganized Debtors shall have no duty to make such a request; or
(d) timely taken any other action necessary to facilitate such distribution.

       203.   202. “Unexpired Lease” means a lease of nonresidential real property to which one or
more of the Debtors is a party that is subject to assumption or rejection under section 365 of the
Bankruptcy Code.


                                                   23
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
               Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 29 of 92



         204.     203. “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

        204.    “Unsecured Claims Reserve” means a reserve that will be established under the Plan on
the Effective Date to be composed of the Cash necessary to make the payments under the Plan to Holders
of Allowed Claims in Class 7 and Class 8 in accordance with the Plan, after payment of all direct
out-of-pocket administrative, personnel, legal costs and expenses of the Estates incurred after the
Effective Date in determining the Allowed Unsecured Claims and making distributions from the
Unsecured Claims Reserve on account of such Allowed Claims. The mechanics of administering the
Unsecured Claims Reserve shall be set forth herein and in the Plan Supplement.

        205.     “U.S. Trustee” means the Office of the United States Trustee for the District of Delaware.

        192.     “U.S. Trustee Fees” means all fees due and payable pursuant to 28 U.S.C. § 1930(a).

B.      Rules of Interpretation.

         For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless
otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter
be amended, modified, or supplemented in accordance with the Plan or the Confirmation Order, as
applicable; (c) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (d) unless otherwise specified, all references herein to “Articles” are references to
Articles hereof; (e) unless otherwise specified, all references herein to exhibits are references to exhibits
in the Plan Supplement; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to
the Plan in its entirety rather than to a particular portion of the Plan; (g) subject to the provisions of any
contract, charters, bylaws, partnership agreements, limited liability company agreements, operating
agreements, or other organizational documents or shareholders’ agreements, as applicable, instrument,
release, or other agreement or document entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance
with the applicable Law, including the Bankruptcy Code and the Bankruptcy Rules; (h) any immaterial
effectuating provisions may be interpreted by the Debtors or the Reorganized Debtors in such a manner
that is consistent with the overall purpose and intent of the Plan all without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity; (i) unless otherwise specified herein, the
rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (j) any term used in
capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
Rules, as the case may be; (k) all references to docket numbers of documents Filed in the Chapter 11
Cases are references to the docket numbers under the Bankruptcy Court’s Case Management and
Electronic Case Filing system; (l) all references to statutes, regulations, orders, rules of courts, and the
like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases, unless otherwise
stated; (m) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall
include “Proofs of Interest,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable; (n)
captions and headings are inserted for convenience of reference only and are not intended to be a part of
or to affect the interpretation of the Plan; (o) references to “shareholders,” “directors,” and/or “officers”
shall also include “members” and/or “managers,” as applicable, as such terms are defined under the
applicable state limited liability company Laws; and (p) all references herein to consent, acceptance, or



                                                    24
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 30 of 92



approval may be conveyed by counsel for the respective Person or Entity that have such consent,
acceptance, or approval rights, including by electronic mail.

C.      Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply
in computing any period of time prescribed or allowed herein. If the date on which a transaction may
occur pursuant to the Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next succeeding Business Day. Subject to the requirements of any Definitive
Document, any action to be taken on the Effective Date may be taken on or as soon as reasonably
practicable after the Effective Date.

D.      Governing Law.

        Except to the extent a rule of Law or procedure is supplied by federal Law (including the
Bankruptcy Code or the Bankruptcy Rules), and subject to the provisions of any contract, lease,
instrument, release, indenture, or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in
accordance with, the Laws of the State of Delaware, without giving effect to conflict of Laws principles;
provided that corporate governance matters relating to the Debtors or the Reorganized Debtors, as
applicable, shall be governed by the Laws of the jurisdiction of incorporation or formation of the relevant
Debtor or Reorganized Debtor, as applicable.

E.      Reference to Monetary Figures.

       All references in the Plan to monetary figures shall refer to currency of the United States of
America, unless otherwise expressly provided herein.

F.      Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the
Debtors or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable,
to the extent the context requires.

G.      Controlling Document.

        In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the
Plan shall control in all respects. In the event of an inconsistency between the Plan and the Plan
Supplement, the terms of the relevant provision in the Plan Supplement shall control (unless stated
otherwise in such Plan Supplement document or in the Confirmation Order). In the event of an
inconsistency between the Confirmation Order and the Plan, including the Plan Supplement, or the
Disclosure Statement, the Confirmation Order shall control.

                                   ARTICLE II.
       ADMINISTRATIVE CLAIMS, DIP FACILITY CLAIMS, AND PRIORITY CLAIMS

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims, DIP Facility Claims, Priority Tax Claims and U.S. Trustee Fees have not been
classified and, thus, are excluded from the Classes of Claims and Interests set forth in Article III hereof.



                                                   25
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 31 of 92



A.      Administrative Claims.

         1. General Provisions. Except with respect to the Professional Fee Claims and Claims for fees
and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code, and except to
the extent that a Holder of an Allowed Administrative Claim and the Debtor(s) against which such
Allowed Administrative Claim is asserted agree to less favorable treatment for such Holder, or such
Holder has been paid by any Debtor on account of such Allowed Administrative Claim prior to the
Effective Date, each Holder of such an Allowed Administrative Claim will receive in full and final
satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount of such Allowed
Administrative Claim in accordance with the following: (a) if an Administrative Claim is Allowed on or
prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not
then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable
thereafter); (b) if such Administrative Claim is not Allowed as of the Effective Date, no later than thirty
days after the date on which an order Allowing such Administrative Claim becomes a Final Order, or as
soon as reasonably practicable thereafter; (c) if such Allowed Administrative Claim is based on liabilities
incurred by the Debtors in the ordinary course of their business after the Petition Date, in accordance with
the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim
without any further action by the Holder of such Allowed Administrative Claim; (d) at such time and upon
such terms as may be agreed upon by such Holder and the Debtors or the Reorganized Debtors, as
applicable; or (e) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

        Except as otherwise provided below in the next paragraph, Holders of Administrative Claims that
are required to File and serve a request for payment of such Administrative Claims must do so by the
Administrative Claims Bar Date. Objections to such requests must be Filed and served on the requesting
party and the Debtors (if the Debtors are not the objecting party) by the Administrative Claims Objection
Bar Date. Holders of such Claims who do not File and serve such requests by the Administrative Claims
Bar Date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Debtors or the Reorganized Debtors, and such Administrative Claims shall be deemed
compromised, settled, and released as of the Effective Date. After notice and a hearing in accordance
with the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and any prior Bankruptcy
Court orders, the Allowed amounts, if any, of Administrative Claims shall be determined by, and satisfied
in accordance with, an order that becomes a Final Order of the Bankruptcy Court.

      HOLDERS OF ADMINISTRATIVE CLAIMS FOR UNPAID INVOICES THAT ARISE IN
THE ORDINARY COURSE OF THE DEBTORS’ BUSINESS AND WHICH ARE NOT DUE AND
PAYABLE ON OR BEFORE THE EFFECTIVE DATE SHALL BE PAID IN THE ORDINARY
COURSE OF BUSINESS IN ACCORDANCE WITH THE TERMS THEREOF AND NEED NOT
FILE ADMINISTRATIVE CLAIMS.

B.      DIP Facility Claims.

        The DIP Facility Claims shall be deemed to be Allowed Claims in the full amount outstanding
under the DIP Facility Loan Agreement as of the Effective Date (including any unpaid accrued interest
and unpaid fees, expenses, and other obligations under the DIP Facility Loan Agreement as of the
Effective Date). On the Effective Date, in full and complete satisfaction of the DIP Facility Claims (other
than the DIP Facility Claims rolled up, converted, exchanged, refinanced or amended and restated, into
the Exit First Lien Facility or New Common Stock), the DIP Lender will receive, at the option of the DIP
Lender, in its sole discretion, the Net Proceeds remaining after funding the payments required under the
Plan (i) to satisfy Allowed Administrative Claims, Allowed Professional Fees, Allowed Priority Tax
Claims and U.S. Trustee Fees (subject to the Plan Effective Date funding), (ii) on account of the treatment
of Classes 1, 2, 7, & 8, (iii) to provide the funding of the Estate Claims Settlement Cash Consideration,

                                                    26
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 32 of 92



and (iv) the funding of the Third-Party Release Settlement Amounts, which Net Proceeds shall be rolled
up, converted, exchanged, refinanced or amended and restated, into: (x) the Exit First Lien Facility and/or
(y) 100% of New Common Stock. The DIP Lender may allocate ownership of the New Common Stock
among its Affiliates in its sole discretion. Except as otherwise expressly provided in the DIP Facility
Loan Agreement or the DIP Orders or the Exit First Lien Facility, upon the indefeasible payment or
satisfaction in full of all Allowed DIP Facility Claims, all commitments under the DIP Facility Loan
Agreement shall terminate and all Liens and security interests granted to secure the DIP Facility Claims
shall be automatically terminated and of no further force and effect, without any further notice to or
action, order, or approval of the Bankruptcy Court or any other Entity.

         Notwithstanding anything to the contrary in this Plan or the Confirmation Order, the DIP Facility
and the DIP Facility Documents shall continue in full force and effect after the Effective Date with respect
to (x) any DIP Facility Claims rolled up, converted, exchanged, refinanced, or amended and restated into
the Exit First Lien Facility and (y) any contingent or unsatisfied obligations thereunder, as applicable,
including, but not limited to, those provisions relating to the rights of the DIP Agent and the DIP Lenders
to expense reimbursement, indemnification, and any other similar obligations of the Debtors to the DIP
Agent and the DIP Lenders (which rights shall be fully enforceable against the Reorganized Debtors) and
any provisions thereof that may survive termination or maturity of the DIP Facility in accordance with the
terms thereof.

C.      Professional Fee Claims.

        1. Final Fee Applications and Payment of Professional Fee Claims.

         All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date must be Filed no later than forty-five days
after the Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional
Fee Claims after notice and a hearing in accordance with the procedures established by the Bankruptcy
Court, including the Interim Compensation Order. The Reorganized Debtors shall pay Professional Fee
Claims in Cash in the amount the Bankruptcy Court Allows, including from the Professional Fee Escrow
Account, as soon as reasonably practicable after such Professional Fee Claims are Allowed. To the extent
that funds held in the Professional Fee Escrow Account are insufficient to satisfy the amount of
Professional Fee Claims owing to the Professionals, such Professionals shall have an Allowed
Administrative Claim for any such deficiency, which shall be satisfied in accordance with Article II.A of
the Plan, subject, however, to the capped amounts set forth in the defined terms Ad Hoc Group
Restructuring Expenses and Creditors’ Committee Professionals Expenses.

        2. Professional Fee Escrow Account.

        No later than the Effective Date, the Debtors shall establish and fund the Professional Fee Escrow
Account with Cash equal to the Professional Fee Amount. The Professional Fee Escrow Account shall be
maintained in trust solely for the Professionals until all Professional Fee Claims Allowed by the
Bankruptcy Court have been irrevocably paid in full pursuant to one or more Final Orders and any
invoices for fees and expenses incurred after the Effective Date in connection with the final fee
applications. Such funds shall not be considered property of the Debtors’ Estates. The amount of
Allowed Professional Fee Claims shall be paid in Cash to the Professionals by the Reorganized Debtors
from the Professional Fee Escrow Account as soon as reasonably practicable after such Professional Fee
Claims are Allowed. When all such Allowed Professional Fee Claims have been paid in full, any
remaining amount in the Professional Fee Escrow Account shall promptly be transferred to the
Reorganized Debtors without any further notice to or action, order, or approval of the Bankruptcy Court.


                                                   27
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 33 of 92



        3. Professional Fee Amount.

         Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid
fees and expenses incurred in rendering services to the Debtors before and as of the Effective Date, and
shall deliver such estimate to the Debtors no later than three days before the Effective Date; provided that
such estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of each
Professional’s final request for payment in the Chapter 11 Cases. If a Professional does not provide an
estimate, the Debtors or the Reorganized Debtors may estimate the unpaid and unbilled fees and expenses
of such Professional; provided, however, that such estimate shall not be binding or considered an
admission with respect to the fees and expenses of such Professional. The total aggregate amount so
estimated as of the Effective Date shall be utilized by the Debtors to determine the amount to be funded to
the Professional Fee Escrow Account; provided, further, that the Reorganized Debtors shall use Cash on
hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are
filed after the Effective Date in excess of the amount held in the Professional Fee Escrow Account based
on such estimates; provided, however, (x) the amount funded in the Professional Fee Escrow Account on
account of the Professional Fee Amount shall not exceed the amount in the Administrative
ClaimsApproved Budget for Professional Fees; and (y) shall not exceed the capped amounts set forth in
the defined terms Ad Hoc Group Restructuring Expenses and the Creditors’ Committee Professionals
Expenses.

        4. Post-Effective Date Fees and Expenses.

        Except as otherwise specifically provided in the Plan, from and after the Effective Date, the
Reorganized Debtors shall, in the ordinary course of business and without any further notice to or action,
order, or approval of the Bankruptcy Court, pay in Cash the reasonable and documented legal,
professional, or other fees and expenses incurred by the Reorganized Debtors. Upon the Effective Date,
any requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the
Bankruptcy Code or the Interim Compensation Order in seeking retention or compensation for services
rendered after such date shall terminate, and the Reorganized Debtors may employ and pay any
Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

        The Debtors and the Reorganized Debtors, as applicable, shall pay, within thirty days after
submission of a detailed invoice to the Debtors or the Reorganized Debtors, as applicable, such reasonable
claims for compensation or reimbursement of expenses incurred by the retained Professionals of the
Debtors, the Reorganized Debtors, and amounts provided for in the Budget for Professional Fees annexed
to the Final DIP Order or the amount provided for in the Plan Support Agreement. If the Debtors or the
Reorganized Debtors, as applicable, dispute the reasonableness of any such invoice, the Debtors or the
Reorganized Debtors, as applicable, or the affected Professional may until such time as the Chapter 11
Cases are close, submit such dispute to the Bankruptcy Court for a determination of the reasonableness of
any such invoice, and the disputed portion of such invoice shall not be paid until the dispute is resolved.

D.      Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange for, each
Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.




                                                   28
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH             Doc 826-3       Filed 12/06/23       Page 34 of 92



E.      Payment of Statutory Fees and Reporting to the U.S. Trustee.

        All fees due and payable pursuant to 28 U.S.C. § 1930(a) shall be paid by the Debtors, the
Reorganized Debtors, or the Disbursing Agent (on behalf of the Reorganized Debtors), as applicable, for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or
closed, whichever occurs first. All monthly reports shall be filed, and all fees due and payable pursuant to
section 1930(a) of title 28 of the United States Code, shall be paid by the Debtors or the Reorganized
Debtors (or the Distribution Agent on behalf of the Reorganized Debtors), as applicable, on the Effective
Date. Following the Effective Date, the Reorganized Debtors (or the Distribution Agent on behalf of the
Reorganized Debtors) shall (a) pay such fees as such fees are assessed and come due for each quarter
(including any fraction thereof) and (b) File quarterly reports in a form reasonably acceptable to the U.S.
Trustee. Each Debtor shall remain obligated to pay such quarterly fees to the U.S. Trustee and to file
quarterly reports until the earliest of that particular Debtor’s case being closed, dismissed, or converted to
a case under chapter 7 of the Bankruptcy Code.

F.      Ad Hoc Group Restructuring Expenses

        If the Ad Hoc Group Acceptance Event has occurred and is continuing, the Ad Hoc
Group Restructuring Expenses payable by the Debtors shall constitute Allowed Administrative Claims
and shall be paid in full in Cash pursuant to (and subject to) the terms and conditions of the Ad
Hoc Group Fee Reimbursement Letter and the Administrative Claims Budget, without the need to file a
proof of such Claim and without further order of the Court. The fees and expenses of the Ad Hoc Group
payable pursuant to the Ad Hoc Group Fee Reimbursement Letter shall be a cap on the fees and expenses
of the Ad Hoc Group Professionals paid by the Debtors (excluding the fees and expenses paid by the
Debtors to the Ad Hoc Group Professionals prior to the Effective Date).3 For avoidance of doubt, the Ad
Hoc Group Restructuring Expenses shall not, in the aggregate amount, exceed $1,700,000.00.

                                     ARTICLE III.
               CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims and Interests.

         Except for the Claims addressed in Article II hereof, all Claims and Interests are classified in the
Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy Code. A
Claim or an Interest, or any portion thereof, is classified in a particular Class only to the extent that any
portion of such Claim or Interest fits within the description of that Class and is classified in other Classes
to the extent otherwise provided by Law and except to the extent that any portion of the Claim or Interest
fits within the description of such other Classes. A Claim or an Interest also is classified in a particular
Class for the purpose of receiving distributions under the Plan only to the extent that such Claim or
Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or
otherwise satisfied prior to the Effective Date.

         The Plan constitutes a separate Plan for each of the Debtors, and the classification of Claims and
Interests set forth herein shall apply separately to each of the Debtors, except as expressly set forth herein.

               Class           Claims and Interests            Status           Voting Rights
             Class 1        Other Secured Claims             Unimpaired      Not Entitled to Vote
                                                                             (Presumed to

3 NTD: Debtors to confirm total payments made to the Ad Hoc Group and that no further payments are/will be made.


                                                     29
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH             Doc 826-3      Filed 12/06/23     Page 35 of 92




                Class            Claims and Interests         Status         Voting Rights
                                                                          Accept)
                                                                          Not Entitled to Vote
             Class 2        Other Priority Claims          Unimpaired     (Presumed to
                                                                          Accept)
                            Foris Prepetition Secured
             Class 3                                       Impaired       Entitled to Vote
                            Claims
                            DSM RealSweet Secured
             Class 4                                       Impaired       Entitled to Vote
                            Claims
             Class 5        DSM Other Secured Claims       Impaired       Entitled to Vote
                                                                          Not Entitled to Vote
             Class 6        Lavvan Secured Claim           Unimpaired     (Presumed to
                                                                          Accept)
             Class 7        Convertible Note Claims        Impaired       Entitled to Vote
             Class 8        General Unsecured Claims       Impaired       Entitled to Vote
             Class 9        DSM Contract Claims            Impaired       Entitled to Vote
             Class 10       Givaudan Contract Claims       Impaired       Entitled to Vote
                                                                          Not Entitled to Vote
             Class 11       Intercompany Claims            Impaired       (Consented to
                                                                          Treatment)
                                                                          Not Entitled to Vote
             Class 12       Section 510(b) Claims          Impaired
                                                                          (Deemed to Reject)
                                                                          Not Entitled to Vote
             Class 13       Intercompany Interests         Unimpaired
                                                                          (Deemed to Accept)
                                                                          Not Entitled to Vote
             Class 14       Amyris Equity Interests        Impaired
                                                                          (Deemed to Reject)

B.      Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan
the treatment described below in full and final satisfaction, settlement, release, and discharge of and in
exchange for such Holder’s Allowed Claim or Allowed Interest, as applicable, except to the extent
different treatment is agreed to in writing by the Debtors or the Reorganized Debtors, as applicable, and
the Holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the
Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the
Effective Date (or, if payment is not then due, in accordance with such Claim’s or Interest’s terms in the
ordinary course of business) or as soon as reasonably practicable thereafter.

        1. Class 1 – Other Secured Claims

                 (a)      Classification: Class 1 consists of all Allowed Other Secured Claims.




                                                      30
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 36 of 92



                 (b)      Treatment: Except to the extent that a Holder of an Allowed Other Secured
                          Claim agrees to a less favorable treatment, as determined by the Debtors or the
                          Reorganized Debtors, as applicable, in full and final satisfaction of such Allowed
                          Other Secured Claim, each Holder of an Allowed Other Secured Claim shall
                          receive, at the option of the applicable Debtor or the Reorganized Debtors, as
                          applicable:

                          (i)     payment in full in Cash of its Allowed Other Secured Claim;

                          (ii)    the collateral securing its Allowed Other Secured Claim;

                          (iii)   Reinstatement of its Allowed Other Secured Claim; or

                          (iv)    such other treatment that renders its Allowed Other Secured Claim
                                  Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                 (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Other
                          Secured Claims are conclusively presumed to have accepted the Plan pursuant to
                          section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                          to vote to accept or reject the Plan.

        2. Class 2 – Other Priority Claims

                 (a)      Classification: Class 2 consists of all Allowed Other Priority Claims.

                 (b)      Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim
                          agrees to a less favorable treatment, as determined by the Debtors or the
                          Reorganized Debtors, as applicable, in full and final satisfaction of such Allowed
                          Other Priority Claim, each Holder of an Allowed Other Priority Claim shall
                          receive, at the option of the applicable Debtor or the Reorganized Debtors, as
                          applicable:

                          (i)     payment in full in Cash of its Allowed Other Priority Claim; or

                          (ii)    such other treatment in a manner consistent with section 1129(a)(9) of the
                                  Bankruptcy Code.

                 (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Other Priority
                          Claims are conclusively presumed to have accepted the Plan pursuant to section
                          1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                          to accept or reject the Plan.

        3. Class 3 – Foris Prepetition Secured Claims

                 (a)      Classification: Class 3 consists of all Allowed Foris Prepetition Secured Claims.

                 (b)      Allowance: The Foris Prepetition Secured Claims shall be deemed Allowed in the
                          aggregate principal amount of at least $296,000,000 plus at least $16,100,000 of
                          accrued and unpaid interest as of the Petition Date, for a total of at least
                          $312,100,000 as of the Petition Date, plus any other premiums, fees, costs, or


                                                    31
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 37 of 92



                          other amounts due and owing pursuant to the Foris Prepetition Secured Claims
                          Documents.

                 (c)      Treatment: On the Effective Date, Holders of the Foris Prepetition Secured
                          Claims will receive, at the option of the Foris Prepetition Secured Lenders, in
                          each of their sole discretion, the Net Proceeds remaining after funding the
                          payments required under the Plan (i) to satisfy Allowed Administrative Claims,
                          Allowed Professional Fees, Allowed Priority Tax Claims and U.S. Trustee Fees
                          (subject to the Plan Effective Date Funding), (ii) on account of the treatment of
                          Classes 1, 2, 7, & 8, (iii) the funding of the Estate Claims Settlement Cash
                          Consideration, and (iv) the funding of the Third-Party Release Settlement
                          Amounts, which Net Proceeds shall be rolled up, converted, exchanged,
                          refinanced or amended and restated, into: (x) the Exit First Lien Facility and/or
                          (y) 100% of New Common Stock of Reorganized Amyris.

                 (d)       Voting: Class 3 is Impaired under the Plan. Holders of Allowed Foris
                           Prepetition Secured Claims are entitled to vote to accept or reject the Plan.

                 (e)      Other: Notwithstanding anything to the contrary in this Plan or the Confirmation
                          Order, the Foris Prepetition Secured Claims shall continue in full force and effect
                          after the Effective Date with respect to (x) any Foris Prepetition Secured Claims
                          rolled up, converted, exchanged, refinanced, or amended and restated into the
                          Exit First Lien Facility, or as may be assumed by a buyer in connection with the
                          Other Assets Sale, and (y) any contingent or unsatisfied obligations thereunder, as
                          applicable, including, but not limited to, those provisions relating to the rights of
                          the Foris Prepetition Secured Lenders to expense reimbursement, indemnification,
                          and any other similar obligations of the Debtors to the Foris Prepetition Secured
                          Lenders (which rights shall be fully enforceable against the Reorganized Debtors
                          or the buyer in connection with the Other Assets Sale, as applicable) and any
                          provisions thereof that may survive termination or maturity of the Foris
                          Prepetition Secured Claims.

        4. Class 4 – DSM RealSweet Secured Claim

                 (a)      Classification: Class 4 consists of all Allowed DSM RealSweet Secured Claim.




                                                     32
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 38 of 92



                 (b)      Treatment: On the Effective Date, (i) if DSM votes to accept the Plan, in full and
                          complete satisfaction of the DSM RealSweet Secured Claim, DSM will receive
                          on account of the Allowed DSM RealSweet Secured Claim a cash payment on
                          June 30, 2026 in the amount equal to the principal and accrued and unpaid
                          non-default interest owing as of the Effective Date on account of the DSM
                          RealSweet Secured Claim (with interest accrued thereafter at six percent (6%
                          simple interest) until the Allowed DSM RealSweet Secured Claim is paid), which
                          obligation will be documented by the DSM Plan Promissory Note issued by
                          Reorganized Amyris and secured by the DSM Plan Promissory Note Pledge
                          Agreement; and (ii) if DSM votes to reject the Plan, DSM will receive in full and
                          complete satisfaction of its Allowed DSM RealSweet Secured Claim, payment in
                          cash on the Effective Date, or as soon as practical thereafter, of the amount of the
                          Allowed RealSweet Secured Claim.

                 (c)      Voting: Class 4 is Impaired under the Plan. The Holder of the Allowed DSM
                          RealSweet Secured Claim is entitled to vote to accept or reject the Plan.

        5. Class 5 – DSM Other Secured Claims

                 (a)      Classification: Class 5 consists of all Allowed DSM Other Secured Claims.

                 (b)      Treatment: On the Effective Date, in full and complete satisfaction of the DSM
                          Other Secured Claims, DSM’s obligation to make earn-out payments to the
                          Debtors under the DSM Agreements will be offset against the DSM Other
                          Secured Claims, and DSM will neither receive nor retain any other property under
                          the Plan on account of the DSM Other Secured Claims.

                 (c)      Voting: Class 5 is Impaired under the Plan. The Holder of the Allowed DSM
                          Other Secured Claims is entitled to vote to accept or reject the Plan.

        6. Class 6 – Lavvan Secured Claim

                 (a)      Classification: Class 6 consists of the Lavvan Secured Claim.




                                                    33
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 39 of 92



                 (b)      Treatment: On the Effective Date, in full and complete satisfaction of the
                          Lavvan Secured Claim, Lavvan will retain whatever Lien it may have on the
                          Debtors’ assets solely to the extent it secures an Allowed Lavvan Secured Claim,
                          and after such time as the Foris Prepetition Secured Lenders and/or the DIP
                          Lender, as applicable, the indefeasible payment in cash in full of the obligations
                          owing under the (i) Foris 2018 Loan, (ii) the DIP Facility Claims, and (iii) such
                          other Foris Prepetition Secured Claims, or other Foris claims, as are determined
                          by the Bankruptcy Court are required under the Lavvan Documents to be
                          indefeasibly paid in cash in full prior to the Allowed Lavvan Secured Claim being
                          paid, thereafter Lavvan will receive payment in cash in full of the Allowed
                          Lavvan Secured Claim, without interest, fees, costs, penalty or premium, at any
                          time. The Allowed Lavvan Secured Claim may be prepaid at any time without
                          interest, fees, costs, penalty or premium, The Lavvan Secured Claim shall remain
                          subject to the DIP Orders and the Subordination Agreement between Foris and
                          Lavvan dated May 2, 2019.

                          If the Allowed Lavvan Claim exceeds the Allowed Lavvan Secured Claim, the
                          difference shall be an Allowed General Unsecured Claim; provided, however, any
                          distribution to be paid to Lavvan on account of such Allowed General Unsecured
                          Claim shall be paid to: (i) the DIP Lender on account of the DIP Facility Claims
                          that have not then been indefeasibly paid in cash in full; (ii) Foris on account of
                          the Foris 2018 Loan Claims that have not then been indefeasibly paid in cash in
                          full; and (iii) such other Foris Prepetition Secured Claims, or other Foris claims,
                          as are determined by the Bankruptcy Court are required under the Lavvan
                          Documents to be indefeasibly paid in cash in full prior to the Lavvan Claims
                          being paid that have not then been indefeasibly paid in cash in full, in each cash at
                          the option, and in the sole and absolute discretion, of the DIP Lender, Foris, and
                          the Foris Prepetition Secured Lenders, respectively. The Lavvan General
                          Unsecured Claim shall remain subject to the DIP Orders and the Subordination
                          Agreement between Foris and Lavvan dated May 2, 2019. At such time as the
                          Allowed Lavvan Secured Claim is satisfied the liens securing the Allowed
                          Lavvan Secured Claim shall automatically terminate and be of no further force
                          and effect and Reorganized Amyris may take all actions necessary to effectuate
                          and implement the same.

                 (c)      Voting: Class 6 is Unimpaired under the Plan. The Holder of the Lavvan Secured
                          Claims is not entitled to vote to accept or reject the Plan.

        7. Class 7 – Convertible Note Claims

                 (a)      Classification: Class 7 consists of all Convertible Note Claims.




                                                     34
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 40 of 92



                 (b)      Treatment: On the Effective Date (or as soon as practicable thereafter), in full
                          and complete satisfaction of the Convertible Note Claims, whether or not Class 7
                          votes to accept the Plan, each Holder of an Allowed Convertible Note Claim will
                          receive from the Unsecured Claims ReserveCreditor Trust on account of such
                          Allowed Convertible Note Claim, a Pro Rata distribution of the Estate Claims
                          Settlement ConsiderationCreditor Trust Interests distributable to Class 7 based
                          upon the Allowed Claims in Class 7 and Class 8. On the Effective Date, the
                          Allowed Convertible Note Claims shall be discharged without further notice to,
                          approval of, or action by any Person or Entity.

                 (c)      Voting: Class 7 is Impaired under the Plan. The Holders of the Allowed
                          Convertible Note Claims are entitled to vote to accept or reject the Plan.

                 (d)      Other: For the avoidance of doubt, and separate and apart from the treatment of
                          Class 7, Holders of Allowed Class 7 Claims who are also Releasing Parties shall
                          also receive, in exchange for their granting Third-Party Releases, pro rata
                          distributions of the applicable Third-Party Release Settlement Amounts as set
                          forth in Article I.A.[197]198.

        8. Class 8 – General Unsecured Claims

                 (a)      Classification: Class 8 consists of all Allowed General Unsecured Claims.

                 (b)      Treatment: Holders of Allowed General Unsecured Claims will receive from the
                          Unsecured Claims ReserveCreditor Trust on account of the Allowed General
                          Unsecured Claims in full and complete satisfaction of such Claims, on the
                          Effective Date, (or as soon as practicable thereafter), whether or not Class 8 votes
                          to accept or reject the Plan, a Pro Rata distribution of the Estate Claims
                          Settlement ConsiderationCreditor Trust Interests distributable to Class 8 based
                          upon the Allowed Claims in Class 7 and Class 8. On the Effective Date, Allowed
                          General Unsecured Claims shall be discharged without further notice to, approval
                          of, or action by any Person or Entity.

                 (c)      Voting: Class 8 is Impaired under the Plan. The Holders of the Allowed General
                          Unsecured Claims are entitled to vote to accept or reject the Plan.

                 (d)      Other: For the avoidance of doubt, and separate and apart from the treatment of
                          Class 8, Holders of Allowed Class 8 Claims who are also Releasing Parties shall
                          also receive, in exchange for their granting Third-Party Releases, pro rata
                          distributions of the applicable Third-Party Release Settlement Amounts as set
                          forth in Article I.A.[197]198.

        9. Class 9 – DSM Contract Claims

                 (a)      Classification: Class 9 consists of all Allowed DSM Contract Claims.




                                                    35
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3      Filed 12/06/23       Page 41 of 92



                 (b)      Treatment: On the Effective Date, (x) if DSM votes to accept the Plan, the DSM
                          Contracts shall be modified as set forth in the Amended DSM Contracts and the
                          DSM Contract Claims shall be allowed in the amount of $0 and DSM shall
                          neither receive nor retain any property under the Plan on account of the DSM
                          Contract Claims except as provided for in the Amended DSM Contracts; or (y) if
                          DSM votes to reject the Plan, the DSM Contracts shall be rejected and any
                          Allowed DSM Contract Claims arising from such rejection shall be treated as a
                          General Unsecured Claim for purposes of distributions under the Plan.

                 (c)      Voting: Class 9 is Impaired under the Plan. The Holder of the Allowed DSM
                          Contract Claims is entitled to vote to accept or reject the Plan.

        10. Class 10 – Givaudan Contract Claims

                 (a)      Classification: Class 10 consists of all Allowed Givaudan Contract Claims.

                 (b)      Treatment: On the Effective Date, (x) if Givaudan votes to accept the Plan, the
                          Givaudan Contracts shall be modified as set forth in the Amended Givaudan
                          Contract and the Givaudan Contract Claims shall be allowed in the amount of $0
                          and Givaudan shall neither receive nor retain any property under the Plan on
                          account of the Givaudan Contract Claims except as otherwise provided in the
                          Amended Givaudan Contract; or (y) if Givaudan votes to reject the Plan, the
                          Givaudan Contracts shall be rejected and any Allowed Givaudan Contract Claims
                          arising from such rejection shall be treated as a General Unsecured Claim for
                          purposes of distribution under the Plan and shall receive the treatment provided
                          for General Unsecured Claims.

                 (c)      Voting: Class 10 is Impaired under the Plan. The Holder of the Allowed
                          Givaudan Contract Claims is entitled to vote to accept or reject the Plan.

        11. Class 11 – Intercompany Claims

                 (a)      Classification: Class 11 consists of all Allowed Intercompany Claims.

                 (b)      Treatment: On the Effective Date, such Claims shall be, at the option of the
                          Debtors or the Reorganized Debtors, either:

                          (i)     Reinstated;

                          (ii)    adjusted, converted to equity, otherwise set off, settled, distributed, or
                                  contributed; or

                          (iii)   canceled, released, or discharged without any distribution on account of
                                  such Claims.

                          The Plan and the distributions contemplated thereby constitute a global settlement
                          of any and all Intercompany Claims and Causes of Action by and between any of
                          the Debtors and/or wholly-owned Affiliates of a Debtor that may exist as of the
                          Effective Date. The Plan shall be considered a settlement of the Intercompany
                          Claims pursuant to Bankruptcy Rule 9019.

                 (c)      Voting: Class 11 is Impaired under the Plan, but the members thereof (the
                                                    36
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 42 of 92



                          Debtors, proponents of the Plan, and wholly-owned Affiliates thereof) have
                          agreed to the treatment under the Plan.

        12. Class 12 – Section 510(b) Claims

                 (a)      Classification: Class 12 consists of all Allowed Section 510(b) Claims.

                 (b)      Allowance: Notwithstanding anything to the contrary herein, a Section 510(b)
                          Claim may only become Allowed by Final Order of the Bankruptcy Court.

                 (c)      Treatment: In full and final satisfaction of its Allowed Section 510(b) Claim, on
                          the Effective Date, each Holder of an Allowed Section 510(b) Claim will neither
                          receive nor retain any property under the Plan.

                 (d)      Voting: Class 12 is Impaired under the Plan. Holders of Allowed Section 510(b)
                          Claims are deemed to reject the Plan.

        13. Class 13 – Intercompany Interests

                 (a)      Classification: Class 13 consists of all Allowed Intercompany Interests.

                 (b)      Treatment: All Interests of the other Debtors (other than Amyris) shall remain
                          issued and outstanding; except to the extent a Debtor other than Amyris is
                          dissolved, liquidated and wound down under the Plan, in which case, the Interests
                          of such Debtor shall be canceled.

                 (c)      Voting: Class 13 is Unimpaired under the Plan. Holders of Intercompany
                          Interests are deemed to accept the Plan. Such Holders are not entitled to vote to
                          accept or reject the Plan.

        14. Class 14 – Amyris Equity Interests

                 (a)      Classification: Class 14 consists of all Amyris Equity Interests.

                 (b)      Treatment: The Amyris Equity Interests shall be extinguished, and Holders of
                          such Equity Interests will not receive any distribution on account of such Equity
                          Interests.

                 (c)      Voting: Class 14 is Impaired under the Plan. Holders of Amyris Equity Interests
                          are deemed to have rejected the Plan pursuant to section 1126(g) of the
                          Bankruptcy Code. Therefore, such Holders are not entitled to vote to accept or
                          reject the Plan.

C.      Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in the Plan or the Plan Supplement, nothing under the Plan shall
affect the Debtors’ or the Reorganized Debtors’ rights regarding any Unimpaired Claim, including all
rights regarding legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claim.



                                                    37
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 43 of 92



D.      Elimination of Vacant Classes.

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the
Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting to accept or reject
the Plan and for purposes of determining acceptance or rejection of the Plan by such Class pursuant to
section 1129(a)(8) of the Bankruptcy Code.

E.      Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote on the Plan and no Holder of Claims or
Interests eligible to vote in such Class votes to accept or reject the Plan, the Holders of such Claims or
Interests in such Class shall be deemed to have accepted the Plan.

F.      Intercompany Interests.

        To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not
being received by Holders of such Intercompany Interests on account of their Intercompany Interests but
for the purposes of administrative convenience and due to the importance of maintaining the prepetition
corporate structure for the ultimate benefit of the Holders of New Common Stock, and in exchange for the
Debtors’ and the Reorganized Debtors’ agreement under the Plan to make certain distributions to the
Holders of Allowed Claims. For the avoidance of doubt, to the extent Reinstated pursuant to the Plan, on
and after the Effective Date, all Intercompany Interests shall be owned by the same Reorganized Debtor
that corresponds with the Debtor that owned such Intercompany Interests immediately prior to the
Effective Date.

G.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of the Plan by at least one Impaired Class of Claims. The Debtors shall seek Confirmation of
the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class(es) of
Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article XI hereof
to the extent that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a Class of Claims or Interests or reclassifying Claims
to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.      Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests,
are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or
before the Confirmation Date.

I.      Subordinated Claims.

        The classification and treatment of Claims under the Plan shall determine the respective
contractual, legal, and equitable subordination rights of such Claims, and except to the extent the Plan
provides otherwise, any such other rights shall be settled, compromised, and released pursuant to the Plan.
The Lavvan Secured Claim and the Lavvan General Unsecured Claim shall remain subject to the DIP
Orders and the Subordination Agreement between Foris and Lavvan dated May 2, 2019.



                                                  38
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 44 of 92




                                          ARTICLE IV.
                           MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests; Estate Claims Settlement, Third-Party Release
        Settlement.

        1. General Settlement of Claims and Interests.

         As discussed in further detail in the Disclosure Statement and as otherwise provided herein,
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, upon the Effective Date,
the provisions of the Plan shall constitute a good faith compromise and settlement of all Claims, Interests,
Causes of Action, Direct Claims and controversies released, settled, compromised, discharged, satisfied,
or otherwise resolved pursuant to the Plan. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of all such Claims, Interests, Causes of Action, Direct Claims and
controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such
settlement and compromise is fair, equitable, within the range of reasonableness and in the best interests
of the Debtors, their Estates, and Holders of Claims and Equity Interests and holders of Direct Claims.
Subject to Article VII hereof, all distributions made to Holders of Allowed Claims and Allowed Interests,
as applicable, in any Class are intended to be, and shall be, final.

         Certain claims and Causes of Action may exist between one or more of the Debtors and Affiliates
that are not wholly-owned by a Debtor (in either or both directions), which claims and Causes of Action
(other than any such claims and Causes of Action that are released pursuant to Article IX) will be deemed
waived for purposes of receiving any Distributions under the Plan, and such Claims that are canceled,
released or discharged as determined by the Debtors shall be canceled, released and discharged as to
Reorganized Amyris and its Affiliates. The Plan shall be deemed a motion to approve the good faith
compromise and settlement of such claims and Causes of Action pursuant to Bankruptcy Rule 9019.

        2. Estate Claims Settlement.

        In accordance with the Plan Support Agreement, the Plan provides for the Estate Claims
Settlement willto be presented toapproved by the Bankruptcy Court for approval on or prior to the
Confirmation Date pursuant to Bankruptcy Rule 9019. The entry of Estate Claims Settlement Order is a
condition precedent to and, if approved by the Bankruptcy Court, shall be incorporated into the
Confirmation of the Plan. Pursuant to the Estate Claims Settlement Order, the Debtors will provide the
following release:Order.

        Each of the Debtors, on its own behalf and as a representative of its Estates, to the fullest
extent permitted under applicable law, shall, and shall be deemed to, completely and forever
release, waive, void and extinguish unconditionally, as against each and all of the Released Parties,
any and all Claims, Estate Causes of Action, interests, obligations, suits, judgments, damages, debts,
rights, remedies, set offs, and Liabilities of any nature whatsoever, whether liquidated or
Unliquidated, fixed or Contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, then existing or thereafter arising, in law, equity, tort, contract, or otherwise, that are
or may be based in whole or part on any act, omission, transaction, event, occurrence, or other
circumstance, whether direct or derivative, taking place or existing on or prior to the Effective Date
(including prior to the Petition Date) arising from, in connection with, or related to, directly or
indirectly, in any manner whatsoever, the Debtors or their operations, assets, liabilities, financings,

                                                   39
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 45 of 92



the Estates, or the Chapter 11 Cases, that may be asserted by or on behalf of such Debtor or its
Estate, against any of the Released Parties; provided, however, that nothing in this section shall
operate as a release, waiver, discharge or impairment of any Estate Causes of Action transferred to
the Excluded Party LitigationCreditor Trust, which are preserved notwithstanding anything to the
contrary herein (the “Debtors’ Release”).

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (a) any post-Effective Date obligations of any party or Entity under the Plan, the
Confirmation Order, any Restructuring Transaction, any Definitive Document, or any other
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or the Restructuring Transactions; (b) the rights of any Holder of Allowed
Claims to receive distributions under the Plan; (c) any Claims for indemnification that are
expressly assumed by the Reorganized Debtors pursuant to the Plan or any document, instrument,
or agreement executed to implement the Plan or the Restructuring Transactions; or (d) any
obligations arising under business or commercial agreements or arrangements among the Released
Parties and any non-Debtor Entity.

          The Estate Claims SettlementConfirmation Order shall reflect the Bankruptcy Court’s
approval of the Estate Claims Settlement, pursuant to Bankruptcy Rule 9019, of the Debtors’
Release, which includes by reference each of the related provisions and definitions contained in the
Plan, and further, shall constitute the Bankruptcy Court’s finding that the Debtors’ Release is: (i)
in exchange for the good and valuable consideration provided by the Released Parties; (ii) a good
faith settlement and compromise of the claims or Causes of Action released by the Debtors’ Release;
(iii) in the best interests of the Debtors, the Estates, and all Holders of Claims and Interests; (iv)
fair, equitable and reasonable; (v) given and made after reasonable investigation by the Debtors
and after notice and opportunity for hearing; and (vi) a bar to any of the Debtors, the Reorganized
Debtors, or the Estates asserting any claim or Cause of Action released by the Debtor release
against any of the Released Parties.

         As consideration for the releases, the DIP Lender and the Foris Prepetition Secured Lenders have
agreed in consideration of the Estate Claims Settlement to allocate Net Proceeds, which would otherwise
be distributed to them, to fund the payments required under the Plan as follows: (i) to satisfy Allowed
Administrative Claims, Allowed Professional Fees, and Allowed Priority Tax Claims, (ii) U.S. Trustee
Fees; (iii) on account of the treatment of Classes 1, 2, 7, & 8, (iv) the Ad Hoc Group Restructuring
Expenses, and (ivv) to provide the funding of the Estate Claims Settlement Consideration.

        3. Third-Party Release Settlement.

        As set forth herein and in Article IX, hereof, the Releasing Parties are subject to the Third-Party
Release (either non-consensually or consensually) as provided for under the Plan. As consideration for
the Third-Party Release, the DIP Lender and the Foris Prepetition Secured Lenders are voluntarily
agreeing in connection with the Third-Party Release Settlement to allocate Net Proceeds and assets of the
Estates that would otherwise be paid to them to fund the Third-Party Release Settlement Amounts as
provided for under the Plan herein and in Article IX.D.

         Upon the Effective Date, the Third-Party Release Settlement Amounts that are allocated to
holders of Allowed Unsecured Claims, will be administered by the Plan Administrator to fund
distributions in accordance with the Plan, after payment of all direct out of pocket administrative,
personnel, legal costs and expenses incurred after the Effective Date in making distributions provided for
under the Plan. The mechanics for establishing, implementing and administering the Third-Party Release


                                                  40
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 46 of 92



Settlement Amounts that are allocated to holders of Allowed Unsecured Claims will be set forth in the
Plan Supplement.

         Upon the Effective Date, the Third-Party Release Settlement Amounts that are allocated to
holders of Amyris Equity Interests will be administered by the Disbursing Agent, as selected by the
Debtors, to fund distributions in accordance with the Plan, after payment of all direct out of pocket
administrative, personnel, legal costs and expenses incurred after the Effective Date in making
distributions provided for under the Plan. The mechanics for establishing, implementing and administering
the Third-Party Release Settlement Amounts that are allocated to holders of Amyris Equity Interests will
be set forth in the Plan Supplement.

        The distributions to be made under the Plan to holders of Direct Claims on account of the
Third-Party Release Settlement shall be the sole source of recovery for any and all such Direct Claims.
For the avoidance of doubt, holders of Direct Claims are not entitled to receive distributions or other
payment of funds from the Excluded Party LitigationCreditor Trust or the Unsecured Claim Reserve on
behalf of, related to, or with respect to, such Direct Claims.

         EachIf the Third-Party Releases are not approved by the Bankruptcy Court, each holder of a
Direct Claim may voluntarily elect to receive its portion of the Unsecured Claims ReserveThird-Party
Release Settlement Amounts to which it is entitled by electing to grant the Third-Party Releases, through
the following methods: (x) for (i) holders of Claims who are entitled to submit a ballot to vote on the Plan
and vote to accept the Plan, (ii) holders of Claims who are entitled to submit a ballot to vote on the Plan
and (a) vote to reject the Plan or (b) abstain from voting on the Plan and, in either case, do not elect to
exercise their right to opt out of granting the Third-Party Releases, and (y) for holders of Claims and
Interests who are deemed to accept or reject the Plan and are provided with a notice of non-voting status
providing them with the right to opt out of granting the Third-Party Releases and do not elect to exercise
such right; provided, that, as applicable, the Direct Claims Threshold is satisfied. Any undistributed
Third-Party Release Settlement Amounts and any undistributed amounts in the Unsecured Claims Reserve
that would have otherwise been distributed to holders of Direct Claims that opted out of granting the
Third-Party Release shall be paid to the Foris Prepetition Secured Lenders and applied to obligations
owing under the Exit First Lien Facility attributable to the Foris Prepetition Secured Loans that are
included in the Exit First Lien Facility.

         The Plan Administrator or, Disbursing Agent, or Creditor Trust, as applicable, shall make
distributions of the Third-Party Release Settlement Amounts to each holder of a Direct Claim who is
bound by the Third-Party Release as follows: (a) with respect to holders of Direct Claims who assert
General Unsecured Claims against the Debtors, Pro Rata based upon the aggregate amount of such claims
timely asserted against the Debtors (such claims measured as of the Petition Date); (b) with respect to
holders of Direct Claims who assert Convertible Notes Claims against the Debtors, Pro Rata based upon
the aggregate amount of such Convertible Notes Claims asserted against the Debtors (such claims
measured as of the Petition Date on the same basis as such Claims are Allowed for voting purposes), and
(c) with respect to holders of Direct Claims who are holders of any Interests, Pro Rata based upon
outstanding common stock of Amyris (excluding for purposes of such calculation, any outstanding
common stock of Amyris held by any of the Direct Claims Injunction Parties) (such outstanding common
stock of Amyris measured as of the Petition Date); provided, however, any all Third-Party Release
Settlement Amounts that would have otherwise been distributed to holders of Direct Claims that opted out
of granting the Third-Party Release shall be paid to the Foris Prepetition Secured Lenders and applied to
obligations owing under the Exit First Lien Facility attributable to the Foris Prepetition Secured Loans
that are included in the Exit First Lien Facility. With respect to holders of Direct Claims who are holders
of any Interests who do not opt out of the Third-Party Release but do not receive a distribution of the

                                                   41
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 47 of 92



Third-Party Release Settlement Amounts because of the provision in the Plan regarding the minimum
distribution amount (Art. VII.D.#), such holders will not be bound by the Third-Party Release.

B.      Sale of Consumer Brands Businesses and Other Assets and Allocation of Net Proceeds.

        The Debtors’ Consumer Brands Businesses will be sold during the Chapter 11 Cases in
accordance with the Bidding Procedures Order, and the Other Assets will be sold in the event of a Sale
ToggleOption. Under the Plan, with the consent of the DIP Lender and the Foris Secured Parties, as
applicable, Net Proceeds to which theythe DIP Lender and the Foris Secured Parties are otherwise entitled
will be re-allocated for the benefit of Holders of Allowed Claims that are not classified and Holders of
Allowed Claims classified in Classes 1, 2, 7 & 8, will be used to fund cashCash payments required to be
made under the Plan on or after the Effective Date: (i) to satisfy Allowed Administrative Claims, Allowed
Professional Fees, Allowed Priority Tax Claims and U.S. Trustee Fees (subject to the Plan Effective Date
Funding); (ii) on account of the treatment of Classes 1, 2, 7 & 8, and (iii) the Ad Hoc Group
Restructuring Expenses, and (iv) to fund the Estate Claims Settlement Cash Consideration. In addition,
with the consent ofNet Proceeds to which the DIP Lender and the Foris Secured Parties, as applicable, Net
Proceeds to which they are otherwise entitled will be re-allocated to fund the Third-Party Release
Settlement Amounts.

C.      Unsecured Claims Reserve.

         The Reorganized Debtors shall establish under the Plan on the Effective Date the Unsecured
Claims Reserve that will be composed of the distributable proceeds from the Estate Claims Settlement
Consideration, to be distributed to the Holders of General Unsecured Claims in accordance with the Plan,
after payment of all direct out-of-pocket administrative, personnel, legal costs and expenses of the Estates
and/or the Plan Administrator incurred after the Effective Date in determining the Allowed General
Unsecured Claims and making distributions from the Unsecured Claims Reserve on account of such
Allowed General Unsecured Claims. The mechanics of establishing, implementing and administering the
Unsecured Claims Reserve shall be set forth in the Plan and Plan Supplement, including, without
limitation, with respect to the distribution of the proceeds of the Estate Claims Settlement Other
Consideration to Holders of Allowed Claims in Classes 7 and 8, or the Third-Party Release Settlement
Amount will be funded from an advance under the Exit First Lien Facility.

C.      D. Administrative Consolidation for Voting and Distribution Purposes Only.

        On the Effective Date, and solely for voting and administrative purposes to facilitate distributions
from the Excluded Party LitigationCreditor Trust on account of Class 8 General Unsecured Claims: (a)
all General Unsecured Claims shall be deemed merged and treated as liabilities of the Debtors on a
consolidated basis; (b) each General Unsecured Claim will be deemed a single Claim and a single
obligation of the Debtors; and (c) all General Unsecured Claims based on joint and several liability or a
guaranty by a Debtor of the obligations of any other Debtor shall be deemed eliminated and extinguished.
For the avoidance of doubt, for the purposes of determining the availability of the right of setoff under
section 553 of the Bankruptcy Code, the Debtors shall be treated as separate Entities. Such administrative
consolidation is solely for the purpose of facilitating distributions to Holders of Allowed General
Unsecured Claims under this Plan and shall not affect the legal and corporate structures of the
Reorganized Debtors or the General Unsecured Claims. Moreover, such administrative consolidation
shall not affect any subordination provisions set forth in any agreement relating to any General Unsecured
Claim subordinated in accordance with section 510(b) of the Bankruptcy Code, any contractual rights, or
any equitable principles.



                                                   42
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 48 of 92



D.      E. Restructuring Transactions.

         On or before the Effective Date, or as soon as reasonably practicable thereafter, the applicable
Debtors or the Reorganized Debtors, with the consent of the Foris Secured Parties, shall consummate the
Restructuring Transactions and take all actions as may be necessary or appropriate to effectuate any
transaction described in, approved by, contemplated by, or necessary to effectuate the Plan that are
consistent with and pursuant to the terms and conditions of the Plan, including: (a) the execution and
delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or
liquidation containing terms that are consistent with the terms of the Plan and the Plan Supplement and
that satisfy the requirements of applicable Law and any other terms to which the applicable Entities may
agree; (b) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the terms of
the Plan and the Plan Supplement and having other terms for which the applicable Entities may agree; (c)
the execution, delivery, and filing, if applicable, of appropriate certificates or articles of incorporation,
formation, reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance,
or dissolution pursuant to applicable state or provincial Law, including any applicable New
Organizational Documents; (d) such other transactions and/or Bankruptcy Court filings that are required
to effectuate the Restructuring Transactions, including any sales, mergers, consolidations, restructurings,
conversions, dispositions, transfers, formations, organizations, dissolutions, or liquidations; (e) the
execution, delivery, and filing of the Exit First Lien Facility Documents, the Amended DSM Contracts,
the DSM Plan Promissory Note, the DSM Plan Promissory Note Pledge Agreement, and the Amended
Givaudan Contract; and (f) all other actions that the applicable Entities determine to be necessary or
appropriate, including making filings or recordings that may be required by applicable Law in connection
with the Plan.

        The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect
any transaction described in, contemplated by, or necessary to effectuate the Plan.

E.      F. Reorganized Debtors.

        On the Effective Date, the New Board shall be appointed, and the Reorganized Debtors shall
adopt the New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any
other agreements, documents, and instruments and to take any other actions contemplated under the Plan
as necessary to consummate the Plan. Cash payments to be made pursuant to the Plan will be made by the
Debtors or the Reorganized Debtors. The Debtors and the Reorganized Debtors will be entitled to transfer
funds between and among themselves as they determine to be necessary or appropriate to enable the
Debtors or the Reorganized Debtors, as applicable, to satisfy their obligations under the Plan. Except as
set forth herein, any changes in intercompany account balances resulting from such transfers will be
accounted for and settled in accordance with the Debtors’ historical intercompany account settlement
practices and will not violate the terms of the Plan.

F.      G. Sources of Consideration for Plan Distributions.

        The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan
with (a) Net Proceeds as provided for herein, (b) the New Common Stock, (c) proceeds from the Exit First
Lien Facility, and (d) Cash on hand, subject to the Plan Effective Date Funding.




                                                    43
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 49 of 92



        1. Issuance of New Common Stock.

        On or prior to the Effective Date, Reorganized Amyris shall take steps to provide that the New
Common Stock is issued and/or transferred accordance with the terms of the Plan, the Plan Supplement,
the New Organizational Documents, and applicable Law (including applicable securities Laws). The
issuance of the New Common Stock on the Effective Date pursuant to the Plan is authorized without the
need for any further corporate action and without any further action by Reorganized Amyris, the Debtors,
or the Reorganized Debtors, as applicable, and without any action by the Holders of Claims or Interests or
other parties in interest. All of the New Common Stock issued or authorized to be issued pursuant to the
Plan shall, pursuant to the Restructuring Transactions, be duly authorized, validly issued, fully paid, and
non-assessable. Any Entity’s acceptance of the New Common Stock shall be deemed to have provided its
agreement to the New Organizational Documents, as the same may be amended or modified from time to
time following the Effective Date. The Holders of New Common Stock may allocate the New Common
Stock among their Affiliates as designated by the Holders in their sole discretion.

        The issuance of the New Common Stock pursuant to and under the Plan will be conducted in
reliance upon one or more exemptions from registration under the Securities Act, which will include the
exemption provided in section 1145 of the Bankruptcy Code to the fullest extent available.

         The issuance of the New Common Stock shall not constitute an invitation or offer to sell, or the
solicitation of an invitation or offer to buy, any securities in contravention of any applicable Law in any
jurisdiction.

        2. Capital Raise - Exit First Lien Facility.

       On the Effective Date, the Reorganized Debtors shall be authorized to enter into the Exit First
Lien Facility on the terms set forth in the Exit First Lien Facility Documents.
        To the extent not already approved, Confirmation of the Plan shall be deemed approval of the Exit
First Lien Facility and the Exit First Lien Facility Documents, as applicable, and all transactions
contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred
by the Debtors and the Reorganized Debtors in connection therewith, including the payment of all fees,
indemnities, expenses, and other payments provide for therein and authorization of the Debtors and the
Reorganized Debtors to enter into and execute the Exit First Lien Facility Documents and such other
documents as may be required to effectuate the treatment afforded by the Exit First Lien Facility.
Execution of the Exit First Lien Facility Documents by the Exit First Lien Facility Agent shall be deemed
to bind all Exit First Lien Facility Lenders as if each such Exit First Lien Facility Lender had executed the
applicable Exit First Lien Facility Documents with appropriate authorization.
         On the Effective Date, all of the Liens and security interests to be granted in accordance with the
Exit First Lien Facility Documents, to the extent applicable: (i) shall be deemed to be granted; (ii) shall
be legal, binding, automatically perfected, non-avoidable, and enforceable Liens on, and security interests
in, the collateral granted thereunder in accordance with the terms of the Exit First Lien Facility
Documents shall be senior, first priority, priming liens, on all of the assets of the Reorganized Amyris;
(iii) shall be deemed automatically perfected on or prior to the Effective Date, subject only to such Liens
and security interests as may be permitted under the respective Exit First Lien Facility Documents; and
(iv) shall not be subject to avoidance, recharacterization, or equitable subordination for any purposes
whatsoever, shall not be subject to marshalling or any similar doctrine, and shall not constitute
preferential transfers, fraudulent transfers, or fraudulent conveyances under the Bankruptcy Code or any
applicable non-bankruptcy Law.
        To the extent applicable, the Reorganized Debtors and the persons and entities granted such Liens
and security interests shall be authorized to make all filings and recordings, and to obtain all governmental
                                                   44
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 50 of 92



approvals and consents necessary to establish and perfect such Liens and security interests under the
provisions of the applicable state, federal, or other Law that would be applicable in the absence of the
Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue
of the entry of the Confirmation Order and any such filings, recordings, approvals, and consents shall not
be required), and will thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable Law to give notice of such Liens and security interests to third parties.

         The outstanding DIP Facility and/or Foris Prepetition Secured Loans that are amended and
restated or rolled-over into indebtedness of Reorganized Amyris as part of the Exit First Lien Facility
shall be identified by amount and tranche in the Plan Supplement.

G.      H. Section 1145 Exemption and DTC Matters.

         The shares of the New Common Stock being issued under the Plan will be issued without
registration under the Securities Act or any similar federal, state, or local Law in reliance upon either: (a)
section 1145 of the Bankruptcy Code (except with respect to an entity that is an “underwriter” as defined
in section 1145(b) of the Bankruptcy Code); or (b) including with respect to an entity that is an
“underwriter” as defined in section 1145(b) of the Bankruptcy Code, pursuant to Section 4(a)(2) of the
Securities Act, Regulation D promulgated thereunder, and/or Regulation S under the Securities Act (or
another applicable exemption under the Securities Act).

         Securities issued in reliance upon section 1145 of the Bankruptcy Code (a) are exempt from,
among other things, the registration requirements of section 5 of the Securities Act and any other
applicable Law requiring registration prior to the offering, issuance, distribution, or sale of Securities, to
the maximum extent possible, (b) are not “restricted securities” as defined in Rule 144(a)(3) under the
Securities Act, and (c) are freely tradable and transferable by any holder thereof that, at the time of
transfer, (i) is not an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act, (ii) has not been such an “affiliate” within ninety days of such transfer, and (iii) is not an
entity that is an “underwriter” (as defined in section 2(a)(11) of the Securities Act). The offering,
issuance, distribution, and sale of any securities in accordance section 1145 of the Bankruptcy Code shall
be made without registration under the Securities Act or any similar federal, state, or local Law in reliance
on section 1145(a) of the Bankruptcy Code.

         Any shares of the New Common Stock issued in reliance upon the exemption from registration
provided by Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder, and/or
Regulation S under the Securities Act will be “restricted securities.” Such securities may not be resold,
exchanged, assigned, or otherwise transferred except pursuant to an effective registration statement under
the Securities Act or an available exemption therefrom and other applicable Law and subject to any
restrictions, including any transfer restrictions, in the New Organizational Documents. The offering,
issuance, distribution, and sale of such securities shall be made without registration under the Securities
Act or any similar federal, state, or local Law in reliance on section 4(a)(2) of the Securities Act,
Regulation D promulgated thereunder, and/or Regulation S under the Securities Act.

        It is not expected that any shares of the New Common Stock will be eligible for any depository
services, including with respect to DTC, on or about the Effective Date. Further, it is not intended that the
New Common Stock will be listed on a national securities exchange (or a comparable non-U.S. securities
exchange) on or about the Effective Date. Reorganized Amyris will be privately held pursuant to the Plan
as provided herein.

        Subject to compliance with the Securities Act, Exchange Act and other applicable Law, Parent
expects that on the Effective Date that the existing Amyris Equity Interests will be canceled and that the

                                                    45
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 51 of 92



New Common Stock will not be listed or quoted on a national securities exchange or over-the-counter
market. As part of the Restructuring Transactions, Parent and/or Reorganized Amyris may, in its sole
discretion, use reasonable best efforts: (i) to terminate the effectiveness of the Registration Statements and
to remove from registration any securities that remain unsold at the termination of the offering covered by
the Registration Statements, (ii) to terminate the registration of the existing common stock of Parent under
Section 12 of the Exchange Act and suspend its reporting obligations under Sections 13(a) and 15(d) of
the Exchange Act (the “SEC Reporting Suspension”) and (iii) to delist Parent’s existing common stock,
any other Amyris Equity Interests, and the New Common Stock, if applicable, from the OTC Pink
Marketplace and any other securities exchange or over-the-counter market. Subject to obtaining the SEC
Reporting Suspension, Parent expects that none of Reorganized Amyris or any of its subsidiaries will be
subject to public periodic reporting obligations with the SEC or any other entity following the
Restructuring Transactions.

         Should the Reorganized Debtors elect, on or after the Effective Date, to reflect any ownership of
the New Common Stock issued under the Plan through the facilities of DTC (or another similar
depository), the Reorganized Debtors need not provide any further evidence other than the Plan or the
Confirmation Order with respect to the treatment of the New Common Stock to be issued under the Plan
under applicable securities Laws. DTC (or another similar depository) shall be required to accept and
conclusively rely upon the Plan and Confirmation Order in lieu of a legal opinion regarding whether the
New Common Stock to be issued under the Plan is exempt from registration and/or eligible for DTC
book-entry delivery, settlement, and depository services. Notwithstanding anything to the contrary in the
Plan, no Entity (including, for the avoidance of doubt, DTC) may require a legal opinion regarding the
validity of any transaction contemplated by the Plan, including, for the avoidance of doubt, whether the
New Common Stock to be issued under the Plan is exempt from registration and/or eligible for DTC
book-entry delivery, settlement, and depository services.

         Notwithstanding any policies, practices, or procedures of DTC, DTC shall cooperate with and
take all actions reasonably requested by the Disbursing Agent or the Convertible Notes Trustee to
facilitate distributions to Holders of Convertible Notes Claims without requiring that such distributions be
characterized as repayments of principal or interest. Neither the Disbursing Agent nor the Convertible
Notes Trustee shall be required to provide indemnification or other security to DTC in connection with
any distributions to Holders of Convertible Notes Claims through the facilities of DTC.

H.      I. Section 1146 Exemption.

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to
(a) the issuance, distribution, transfer, or exchange of any debt, equity Security, or other interest in the
Debtors or the Reorganized Debtors, including the New Common Stock and the Exit First Lien Facility,
(b) the Restructuring Transactions, (c) the creation, modification, consolidation, termination, refinancing,
and/or recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means, (d) the making, assignment, or recording of any lease or sublease,
(e) the grant of collateral as security for the Reorganized Debtors’ obligations under and in connection
with the Exit First Lien Facility or (f) the making, delivery, or recording of any deed or other instrument
of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
assignments, or other instrument of transfer executed in connection with any transaction arising out of,
contemplated by, or in any way related to the Plan, shall not be subject to any document recording tax,
stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, personal
property transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, or other similar tax or governmental assessment, and upon entry of the
Confirmation Order, the appropriate state or local governmental officials or agents shall forego the

                                                    46
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3        Filed 12/06/23       Page 52 of 92



collection of any such tax or governmental assessment and accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax, recordation fee, or
governmental assessment. All filing or recording officers (or any other Person with authority over any of
the foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146(a) of the Bankruptcy Code, shall forego the collection of any such tax or governmental
assessment, and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

I.      J. Corporate Existence.

         Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, or unless determined by the Debtors prior
to the Effective Date to wind-down, dissolve, or liquidate a Debtor, each Debtor shall continue to exist
after the Effective Date as a separate corporation, limited liability company, partnership, or other form, as
the case may be, with all the powers of a corporation, limited liability company, partnership, or other
form, as the case may be, pursuant to the applicable Law in the jurisdiction in which each applicable
Debtor is incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or
other formation documents) in effect prior to the Effective Date, except to the extent such certificate of
incorporation and bylaws (or other formation documents) are amended under the Plan or otherwise, in
each case, consistent with the Plan, and to the extent such documents are amended in accordance
therewith, such documents are deemed to be amended pursuant to the Plan and require no further action or
approval (other than any requisite filings, approvals, or consents required under applicable state,
provincial, or federal Law). After the Effective Date, the respective certificate of incorporation and
bylaws (or other formation documents) of one or more of the Reorganized Debtors may be amended or
modified on the terms therein without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules. On or after the Effective Date, without
prejudice to the rights of any party to a contract or other agreement with any Reorganized Debtor, each
Reorganized Debtor may take such action not inconsistent with the Restructuring Transactions, the Plan
Support Agreement or the Plan and as permitted by applicable law and such organizational documents, as
the Reorganized Debtors may determine is reasonable and appropriate, including causing any of them to:
(i) be merged into another; (ii) be dissolved and liquidated; (iii) change its legal name; (iv) change its state
of incorporation; or (v) close a Reorganized Debtor’s Chapter 11 Case on the Effective Date or any time
thereafter.

J.      K. Vesting of Assets in the Reorganized Debtors.

        Except as otherwise provided in the Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, or unless determined by the Debtors prior
to the Effective Date to wind-down, dissolve, or liquidate a Debtor on the Effective Date, all property in
each Estate, all Causes of Action, and all property of the Estate to revest pursuant to the Plan shall vest in
each respective Reorganized Debtor and any entity that may be formed or incorporated by the Debtors or
the Reorganized Debtors before, on or after the Effective Date, free and clear of all Liens, Claims,
charges, restrictions or other encumbrances. On and after the Effective Date, except as otherwise
provided in the Plan, the Plan Supplement, or the Confirmation Order, each Reorganized Debtor may
operate its businesses and may use, acquire, or dispose of property, including transferring any assets to
any entities formed or incorporated before, on or after the Effective Date by the Debtors or the
Reorganized Debtors, and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
the Bankruptcy Rules.



                                                     47
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 53 of 92



K.      L. Cancellation of Existing Securities and Agreements.

        On the Effective Date, except to the extent otherwise provided in the Plan, the Plan Supplement,
or the Confirmation Order, or any agreement, instrument, or other document incorporated therein, and
other than as to the DIP Facility Claims and Foris Prepetition Secured Claims rolled up, converted,
exchanged, refinanced or amended and restated, into the Exit First Lien Facility or New Common Stock of
Reorganized Amyris, all notes, instruments, certificates, credit agreements, indentures, and other
documents evidencing Claims or Interests shall be cancelled and the obligations of the Debtors thereunder
or in any way related thereto shall be deemed satisfied in full, cancelled, released, discharged, and of no
force and effect without any need for further action or approval of the Bankruptcy Court or for a Holder to
take further action, and the Agents and the Convertible Notes Trustee, as applicable, shall be released
from all duties thereunder and shall have no further obligation or liability thereunder except as expressly
provided in the Plan. Holders of or parties to such cancelled instruments, Securities, and other
documentation will have no rights arising from or relating to such instruments, Securities, and other
documentation, or the cancellation thereof, except the rights provided for pursuant to the Plan.
Notwithstanding anything to the contrary herein, but subject to any applicable provisions of Article VII
hereof, to the extent cancelled pursuant to this paragraph, the Debt Documents shall continue in effect
solely to the extent necessary to: (a) permit Holders of Claims under Debt Documents to receive their
respective Plan Distributions, if any; (b) permit the Disbursing Agent or the Convertible Notes Trustee, as
applicable, to make Plan Distributions on account of the Allowed Claims under the Debt Documents; (c)
preserve the Convertible Notes Trustee’s rights to compensation and indemnification as against Plan
Distributions distributable to the Holders of the Convertible Notes Claims, including to permit the
Convertible Notes Trustee to maintain, enforce, and exercise its charging liens against such Plan
Distributions; (d) preserve any rights of the Agents and Convertible Notes Trustee (solely as to Plan
Distribtuions) thereunder to maintain, exercise, and enforce any applicable rights of indemnity,
reimbursement, or contribution, or subrogation or any other claim or entitlement; (e) permit the
Convertible Notes Trustee to enforce any obligation owed to the Convertible Notes Trustee under the
Plan; and (f) permit each Agent and Convertible Notes Trustee to appear and be heard in the Chapter 11
Cases or in any proceeding in the Bankruptcy Court. Except as provided in the Plan or the Plan
Supplement (including Article VII hereof) or as may be necessary to effectuate the terms of the Plan, on
the Effective Date, the Agents and Trustees, and their respective agents, successors, and assigns, shall be
automatically and fully discharged of all of their duties and obligations associated with the Debt
Documents, as applicable.

L.      M. Corporate Action.

         On the Effective Date, or as soon as reasonably practicable thereafter, except as otherwise
provided in the Plan, the Plan Supplement, or the Confirmation Order, all actions contemplated under the
Confirmation Order, the Plan and the Plan Supplement shall be deemed authorized and approved in all
respects, including: (a) the hiring of a new chief executive officer and the execution of an employment
agreement with the new chief executive officer on terms and conditions acceptable to Foris; (b) discharge
of the duties of, and the dissolution of, the then-existing board of directors of Parent and selection of the
directors or managers, as applicable, and officers for the Reorganized Debtors, including the appointment
of the New Board; (c) the issuance and distribution of the New Common Stock; (d) implementation of the
Restructuring Transactions, and performance of all actions and transactions contemplated hereby and
thereby; (e) all other acts or actions contemplated or reasonably necessary or appropriate to promptly
consummate the Restructuring Transactions contemplated by the Plan (whether to occur before, on, or
after the Effective Date); (f) adoption, execution, delivery, and/or filing of the New Organizational
Documents; (g) the rejection, assumption, or assumption and assignment, as applicable, of Executory
Contracts and Unexpired Leases; (h) entry into the Exit First Lien Facility and the execution, delivery, and
filing of the Exit First Lien Facility Documents; (i) entry into the Amended DSM Contracts, the DSM
                                                   48
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 54 of 92



Plan Promissory Note, and DSM Plan Promissory Note Pledge Agreement; (j) execution of the Amended
Givaudan Contract; (k) the execution of the Excluded Party LitigationCreditor Trust Agreement and the
Unsecured Claims Reserve; and (l) all other acts or actions contemplated or reasonably necessary or
appropriate to promptly consummate the Restructuring Transactions (whether to occur before, on, or after
the Effective Date).

        Except as otherwise provided in the Plan or the Plan Supplement, all matters provided for in the
Plan and the Plan Supplement involving the corporate structure of the Debtors or the Reorganized
Debtors, and any corporate, partnership, limited liability company, or other governance action required by
the Debtors or the Reorganized Debtors, as applicable, in connection with the Plan and the Plan
Supplement shall be deemed to have occurred and shall be in effect, without any requirement of further
action by the equity holders, members, directors, managers, or officers of the Debtors or the Reorganized
Debtors, as applicable.

        On or, as applicable, prior to the Effective Date, except as otherwise provided in the Plan or the
Plan Supplement, the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall
be authorized and, as applicable, directed to issue, execute, and deliver the agreements, documents,
Securities, and instruments contemplated under the Plan and the Plan Supplement (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of the
Reorganized Debtors, including the New Common Stock, the Exit First Lien Facility Documents, the New
Organizational Documents, the Amended DSM Contracts, the DSM Plan Promissory Note, the DSM Plan
Promissory Note Pledge Agreement, the Amended Givaudan Contract, any other Definitive Documents,
and any and all other agreements, documents, Securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by this Article IV.ML shall be effective notwithstanding any
requirements under non-bankruptcy Law.

M.      N. New Organizational Documents.

        On or as soon as reasonably practicable after the Effective Date, except as otherwise provided in
the Plan or the Plan Supplement and subject to local Law requirements, the New Organizational
Documents (which shall be consistent with the Plan and the Plan Supplement) shall be automatically
adopted or amended, as may be necessary to effectuate the transactions contemplated by the Plan. To the
extent required under the Plan, the Plan Supplement, or applicable non-bankruptcy Law, each of the
Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of State
and/or other applicable authorities in its respective state or country of organization if and to the extent
required in accordance with the applicable Law of the respective state or country of organization. The
New Organizational Documents will (a) authorize the issuance of the New Common Stock and (b)
prohibit the issuance of non-voting equity Securities to the extent required under section 1123(a)(6) of the
Bankruptcy Code.

        After the Effective Date, each Reorganized Debtor may amend and restate its respective New
Organizational Documents as permitted by Laws of the respective states, provinces, or countries of
incorporation and the New Organizational Documents.

        On the Effective Date, Reorganized Amyris shall enter into and deliver the New Stockholders
Agreement with respect to each Holder of New Common Stock, which shall become effective and binding
in accordance with their terms and conditions upon the parties thereto without further notice to or order of
the Bankruptcy Court, act, or action under applicable Law, regulation, order, or rule or the vote, consent,
authorization, or approval of an Entity (other than the relevant consents required by any Definitive



                                                   49
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 55 of 92



Document). Holders of New Common Stock shall be deemed to have executed the New Stockholders
Agreement and be parties thereto, without the need to deliver signature pages thereto.

N.      O. Managers and Officers of the Reorganized Debtors.

         As of the Effective Date, the members for the New Board shall be appointed. The initial members
of the New Board of Reorganized Amyris will be identified in the Plan Supplement, to the extent known
at the time of filing. Each such member and officer of the Reorganized Debtors (including the new chief
executive officer) shall serve from and after the Effective Date pursuant to the terms of any applicable
employment agreements and other constituent documents of the Reorganized Debtors, including the New
Organizational Documents.

O.      P. Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors,
members, or managers (or other relevant governing body), are authorized to and may issue, execute,
deliver, file, or record such contracts, Securities, instruments, releases, and other agreements or documents
and take such actions as may be necessary or appropriate to effectuate, implement, and further evidence
the terms and conditions of the Plan, the Exit First Lien Facility entered into, and the Securities issued
pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for any
approvals, authorization, or consents except for those expressly required pursuant to the Plan or the Plan
Supplement.

P.      Q. Management Incentive Plan.

         A management incentive plan may be established and grants may be made from time to time to
employees, officers, and directors of the Reorganized Debtors at the discretion of the New Board effective
as of the Effective Date. The terms and conditions (including, without limitation, with respect to
participants, allocation, timing, and the form and structure of the equity-link awards) shall be determined
at the discretion of the New Board after the Effective Date.

Q.      R. Preservation of Causes of Action

         In accordance with section 1123(b) of the Bankruptcy Code, each Reorganized Debtor or the
Excluded Party LitigationCreditor Trust, as applicable, shall retain and may enforce all rights to
commence and pursue, as appropriate, any and all Causes of Action of the Debtors and their Estates,
whether arising before or after the Petition Date, including any actions specifically enumerated in the
Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or
settle such retained Causes of Action shall be preserved notwithstanding the occurrence of the Effective
Date or any other provision of the Plan to the contrary, other than the Avoidance Actions or any other
Causes of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan,
including in Article IX hereof, which shall be deemed released and waived by the Debtors and the
Reorganized Debtors as of the Effective DateReleased Claims.

        The Reorganized Debtors or the Excluded Party LitigationCreditor Trust, as applicable,
may pursue such retained Causes of Action, as appropriate. No Entity may rely on the absence of a
specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any retained
Cause of Action against it as any indication that the Debtors, the Reorganized Debtors, or the
Excluded Party LitigationCreditor Trust, as applicable, will not pursue any and all available
retained Causes of Action against it. The Debtors, the Reorganized Debtors, and the Excluded
Party LitigationCreditor Trust expressly reserve all rights to prosecute any and all retained Causes

                                                   50
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 56 of 92



of Action against any Entity (other than the Causes of Action and Direct Claims released under the
Plan and subject to the exculpations contained in the Plan). Unless any Causes of Action or Direct
Claims against an Entity are expressly waived, relinquished, exculpated, released, compromised, or
settled in the Plan or a Final Order (and for the avoidance of doubt, any Causes of Action on the
Schedule of Retained Causes of Action shall not be expressly relinquished, exculpated, released,
compromised, or settled in the Plan), the Reorganized Debtors or the Excluded Party
LitigationCreditor Trust, as applicable, expressly reserve all retained Causes of Action for later
adjudication and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or
laches, shall apply to such retained Causes of Action upon, after, or as a consequence of the
Confirmation or Consummation.

        The Reorganized Debtors and the Excluded Party LitigationCreditor Trust, as applicable, reserve
and shall retain such retained Causes of Action notwithstanding the rejection or repudiation of any
Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any retained Causes of Action against any
Entity shall vest in the Reorganized Debtors or the Excluded Party LitigationCreditor Trust, as applicable.
The applicable Reorganized Debtors or the Excluded Party LitigationCreditor Trust, through their
authorized agents or representatives, shall retain and may exclusively enforce any and all such retained
Causes of Action. The Reorganized Debtors or the Excluded Party LitigationCreditor Trust, as
applicable, shall have the exclusive right, authority, and discretion to determine and to initiate, file,
prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such
retained Causes of Action and to decline to do any of the foregoing without the consent or approval of any
third party or further notice to or action, order, or approval of the Bankruptcy Court except as otherwise
released in this Plan.

R.      S. Sale ToggleOption

         At the election of the DIP Lenders and the Foris Prepetition Secured Lenders, which may be made
in their sole discretion at any time prior to the Confirmation Date, the Debtors shall close a sale of the
Other Assets pursuant to the Other Assets Bidding Procedures with the consideration for sale of the Other
Assets to be distributed, as part of the Net Proceeds, as provided for in the Plan. The sale of the Other
Assets will be conducted in accordance with the Other Assets Bidding Procedures, with the DIP Lender
and the Foris Prepetition Secured Lenders providing an Other Assets Stalking Horse Credit Bid.

TS.     Convertible Notes Trustee Fees and Expenses .

         On the Effective Date, subject to the occurrence of the Ad Hoc Group Acceptance Event and
subject to the Administrative Claims Budget, without any further notice to, or action, order, or approval of
the Bankruptcy Court, the Debtors or Reorganized Debtors, as applicable, shall distribute Cash to the
Convertible Notes Trustee in an amount equal to the Convertible Notes Trustee Fees and Expenses, which
shall include an estimate of Convertible Notes Trustee Fees and Expenses to be incurred after the
Effective Date related to distributions to be made pursuant to the Plan, without a reduction to recoveries to
Holders of the Convertible Notes Claims; provided that the amount of Convertible Notes Trustee Fees and
Expenses payable by the Debtors or Reorganized Debtors shall not, in the aggregate amount, exceed
$250,000; provided, further, that the limitations on the Debtors’ and Reorganized Debtors’ obligations to
pay Convertible Notes Trustee Fees and Expenses, including the occurrence of the Ad Hoc Group
Acceptance Event and the dollar limitation in the foregoing proviso, shall in no way impair the
Convertible Notes Trustee’s rights to compensation and indemnification as against Plan Distributions



                                                   51
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 57 of 92



distributable to the Holders of the Convertible Notes Claims, including the Convertible Notes Trustee’s
right to maintain, enforce, and exercise its charging liens against such Plan Distributions.

T.      Lavvan Turnover.

        Any distribution payable to Lavvan pursuant to Article III.B.8(b) on account of any Lavvan
Allowed General Unsecured Claim that is subject to turnover to the DIP Lenders, Foris, or the Foris
Prepetition Secured Parties shall be automatically transferred to the Creditor Trust and shall constitute a
Creditor Trust Asset, at the sole expense of the Creditor Trust, to holders of Allowed Claims in Classes 7
and 8 other than Lavvan.



                                        ARTICLE V.
                        EXCLUDED PARTY LITIGATIONCREDITOR TRUST

A.      Creation and Governance of the Excluded Party LitigationCreditor Trust.

         Unless otherwise determined pursuant to the terms of the Plan, on the Effective Date, whether or
not the Debtors have executed a D&O Insurance Settlement, the Debtors shall transfer, or cause to be
transferred, to the Excluded Party LitigationCreditor Trust all of their rights, title, and interest in the
Excluded Party LitigationCreditor Trust Assets, and the Excluded Party LitigationCreditor Trustee shall
execute the Excluded Party LitigationCreditor Trust Agreement and take all steps necessary to establish
the Excluded Party LitigationCreditor Trust in accordance with the Plan and the Excluded Party
LitigationCreditor Trust Agreement. Such transfers shall be exempt from any stamp, real estate transfer,
mortgage reporting, sales, use, or other similar tax. The Excluded Party LitigationCreditor Trust shall be
governed by the Excluded Party LitigationCreditor Trust Agreement and administered by the Excluded
Party LitigationCreditor Trustee.

         To effectively investigate, defend or pursue Causes of Action, the Debtors, Reorganized Debtors,
the Excluded Party Litigation Trust, and the Excluded Party Litigation Trustee and all counsel thereto,
must be able to exchange information with each other on a confidential basis and cooperate in common
interest efforts without waiving any applicable privilege. Sharing such information shall not waive or limit
any applicable privilege related to such information. To the extent necessary to the performance of the
Excluded Party LitigationCreditor Trustee’s duties and responsibilities, and subject to the Excluded Party
LitigationCreditor Trust Agreement, the Debtors or Reorganized Debtors, as applicable, shall share with
the Excluded Party LitigationCreditor Trustee communications or documents that are subject to the
attorney-client privilege, work product protection, or other applicable privilege; the sharing of such
information shall not operate as a waiver of any applicable privileges. The parties shall agree on how to
document the sharing of the attorney-client privilege such that the privilege is preserved, and in the
absence of an agreement the Bankruptcy Court shall decide as set forth in the Confirmation Order or any
other order(s).

B.      Purpose of the Excluded Party LitigationCreditor Trust.

         The Excluded Party LitigationCreditor Trust shall be established for the purpose of liquidating the
Excluded Party LitigationCreditor Trust Assets, and distributing the proceeds of the Excluded Party
LitigationCreditor Trust Assets to the Excluded Party LitigationCreditor Trust Beneficiaries in accordance
with the terms of the Plan and the Excluded Party LitigationCreditor Trust Agreement. [The Excluded
Party LitigationCreditor Trust is intended to qualify as a liquidating trust pursuant to Treasury
Regulations section 301.7701-4(d), with no objective to continue or engage in the conduct of a trade or

                                                   52
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 58 of 92



business, except to the extent reasonably necessary and consistent with, the purpose of the Excluded Party
LitigationCreditor Trust.]

C.      Excluded Party LitigationCreditor Trust Agreement and Funding the Excluded Party
        LitigationCreditor Trust.

         The Excluded Party LitigationCreditor Trust Agreement generally will provide for, among other
things: (a) the payment of the Excluded Party LitigationCreditor Trust Expenses; (b) the retention of
counsel, accountants, financial advisors, or other professionals and the payment of their reasonable
compensation; (c) the investment of Cash by the Excluded Party LitigationCreditor Trustee within certain
limitations, including those specified in the Plan and Excluded Party LitigationCreditor Trust Agreement;
and (d) the orderly liquidation of the Excluded Party LitigationCreditor Trust Assets.

         The Excluded Party LitigationCreditor Trust Expenses shall be paid from the Excluded Party
LitigationCreditor Trust Assets in accordance with the Plan and the Excluded Party LitigationCreditor
Trust Agreement. The Excluded Party LitigationCreditor Trustee, on behalf of the Excluded Party
LitigationCreditor Trust, may employ, without further order of the Bankruptcy Court, professionals to
assist in carrying out its duties hereunder and may compensate and reimburse the reasonable expenses of
these professionals without further order of the Bankruptcy Court from the Excluded Party
LitigationCreditor Trust Assets in accordance with the Plan and the Excluded Party LitigationCreditor
Trust Agreement.

D.      [Valuation of Assets.

         As soon as reasonably practicable following the establishment of the Excluded Party
LitigationCreditor Trust, the Excluded Party LitigationCreditor Trustee shall determine the value of the
assets transferred to the Excluded Party LitigationCreditor Trust, based on the good faith determination of
the Excluded Party LitigationCreditor Trustee, and the Excluded Party LitigationCreditor Trustee shall
apprise, in writing, the Excluded Party LitigationCreditor Trust Beneficiaries of such valuation, from time
to time as relevant for tax reporting purposes. The valuation shall be used consistently by all parties
(including, without limitation, the Debtors, the Excluded Party LitigationCreditor Trust, the Excluded
Party LitigationCreditor Trustee, and the Excluded Party LitigationCreditor Trust Beneficiaries) for all
applicable U.S. federal, state, and local income tax purposes.

         In connection with the preparation of the valuation contemplated by the Plan and the Excluded
Party LitigationCreditor Trust Agreement, the Excluded Party LitigationCreditor Trust shall be entitled to
retain such professionals and advisors as the Excluded Party LitigationCreditor Trust shall determine to be
appropriate or necessary, and the Excluded Party LitigationCreditor Trustee shall take such other actions
in connection therewith as it determines to be appropriate or necessary. The Excluded Party
LitigationCreditor Trust shall bear all of the reasonable costs and expenses incurred in connection with
determining such value, including the fees and expenses of any professionals retained in connection
therewith.]

E.      Excluded Party LitigationCreditor Trustee.

        The Excluded Party LitigationCreditor Trustee shall be appointed on the Effective Date. The
Excluded Party LitigationCreditor Trustee shall be a professional person or a financial institution having
trust powers with experience administering other creditor trusts, and unless the Creditors’ Committee
joins the Plan Support Agreement, shall be selected by the Debtors’ Independent Director, M. Freddie



                                                  53
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 59 of 92



Reiss, and shall be reasonably acceptable to the DIP Lender and the Foris Prepetition Secured
PartiesCreditors’ Committee and the Ad Hoc Group.

F.      Excluded Party LitigationCreditor Trust Interests.

         Excluded Party LitigationCreditor Trust Interests shall be passive and shall not have voting,
consent, or other shareholder-like control rights with respect to the Excluded Party LitigationCreditor
Trust. The Excluded Party LitigationCreditor Trust Interests shall be uncertificated and shall be reflected
only on the records of the Excluded Party LitigationCreditor Trustee. The Excluded Party
LitigationCreditor Trust Interests shall be non-transferable other than if transferred by will, intestate
succession, or otherwise by operation of Law.

G.      Cooperation of the Reorganized Debtors.

         Subject to Article V.A, the Excluded Party LitigationCreditor Trust Agreement shall provide for
the Reorganized Debtors’ records and information relating to the Excluded Party LitigationCreditor Trust
Assets or copies thereof to be, to the extent reasonably practicable, transferred to the Excluded Party
LitigationCreditor Trust, including electronic records or documents, to the extent (a) necessary to
liquidate the Excluded Party LitigationCreditor Trust Assets and (b) consistent with applicable Law, but
shall further provide that any records or information so shared shall continue to be protected by the
attorney-client, work product, or common interest privileges. The transfer of such records and documents
to the Excluded Party LitigationCreditor Trust shall not waive any applicable privileges (or similar
protections) to which such documents, records, information, and work product may have been subject
before such transfer to the Excluded Party LitigationCreditor Trust.

         Except as otherwise provided in the Plan, the Confirmation Order, or the Excluded Party
LitigationCreditor Trust Agreement, and subject to Article V.A, the Reorganized Debtors, upon
reasonable notice, shall reasonably cooperate with the Excluded Party LitigationCreditor Trustee in the
administration of the Excluded Party LitigationCreditor Trust, including by providing reasonable access to
pertinent documents, including books and records, to the extent the Reorganized Debtors have such
information and/or documents, to the Excluded Party LitigationCreditor Trustee sufficient to enable the
Excluded Party LitigationCreditor Trustee to perform its duties hereunder. The Reorganized Debtors shall
reasonably cooperate with the Excluded Party LitigationCreditor Trustee in the administration of the
Excluded Party LitigationCreditor Trust, including by providing reasonable access to documents and
current officers and directors with respect to contesting, settling, compromising, reconciling, and
objecting to General Unsecured Claims (at the expense of the Creditor Trust as set forth in the Creditor Trust
Agreement). The Reorganized Debtors shall make reasonable best efforts to retain and transfer all
documents relating to the Creditor Trust Assets to the Creditor Trust; provided that, in each case, the
Excluded Party LitigationCreditor Trust agrees upon request to reimburse reasonable and documented
out-of-pocket expenses for preservation of documents, copying, or similar expenses. The collection,
review, and preservation of documents for any investigation or litigation by the Excluded Party
LitigationCreditor Trustee shall be at the expense of the Excluded Party LitigationCreditor Trust.

H.      [United States Federal Income Tax Treatment of the Excluded Party LitigationCreditor Trust.

         For all United States federal income tax purposes, all parties shall treat the transfer of the
Excluded Party LitigationCreditor Trust Assets to the Excluded Party LitigationCreditor Trust for the
benefit of the Excluded Party LitigationCreditor Trust Beneficiaries, whether their Claims are Allowed on
or after the Effective Date, including any amounts or other assets subsequently transferred to the Excluded
Party LitigationCreditor Trust (but only at such time as actually transferred) as (a) a transfer of the
Excluded Party LitigationCreditor Trust Assets (subject to any obligations relating to such Excluded Party

                                                    54
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 60 of 92



LitigationCreditor Trust Assets) to the Excluded Party LitigationCreditor Trust Beneficiaries and, to the
extent the Excluded Party LitigationCreditor Trust Assets are allocable to disputed Direct Claims that are
the responsibility of the Excluded Party Litigation Trust to resolve, to the LT, or retained on account of,
any Disputed Claims (the “Trust Claims Reserve”), followed by (b) the transfer by the Excluded Party
LitigationCreditor Trust Beneficiaries to the Excluded Party LitigationCreditor Trust of the Excluded
Party LitigationCreditor Trust Assets (other than the Excluded Party Litigation Trust Assets allocable to
the LT DisputedTrust Claims Reserve) in exchange for the Excluded Party LitigationCreditor Trust
Interests. Accordingly, the Excluded Party LitigationCreditor Trust Beneficiaries shall be treated for U.S.
federal income tax purposes as the grantors and owners of their respective share of the Excluded Party
LitigationCreditor Trust Assets (other than such Excluded Party Litigation Trust Assets as are allocable to
the LT DisputedTrust Claims Reserve). The foregoing treatment shall also apply, to the extent permitted
by applicable Law, for applicable U.S. state and local income tax purposes.

         Subject to contrary definitive guidance from the IRS (as determined by the Excluded Party
LitigationCreditor Trustee in its reasonable discretion) (including the receipt by the Excluded Party
LitigationCreditor Trustee of a private letter ruling if the Excluded Party LitigationCreditor Trustee so
requests, or the receipt of an adverse determination by the IRS upon audit if not contested by the Excluded
Party LitigationCreditor Trustee) or a court of competent jurisdiction, the Excluded Party
LitigationCreditor Trustee may (a) timely elect to treat the LT DisputedTrust Claims Reserve as a
“disputed ownership fund” governed by Treasury Regulation section 1.468B-9 and (b) to the extent
permitted by applicable Law, report consistently with the foregoing for applicable U.S. state and local
income tax purposes. All parties (including, without limitation, the Debtors, the Excluded Party
LitigationCreditor Trust, the Excluded Party LitigationCreditor Trustee, and the Excluded Party
LitigationCreditor Trust Beneficiaries) shall report for U.S. federal and applicable U.S. state and local
income tax purposes consistently with the foregoing.]

I.      Withholding

         The Excluded Party LitigationCreditor Trustee may deduct and withhold and pay to the
appropriate taxing authority all amounts required to be deducted or withheld pursuant to the Tax Code or
any provision of any state, local, or non-U.S. tax Law with respect to any Excluded Party
LitigationCreditor Trust Beneficiaries, including with respect to any payment or distribution to the
Excluded Party LitigationCreditor Trust Beneficiaries, any amounts received by, collections of, or
earnings of the Excluded Party LitigationCreditor Trust and any proceeds from the Excluded Party
LitigationCreditor Trust Assets. Notwithstanding the above, each Holder of an Allowed Claim that is to
receive a distribution under the Plan shall have the sole and exclusive responsibility for the satisfaction
and payment of any taxes imposed on such Holder by any governmental authority, including income,
withholding and other tax obligations, on account of such distribution or with respect to its ownership of
the Excluded Party LitigationCreditor Trust Interests. All such amounts deducted or withheld and timely
paid to the appropriate taxing authority shall be treated as amounts distributed to such Excluded Party
LitigationCreditor Trust Beneficiaries for all purposes of this Agreement, to the extent permitted by
applicable Law. The Excluded Party LitigationCreditor Trustee shall be authorized to collect such tax
information from the Excluded Party LitigationCreditor Trust Beneficiaries (including social security
numbers or other tax identification numbers) as it, in its sole discretion, deems necessary to effectuate the
Plan, the Confirmation Order, and the Excluded Party LitigationCreditor Trust Agreement and to
determine whether any deduction or withholding applies with respect to a payment to such Excluded Party
LitigationCreditor Trust Beneficiary and the amount of such deduction or withholding.

        As a condition to receiving, or being entitled to receive, distributions under the Plan or from the
Excluded Party LitigationCreditor Trust, all Excluded Party LitigationCreditor Trust Beneficiaries may be
required to identify themselves to the Excluded Party LitigationCreditor Trustee and provide tax

                                                   55
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 61 of 92



information and the specifics of their holdings, to the extent requested by the Excluded Party
LitigationCreditor Trustee, including an IRS Form W-9 or, in the case of Excluded Party
LitigationCreditor Trust Beneficiaries that are not U.S. persons for U.S. federal income tax purposes,
certification of foreign status on an applicable IRS Form W-8, including all applicable supporting
documents. This identification requirement may, in certain cases, extend to Holders who hold their
securities in street name. The Excluded Party LitigationCreditor Trustee may refuse to make a
distribution to any Excluded Party LitigationCreditor Trust Beneficiary that fails to furnish such
information in a timely fashion, until (at a minimum) such information is delivered; provided, however,
that upon the delivery of such information by a Excluded Party LitigationCreditor Trust Beneficiary, the
Excluded Party LitigationCreditor Trustee shall make such distribution to which the Excluded Party
LitigationCreditor Trust Beneficiary is entitled, without interest; provided, further, that if the Excluded
Party LitigationCreditor Trustee fails to withhold in respect of amounts received or distributable with
respect to any such Holder and the Excluded Party LitigationCreditor Trustee is later held liable for the
amount of such withholding, such Holder shall reimburse the Excluded Party LitigationCreditor Trustee
for such liability. If a Excluded Party LitigationCreditor Trust Beneficiary fails to comply with such a
request for tax information within ninety days, the Excluded Party LitigationCreditor Trustee may file a
document with the Bankruptcy Court that will provide twenty- one days’ notice before such distribution
may be deemed an Unclaimed Distribution, and shall not be entitled to any subsequent distributions. In
the event that the Excluded Party LitigationCreditor Trustee elects to make distributions through an
intermediary (such as DTC), the party who would be the withholding agent with respect to distributions to
the Excluded Party LitigationCreditor Trust Beneficiary under U.S. federal income tax principles shall be
responsible for withholding tax compliance with respect to any such distribution, based on instructions on
the character of the income from the Excluded Party LitigationCreditor Trustee.

J.      Dissolution of the Excluded Party LitigationCreditor Trust.

         The Excluded Party LitigationCreditor Trustee and the Excluded Party LitigationCreditor Trust
shall be discharged or dissolved, as the case may be, at such time as (a) the Excluded Party
LitigationCreditor Trustee determines that all Excluded Party LitigationCreditor Trust Assets have been
liquidated or otherwise disposed of, or the liquidation or other disposition of any remaining Excluded
Party LitigationCreditor Trust Assets is not likely to yield sufficient additional proceeds to justify further
actions with respect to the Excluded Party LitigationCreditor Trust Assets and (b) all distributions of
Excluded Party LitigationCreditor Trust Assets required to be made by the Excluded Party
LitigationCreditor Trustee have been made[, but in no event shall the Excluded Party LitigationCreditor
Trust be dissolved later than five years from the Effective Date unless the Bankruptcy Court, upon motion
made within the six-month period before such fifth anniversary (and, in the event of further extension,
within the six-month period before the end of the preceding extension), determines that a fixed-period
extension (not to exceed three years, together with any prior extensions, without a favorable letter ruling
from the IRS or based on advice or an opinion of counsel satisfactory to Excluded Party LitigationCreditor
Trustee that any further extension would not adversely affect the status of the Excluded Party
LitigationCreditor Trust as a liquidating trust for U.S. federal income tax purposes) is necessary to
facilitate or complete the recovery on, and liquidation of, the Excluded Party LitigationCreditor Trust
Assets].

         Upon dissolution of the Excluded Party LitigationCreditor Trust, any remaining Excluded Party
LitigationCreditor Trust Assets shall be distributed to all Excluded Party LitigationCreditor Trust
Beneficiaries in accordance with the Plan and the Excluded Party LitigationCreditor Trust Agreement as
appropriate; provided, however, that if the Excluded Party LitigationCreditor Trustee reasonably
determines that such remaining Excluded Party LitigationCreditor Trust Assets are insufficient to render a
further distribution practicable, the Excluded Party LitigationCreditor Trustee may (i) reserve any amount
necessary to dissolve the Excluded Party LitigationCreditor Trust, (ii) donate any balance to a charitable

                                                    56
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 62 of 92



organization (A) described in section 501(c)(3) of the Tax Code, (B) exempt from U.S. federal income tax
under section 501(a) of the Tax Code, (C) not a “private foundation” as defined in section 509(a) of the
Tax Code, and (D) that is unrelated to the Debtors, the Excluded Party LitigationCreditor Trust, and any
insider of the Excluded Party LitigationCreditor Trustee, and (iii) dissolve the Excluded Party
LitigationCreditor Trust.

K.      [Tax Reporting.

         The Excluded Party LitigationCreditor Trust has been structured to qualify as a “liquidating trust”
under section 301.7701-4301.7701-4 of the Treasury Regulations (other than with respect to the LT
DisputedTrust Claims Reserve), with the Excluded Party LitigationCreditor Trust Beneficiaries treated as
the grantors and owners of the Excluded Party LitigationCreditor Trust. The “taxable year” of the
Excluded Party LitigationCreditor Trust shall be the “calendar year” as such terms are defined in section
441 of the Tax Code. The Excluded Party LitigationCreditor Trustee shall file tax returns for the
Excluded Party LitigationCreditor Trust treating the Excluded Party LitigationCreditor Trust as a grantor
trust pursuant to Treasury Regulations section 1.671-4(a) to the extent permitted by applicable Law,
subject to the treatment of the LT DisputedTrust Claims Reserve. The Excluded Party LitigationCreditor
Trustee shall also annually send or make available to each Excluded Party LitigationCreditor Trust
Beneficiary of record, in accordance with applicable Law, a separate statement setting forth such holder’s
share of items of income, gain, loss, deduction or credit (including the receipts and expenditures of the
Excluded Party LitigationCreditor Trust) as relevant for U.S. federal income tax purposes and will instruct
all such Excluded Party LitigationCreditor Trust Beneficiaries to use such information in preparing their
U.S. federal income tax returns (including, for the avoidance of doubt, with respect to withholding tax) or
to forward the appropriate information to such Excluded Party LitigationCreditor Trust Beneficiary’s
underlying beneficial holders with instructions to utilize such information in preparing their U.S. federal
income tax returns; provided that if the Excluded Party LitigationCreditor Trustee elects to make
distributions through an intermediary (such as DTC), it shall provide such statement to such
intermediaries for them to provide to such Excluded Party LitigationCreditor Trust Beneficiaries.]

       The Excluded Party LitigationCreditor Trustee also shall file (or cause to be filed) any other
statements, returns, or disclosures relating to the Excluded Party LitigationCreditor Trust that are required
by any Governmental Unit.

         The Excluded Party LitigationCreditor Trustee shall be responsible for payment, out of the
Excluded Party LitigationCreditor Trust Assets, of any taxes imposed on the Excluded Party
LitigationCreditor Trust or the Excluded Party LitigationCreditor Trust Assets, including the LT
DisputedTrust Claims Reserve. In the event, and to the extent, any Cash retained on account of a
Disputed Claim in the LT DisputedTrust Claims Reserve is insufficient to pay the portion of any such
taxes attributable to the taxable income arising from the assets allocable to, or retained on account of, such
Disputed Claims, the Excluded Party LitigationCreditor Trustee may, in its discretion, (a) sell any
non-Cash assets relating to such Claim (including any assets distributable as a result of disallowance of
such Claim) to pay such taxes or (b) reimburse the Excluded Party LitigationCreditor Trust for the
payment of such taxes from any subsequent Cash amounts allocable to, or retained on account of, such
taxes from any subsequent Cash amounts allocable to, or retained on account of, such Disputed Claim
(including any Cash distributable as a result of disallowance of such Claims).

        The Excluded Party LitigationCreditor Trustee may request an expedited determination of taxes of
the Excluded Party LitigationCreditor Trust, including the LT DisputedTrust Claims Reserve, under
section 505(b) of the Bankruptcy Code, for all tax returns filed for, or on behalf of, the Excluded Party



                                                    57
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 63 of 92



LitigationCreditor Trust for all taxable periods through the dissolution of the Excluded Party
LitigationCreditor Trust.

L.      Transferred Privileges.

         Subject to Article V.A in all events, in respect of privileges (if any) transferred to the Excluded
Party LitigationCreditor Trust under the Excluded Party LitigationCreditor Trust Agreement (the
“Transferred Privileges”), the Excluded Party LitigationCreditor Trust Agreement shall contain terms
substantially reflecting the following: subject to Article V.A, the Excluded Party LitigationCreditor Trust
may not waive any Transferred Privileges in respect of records, documents, or information related to the
Excluded Party LitigationCreditor Trust Assets without first providing to the Reorganized Debtors
reasonable advance written notice and an opportunity to protect their respective rights with respect to any
subsequent disclosure and the terms of any protective order, confidentiality stipulation, or similar
agreement relating to such disclosure. The Reorganized Debtors may not make disclosure in a manner
that could effectuate a waiver of any Transferred Privileges in respect of records, documents, or
information related to the Excluded Party LitigationCreditor Trust Assets without first providing to the
Excluded Party LitigationCreditor Trustee reasonable advance written notice (in no event less than five
Business Days) and an opportunity to protect the Excluded Party LitigationCreditor Trust’s rights with
respect to any subsequent disclosure and the terms of any protective order, confidentiality stipulation, or
similar agreement relating to such disclosure. If the Excluded Party LitigationCreditor Trustee or the
Reorganized Debtors object to an action proposed to be taken by the other with regard to records,
documents, or information related to the Excluded Party LitigationCreditor Trust Assets that are covered
by the Transferred Privilege (or a disclosure that would result in a waiver), the parties shall be permitted
to raise the issue promptly with the Bankruptcy Court. The party providing advance written notice may
take its proposed action unless the Bankruptcy Court determines that (a) such action would cause material
adverse harm to the other party, or (b) the harm to the objecting party would substantially outweigh the
benefit to the party seeking to take the proposed action. The objecting party shall bear the burden of
proof. Each of the parties shall bear its own costs and expenses, including attorneys’ fees, incurred in
connection with such dispute.

                                  ARTICLE VI.
            TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired
Leases not otherwise assumed or rejected will be deemed rejected by the applicable Reorganized Debtor
in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code,
other than those that: (a) are identified on the Schedule of Assumed Executory Contracts and Unexpired
Leases; (b) have previously expired or terminated pursuant to their own terms or agreement of the parties
thereto; (c) have been previously assumed or rejected by the Debtors pursuant to a Final Order; or (d) are,
as of the Effective Date, the subject of (i) a motion to assume that is pending or (ii) an order of the
Bankruptcy Court that is not yet a Final Order.

         Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases
as set forth in the Plan, or the Schedule of Assumed Executory Contracts and Unexpired Leases or the
Schedule of Proposed Cure Amounts, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.
Except as otherwise specifically set forth herein, assumptions or rejections of Executory Contracts and
Unexpired Leases pursuant to the Plan are effective as of the Effective Date. Notwithstanding anything
herein to the contrary, the effective date of the rejection of any such Unexpired Lease shall be the later of

                                                   58
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 64 of 92



(i) the Effective Date and (ii) the date upon which the Debtors notify the landlord in writing (e-mail being
sufficient) that they have surrendered the premises to the landlord and returned the keys, key codes, or
security codes, as applicable. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan
or by Bankruptcy Court order but not assigned to a third party before the Effective Date shall revest in and
be fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms,
including in accordance with any amendments executed by the Debtors and the counterparties to the
applicable Executory Contract or Unexpired Lease during these Chapter 11 Cases and effective upon
assumption by the Debtors, except as such terms may have been modified by the provisions of the Plan or
any order of the Bankruptcy Court authorizing and providing for its assumption. Any motions to assume
Executory Contracts or Unexpired Leases pending on the Confirmation Date shall be subject to approval
by a Final Order on or after the Confirmation Date in accordance with any applicable terms herein, unless
otherwise settled by the applicable Debtors and counterparties.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty,
each assumed Executory Contract or Unexpired Lease shall include all modifications, amendments,
supplements, restatements, or other agreements related thereto, and all rights related thereto, if any,
including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal,
and any other interests. Modifications, amendments, supplements, and restatements to prepetition
Executory Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or
the validity, priority, or amount of any Claims that may arise in connection therewith.

          To the maximum extent permitted by Law, the transactions contemplated by the Plan shall not
constitute a “change of control” or “assignment” (or terms with similar effect) under any Executory
Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan, or any other
transaction, event, or matter that would (A) result in a violation, breach or default under such Executory
Contract or Unexpired Lease, (B) increase, accelerate or otherwise alter any obligations, rights or
liabilities of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease,
or (C) result in the creation or imposition of a Lien upon any property or asset of the Debtors or the
Reorganized Debtors pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or
advance notice required under such Executory Contract or Unexpired Lease shall be deemed satisfied by
Confirmation.

        Notwithstanding anything to the contrary in the Plan, after the Confirmation Date, an Executory
Contract or Unexpired Lease on the Schedule of Assumed Contracts and Unexpired Leases as of the
Confirmation Date may not be assumed by the applicable Debtor(s) unless the applicable lessor or
contract counterparty has (x) consented to such assumption, (y) objected to the rejection of such
Executory Contract or Unexpired Lease on the grounds that such Executory Contract or Unexpired Lease
should not be rejected and should instead be assumed (and such objection remains outstanding), or (z), in
the case of Unexpired Leases, consented to an extension of the time period in which the applicable
Debtor(s) must assume or reject such Unexpired Lease pursuant to section 365(d)(4) of the Bankruptcy
Code (as extended with the applicable lessor’s consent, the “Deferred Deadline”), in which case for
purposes of clause (z) the applicable Debtor(s) shall have until the Deferred Deadline to assume such
Unexpired Lease, subject to the applicable lessor’s right to object to such assumption, or such Unexpired
Lease shall be deemed rejected. For any Executory Contract or Unexpired Lease assumed pursuant to this
paragraph, all Cure amounts shall be paid on the Effective Date or as soon as reasonably practicable
thereafter, unless subject to a dispute with respect to Cure cost, such dispute shall be addressed in
accordance with Article VI.D.

        To the extent any provision of the Bankruptcy Code or the Bankruptcy Rules require the Debtors
to assume or reject an Executory Contract or Unexpired Lease by a deadline, including section 365(d) of

                                                   59
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 65 of 92



the Bankruptcy Code, such requirement shall be satisfied if the Debtors make an election, either through
the Filing of a motion or identification in the Plan Supplement, to assume or reject such Executory
Contract or Unexpired Lease prior to the applicable deadline, regardless of whether or not the Bankruptcy
Court has actually ruled on such proposed assumption or rejection prior to such deadline.

B.      Indemnification Obligations.

         All indemnification provisions, consistent with applicable Law, in place as of the Effective Date
(whether in the bylaws, certificates of incorporation or formation, limited liability company agreements,
other organizational documents, board resolutions, indemnification agreements, employment contracts, or
otherwise) for current directors, officers, managers, employees, attorneys, accountants, investment
bankers, and other professionals of the Debtors, as applicable, other than with respect to any Excluded
Party, shall be Reinstated and remain intact, irrevocable, and shall survive the effectiveness of the Plan on
the same terms that existed prior to the Effective Date; provided that nothing herein shall expand any of
the Debtors’ indemnification obligations in place as of the Petition Date.

        Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to
have assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the
Bankruptcy Code effective as of the Effective Date. Entry of the Confirmation Order will constitute the
Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each of the unexpired
D&O Liability Insurance Policies. Notwithstanding anything to the contrary contained in the Plan,
Confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity obligations
assumed by the foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity
obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors
under the Plan as to which no Proof of Claim need be Filed.

        In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise
reduce the coverage under any D&O Liability Insurance Policies in effect on or after the Petition Date,
with respect to conduct occurring prior thereto, and all directors, managers, and officers of the Debtors
who served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits of
any such policy for the full term of such policy, to the extent set forth therein, regardless of whether such
directors, managers, and officers remain in such positions after the Effective Date.

C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases.

        Entry of the Confirmation Order shall constitute a Bankruptcy Court Order approving the
rejections, if any, of any Executory Contracts or Unexpired Leases on not on the Schedule of
RejectedAssumed Executory Contracts and Unexpired Leases. Any objection to the rejection of an
Executory Contract or Unexpired Lease under the Plan must be Filed with the Bankruptcy Court on or
before fourteen days after the service of notice of rejection on the affected counterparty. Unless otherwise
provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to Claims arising
from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the Confirmation
Order, if any, must be Filed with the Bankruptcy Court within thirty days after the later of (a) the date of
entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection
and (b) the effective date of such rejection. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against the
Debtors or the Reorganized Debtors, the Estates, the Excluded Party LitigationCreditor Trust, or
their property without the need for any objection by the Reorganized Debtors or further notice to,
or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising
out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,

                                                   60
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 66 of 92



released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. For the
avoidance of doubt, unless otherwise agreed, any property remaining on the premises subject to a rejected
Unexpired Lease shall be deemed abandoned by the Debtors or the Reorganized Debtors, as applicable, as
of the effective date of the rejection, and the counterparty to such Unexpired Lease shall be authorized to
(i) use or dispose of any property left on the premises in its sole and absolute discretion without notice or
liability to the Debtors or the Reorganized Debtors, as applicable, or any third party, and (ii) shall be
authorized to assert a Claim for any and all damages arising from the abandonment of such property by
filing a Claim in accordance with this Article VI.C.

D.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         On the Effective Date or as soon as reasonably practicable thereafter, the Debtors or the
Reorganized Debtors, as applicable, shall, in accordance with the Schedule of Proposed Cure Amounts,
pay all Cure costs relating to Executory Contracts and Unexpired Leases that are being assumed under the
Plan. Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or
Unexpired Lease, all objections to any Cures set forth in the Schedule of Proposed Cure Amounts must be
Filed with the Bankruptcy Court on or before [__14] days after the service of the Schedule of Proposed
Cure Amounts on affected counterparties. Any such request that is not timely Filed shall be disallowed
and forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any Debtor
or Reorganized Debtor, without the need for any objection by the Debtors or the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court.
Any Cure costs shall be deemed fully satisfied, released, and discharged upon payment by the Debtors or
the Reorganized Debtors of the applicable Cure costs; provided, however, that nothing herein shall
prevent the Reorganized Debtors from paying any Cure costs despite the failure of the relevant
counterparty to file such request for payment of such Cure costs. The Reorganized Debtors also may
settle any disputes related to Cure costs without any further notice to or action, order, or approval of the
Bankruptcy Court. In addition, any objection to the assumption of an Executory Contract or Unexpired
Lease under the Plan must be Filed with the Bankruptcy Court on or before [___14] days after the service
of notice of assumption on affected counterparties. Any such objection will be scheduled to be heard by
the Bankruptcy Court at the Confirmation Hearing or at the Debtors’ or the Reorganized Debtors’, as
applicable, first scheduled omnibus hearing for which such objection is timely Filed, unless otherwise
agreed to by the parties or ordered by the Bankruptcy Court. Any counterparty to an Executory Contract
or Unexpired Lease that fails to timely object to the proposed assumption or assumption and assignment,
as applicable, of any Executory Contract or Unexpired Lease will be deemed to have consented to such
assumption or assumption and assignment.

        If there is any dispute regarding any Cure costs, the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
Bankruptcy Code, or any other matter pertaining to assumption or assumption and assignment, then
payment of any Cure costs shall occur as soon as reasonably practicable after (a) entry of a Final Order
resolving such dispute, approving such assumption (and, if applicable, assignment) or (b) as may be
agreed upon by the Debtors or the Reorganized Debtors, as applicable, and the counterparty to the
Executory Contract or Unexpired Lease.

        If the Bankruptcy Court determines that the Allowed Cure cost with respect to any Executory
Contract or Unexpired Lease is greater than the amount set forth in the Schedule of Proposed Cure
Amounts (such greater amount, the “Court-Ordered Cure Cost”), the Debtors shall have the right to (a)
pay the Court-Ordered Cure Cost as soon as reasonably practicable thereafter and assume such Executory
Contract or Unexpired Lease in accordance with the terms herein or (b) addremove such Executory
Contract or Unexpired Lease tofrom the Schedule of RejectedAssumed Executory Contracts and
Unexpired Leases, in which case such Executory Contract or Unexpired Lease will be deemed rejected on

                                                   61
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23      Page 67 of 92



the date of entry of the Court-Ordered Cure Cost and in the case of an Unexpired Lease, the Debtors shall,
pursuant to section 365(d)(4) of the Bankruptcy Code, immediately surrender the related premises to the
lessor unless otherwise agreed with the applicable lessor, subject to the applicable counterparty’s right to
object to such rejection; provided that, after the deadline to assume an Executory Contract or Unexpired
Lease set forth in section 365(d) of the Bankruptcy Code, an Executory Contract or Unexpired Lease may
only be added toremoved from the Schedule of RejectedAssumed Executory Contracts and Unexpired
Leases if (i) the applicable counterparty consents to such rejection, (ii) the applicable counterparty
objected to the assumption or Cure of such Executory Contract or Unexpired Lease on the grounds that
such Executory Contract or Unexpired Lease should not be assumed and should instead be rejected,
including alleging an incurable default (and such objection remains outstanding), or (iii) the
Court-Ordered Cure Cost is greater than the amount set forth in the Schedule of Proposed Cure Amounts,
as set forth at the beginning of this paragraph. Notwithstanding anything to the contrary herein, the
Reorganized Debtors and the applicable counterparty shall be entitled to the full benefits of the Executory
Contract or Unexpired Lease (including without limitation, any license thereunder) pending the resolution
of any Cure dispute.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
result in the full release and satisfaction of any Cures, Claims, or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or any bankruptcy-related defaults, arising at any time prior to the effective date of
assumption, upon the payment of all applicable Cures. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, shall be deemed disallowed and expunged as of the
later of (i) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such assumption, (ii) the effective date of such assumption, or (iii) the Effective
Date without the need for any objection thereto or any further notice to or action, order, or
approval of the Bankruptcy Court; provided, however, that nothing herein shall affect the allowance
of Claims or any Cure agreed to by the Debtors in any written agreement amending or modifying
any Executory Contract or Unexpired Lease prior to assumption pursuant to the Plan or otherwise.

E.      Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
not constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as
applicable, under such Executory Contracts or Unexpired Leases.

F.      Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating
thereto, are treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the
Effective Date, (a) the Debtors shall be deemed to have assumed all insurance policies and any
agreements, documents, and instruments relating to coverage of all insured Claims and (b) such insurance
policies and any agreements, documents, or instruments relating thereto shall revest in the Reorganized
Debtors.

G.      Reservation of Rights.

        Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the
Debtors or any other party that any contract or lease is in fact an Executory Contract or Unexpired Lease
or that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of assumption or rejection, the Debtors or

                                                   62
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3     Filed 12/06/23       Page 68 of 92



the Reorganized Debtors, as applicable, shall have forty-five days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.

H.      Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

                                          ARTICLE VII.
                             PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distributions on Account of Claims or Interests Allowed as of the Effective Date.

         Unless otherwise provided in the Plan, on or as soon as reasonably practicable after the Effective
Date (or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes
an Allowed Claim, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim
shall receive the full amount of the distributions that the Plan provides for Allowed Claims in the
applicable Class. In the event that any payment or act under the Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims, distributions on account of any such
Disputed Claims shall be made pursuant to the provisions set forth in Article VIII hereof. Except as
otherwise provided in the Plan, Holders of Claims shall not be entitled to interest, dividends, or accruals
on the distributions provided for in the Plan, regardless of whether such distributions are delivered on or
at any time after the Effective Date.

        Notwithstanding the foregoing, (a) Allowed Administrative Claims with respect to liabilities
incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
Debtors prior to the Effective Date shall be paid or performed in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice and (b) Allowed Priority Tax Claims shall be paid in accordance with
Article II.D of the Plan. To the extent any Allowed Priority Tax Claim is not due and owing on the
Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
between the Debtors and the Holder of such Claim or as may be due and payable under applicable
non-bankruptcy Law or in the ordinary course of business. Thereafter, a Distribution Date shall occur no
less frequently than once in every 180-day period, as necessary, in the discretion of the Reorganized
Debtors. The timing of distribution(s) to Holders of Allowed General Unsecured Claims shall be
determined by the Plan Administrator in its sole discretion.

B.      Disbursing Agent.

        Except as otherwise set forth in this Article VII.B or the Plan Supplement, all distributions under
the Plan shall be made by the applicable Disbursing Agent. The Disbursing Agent shall not be required to
give any bond or surety or other security for the performance of its duties.

       The Disbursing Agent shall, among other things, implement, administer, and make distributions
on account of Allowed Claims, including:




                                                  63
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
                 Case 23-11131-TMH          Doc 826-3      Filed 12/06/23       Page 69 of 92




                 Making distributions as provided for in the Plan on account of unclassified Allowed
                  Claims and on account of Allowed Claims in Classes 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13
                  and 14 to the extent applicable.

                 Making distributions of the Estate Claims Settlement Amount to Holders of Allowed
                  Claims in Class 7 and Class 8;

                 Making distributions of the Third-Party Release Settlement Amount to Holders of Claims
                  and Interests who are bound by the Third-Party Release Settlement Agreement; and

                 Making all other distributions from the Unsecured Claims Reserve as provided for in the
                  Plan.

         Notwithstanding any provision in the Plan to the contrary, distributions to the Holders of
Convertible Notes Claims may be made to or at the direction of the Convertible Notes Trustee, which may
act as Disbursing Agent (or direct the Disbursing Agent) for distributions to the Holders of Convertible
Notes Claims in accordance with the Plan and the Convertible Notes Documents. The Convertible Notes
Trustee may transfer or direct the transfer of such distributions directly through the facilities of DTC
(whether by means of book-entry exchange, free delivery or otherwise) and will be entitled to recognize
and deal for all purposes under the Plan with the Holders of the Convertible Notes Claims to the extent
consistent with the customary practices of DTC; provided, that, under no circumstances will the
Convertible Notes Trustee be responsible for making or required to make any distribution under the Plan
to Holders of Convertible Notes Claims if such distribution is not eligible to be distributed through the
facilities of DTC. Notwithstanding anything to the contrary herein, such distributions shall be subject in
all respects to any rights of the Convertible Notes Trustee to assert charging liens against such
distributions.

C.      Rights and Powers of Disbursing Agent.

        1. Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d)
exercise such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court,
pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement the
provisions hereof.

        2. Expenses Incurred On or After the Effective Date.

       Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any
reasonable compensation and expense reimbursement Claims (including reasonable attorney fees and
expenses), made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors, Plan
Administrator, or the Excluded Party LitigationCreditor Trustee, as applicable.




                                                     64
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3      Filed 12/06/23       Page 70 of 92



D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

        1. Record Date for Distribution.

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible
for making distributions is and shall be authorized and entitled to recognize only those record Holders
listed on the Claims Register as of the close of business on the Distribution Record Date. Unless
otherwise provided in a Final Order from the Bankruptcy Court, if a Claim, other than one based on a
Security that is traded on a recognized securities exchange, is transferred twenty or fewer days before the
Distribution Record Date, the Disbursing Agent shall make distributions to the transferee only to the
extent practical and, in any event, only if the relevant transfer form contains an unconditional and explicit
certification and waiver of any objection to the transfer by the transferor.

        2. Delivery of Distributions in General.

         Except as otherwise provided herein or in the Plan Supplement, the Disbursing Agent shall make
distributions, including to Holders of Allowed Claims and Allowed Interests, as applicable, as of the
Distribution Record Date at the address for each such Persons as indicated on the Debtors’ records as of
the date of any such distribution; provided that the manner of such distributions shall be determined at the
discretion of the Reorganized Debtors or the Disbursing Agent, as applicable.

        3. Minimum Distributions.

         The Disbursing Agent shall not make any distributions, including to a Holder of an Allowed
Claim or Allowed Interest on account of such Allowed Claim or Allowed Interest of Cash, where such
distribution is valued, in the reasonable discretion of the applicable Disbursing Agent, at less than $250.
When any distribution pursuant to the Plan, as applicable, would otherwise result in the issuance of a
number of shares of the New Common Stock that is not a whole number, the actual distribution of shares
of the New Common Stock shall be rounded as follows: (a) fractions of one-half or greater shall be
rounded to the next higher whole number; and (b) fractions of less than one-half shall be rounded to the
next lower whole number with no further payment therefor. The total number of authorized shares of the
New Common Stock to be distributed under the Plan shall be adjusted as necessary to account for the
foregoing rounding. No fractional shares of the New Common Stock shall be distributed and no Cash
shall be distributed in lieu of such fractional amounts. Each distribution, including on account of a Claim
or Interest, to which these limitations apply shall be discharged pursuant to Article I. of the Plan and its
Holder shall be forever barred pursuant to Article IX of the Plan from asserting that Claim or Interest
against the Released Parties.

       Any amounts owed that are under $250 shall revest in the applicable Reorganized Debtor
automatically (and without need for a further order by the Bankruptcy Court).

        4. Undeliverable and Unclaimed Distributions.

        If any distribution is returned to the Disbursing Agent as undeliverable, no distribution shall be
made unless and until the Disbursing Agent is notified in writing of such Person’s then-current address or
other necessary information for delivery, at which time all currently due missed distributions shall be
made to such Person on the next Distribution Date without interest. UndeliverableExcept with respect to
the Third-Party Release Settlement Amounts as provided for herein, undeliverable distributions shall
remain in the possession of the Plan Administrator or the Creditor Trust, Reorganized Debtors or the
Unsecured Claims Reserve until such time as a distribution becomes deliverable, or such distribution reverts


                                                   65
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 71 of 92



to the Reorganized Debtors or is cancelled pursuant to this Article VII, and shall not be supplemented
with any interest, dividends, or other accruals of any kind.

        Any distribution under the Plan that is an Unclaimed Distribution or remains undeliverable for a
period of 180 days after distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and such Unclaimed Distribution or undeliverable distribution shall revest in the
Reorganized Debtor, as applicable, automatically (and without need for a further order by the Bankruptcy
Court, notwithstanding any applicable federal, provincial, or estate escheat, abandoned, or unclaimed
property Laws to the contrary) and, to the extent such Unclaimed Distribution is comprised of the New
Common Stock, such New Common Stock shall be cancelled. Upon such revesting, the Claim of the
Person or its successors with respect to such property shall be cancelled, released, discharged, and forever
barred notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property Laws, or
any provisions in any document governing the distribution that is an Unclaimed Distribution, to the
contrary. The Disbursing Agent shall adjust the distributions of the New Common Stock to reflect any
such cancellation.

        5. Surrender of Cancelled Instruments or Securities.

        On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate
or instrument evidencing a Claim or an Interest that has been cancelled in accordance with Article
IV.LKL hereof shall be deemed to have surrendered such certificate or instrument to the Disbursing
Agent. Such surrendered certificate or instrument shall be cancelled solely with respect to the Debtors,
and such cancellation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one
another with respect to such certificate or instrument, including with respect to any indenture or
agreement that governs the rights of the Holder of a Claim or Interest, which shall continue in effect for
purposes of allowing Holders to receive distributions under the Plan, charging liens, priority of payment,
and indemnification rights. Notwithstanding anything to the contrary herein, this paragraph shall not
apply to certificates or instruments evidencing Claims that are Unimpaired under the Plan.

E.      Manner of Payment.

        Except as otherwise provided in the Plan, the Plan Supplement, or any agreement, instrument, or
other document incorporated in the Plan or the Plan Supplement, all distributions of the New Common
Stock to the Holders of the applicable Allowed Claims or Allowed Interests, in each case if any, under the
Plan shall be made by the Disbursing Agent on behalf of the Debtors or the Reorganized Debtors, as
applicable.

         All distributions of Cash, including to the Holders of the applicable Allowed Claims or Allowed
Interests, in each case if any, under the Plan shall be made by the Disbursing Agent on behalf of the
applicable Debtor or Reorganized Debtor.

        At the option of the applicable Disbursing Agent, any Cash payment to be made hereunder may be
made by check, Automated Clearing House, or wire transfer or as otherwise required or provided in
applicable agreements.

F.      Compliance with Tax Requirements.

        In connection with the Plan, to the extent applicable, the Debtors, the Reorganized Debtors, the
Disbursing Agent, and any applicable withholding agent shall comply with all tax withholding and
reporting requirements imposed on them by any Governmental Unit, and all distributions made pursuant
to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any

                                                   66
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 72 of 92



provision in the Plan to the contrary, such parties shall be authorized to take all actions necessary or
appropriate to comply with such withholding and reporting requirements, including liquidating a portion
of the distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate.

G.      Allocations.

        Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such
Claims (as determined for United States federal income tax purposes) and then, to the extent the
consideration exceeds the principal amount of the Claims, to any portion of such Claims for accrued but
unpaid interest.

H.      No Postpetition Interest on Claims.

         Unless otherwise specifically provided for in the DIP Orders, the Plan, or the Confirmation Order,
or required by applicable bankruptcy and non-bankruptcy Law, postpetition interest shall not accrue or be
paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest accruing on or after
the Petition Date on such Claim. Additionally, and without limiting the foregoing, interest shall not
accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a
final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes
an Allowed Claim.

I.      Preservation of Setoffs and Recoupment.

        Except as expressly provided in the Plan or the Plan Supplement, each Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action (other than
Avoidance Actions) that such Reorganized Debtor may hold against the Holder of such Allowed Claim to
the extent such setoff or recoupment is either (a) agreed in amount among the relevant Reorganized
Debtor(s) and the Holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Reorganized Debtor or their applicable successor of any and all claims, rights, and Causes of Action that
such Reorganized Debtor or their applicable successor may possess against the applicable Holder. In no
event shall any Holder of a Claim be entitled to recoup such Claim against any claim, right, or Cause of
Action of the Debtors, the Reorganized Debtors, unless such Holder actually has performed such
recoupment and provided notice thereof in writing to the Debtors in accordance with Article XIII.G hereof
on or before the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that
such Holder asserts, has, or intends to preserve any right of recoupment.

        Notwithstanding anything to the contrary herein, nothing in the Plan or the Confirmation Order
shall modify the rights, if any, of any counterparty to an Executory Contract or Unexpired Lease to assert
any right of setoff or recoupment that such party may have under applicable bankruptcy Law or
non-bankruptcy Law, including, but not limited to, the (i) ability, if any, of such parties to setoff or recoup
a security deposit held pursuant to the terms of their Unexpired Lease(s) with the Debtors, or any
successors to the Debtors, under the Plan, (ii) assertion of rights of setoff or recoupment, if any, in
connection with Claims reconciliation, or (iii) assertion of setoff or recoupment as a defense, if any, to any
Claim or action by the Debtors, the Reorganized Debtors, or any successors of the Debtors.



                                                    67
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3      Filed 12/06/23      Page 73 of 92



J.      Claims Paid or Payable by Third Parties.

        1. Claims Paid by Third Parties.

         The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such
Claim shall be disallowed without a Claim Objection having to be Filed and without any further notice to
or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives
payment in full on account of such Claim from a party that is not a Debtor or a Reorganized Debtor.
Subject to the last sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on
account of such Claim and receives payment from a party that is not a Debtor or a Reorganized Debtor on
account of such Claim, such Holder shall, within fourteen calendar days of receipt thereof, repay or return
the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total recovery on account
of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such Holder to timely repay or return such
distribution shall result in the Holder owing the applicable Reorganized Debtor annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the fourteen-day grace period
specified above until the amount is repaid.

        2. Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted
all remedies with respect to such insurance policy. To the extent that one or more of the Debtors’ insurers
agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent
jurisdiction), then immediately upon such insurers’ agreement, the applicable portion of such Claim may
be expunged without a Claim Objection having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court.

        3. Applicability of Insurance Policies.

        Except as otherwise provided in the Plan or the Plan Supplement, distributions to Holders of
Allowed Claims shall be in accordance with the provisions of any applicable insurance policy. Nothing
contained in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or
any Entity may hold against any other Entity, including insurers under any policies of insurance, nor shall
anything contained herein constitute or be deemed a waiver by such insurers of any defenses, including
coverage defenses, held by such insurers.

                                        ARTICLE VIII.
                           PROCEDURES FOR RESOLVING CONTINGENT,
                             UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Allowance of Claims.

         After the Effective Date, each of the Reorganized Debtors shall have and retain any and all rights
and defenses the applicable Debtor had with respect to any Claim or Interest immediately before the
Effective Date; provided, however, the Plan Administrator or Creditor Trust shall have and retain any and
all rights and defenses that the Debtors had with regard to any Claim to which they may object, except
with respect to any Claim that is Allowed. Except as expressly provided in the Plan or in any order
entered in the Chapter 11 Cases before the Effective Date (including the Confirmation Order), no Claim or
Interest shall become an Allowed Claim or Interest unless and until such Claim or Interest, as applicable,
is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final

                                                   68
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23      Page 74 of 92



Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases
allowing such Claim or Interest.

B.      Claims Administration Responsibilities.

        1. Claims and Interests.

         With respect to all Classes of Claims and Interests, and amounts distributable under the Plan, and
except as otherwise specifically provided in the Plan and notwithstanding any requirements that may be
imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the Plan Administrator or the
Creditor Trust, as applicable, shall have the sole authority (solely in relation to Class 8 Claims in the case
of the Creditor Trust, and in relation to any other Claims in the case of the Plan Administrator) to: (a) File
and prosecute Claim Objections; (b) settle, compromise, withdraw, litigate to judgment, or otherwise
resolve any and all Claim Objections, regardless of whether such Claims are in a Class or otherwise; (c)
settle, compromise, or resolve any Disputed Claim without any further notice to or action, order, or
approval by the Bankruptcy Court; and (d) administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order, or approval by the Bankruptcy
Court; and (e) administer the Unsecured Claims Reserve. After the Effective Date, the Plan Administrator or
the Creditor Trust, as applicable, shall resolve Disputed Claims in accordance with their fiduciary duties
and pursuant to the terms of the Plan.

C.      Estimation of Claims and Interests.

        Before, on, or after the Effective Date, the Debtors or, the Reorganized Debtors, Plan
Administrator, or Creditor Trust (as applicable,) may (but are not required to) at any time request that the
Bankruptcy Court estimate any Claim or Interest pursuant to applicable Law, including pursuant to section
502(c) of the Bankruptcy Code and/or Bankruptcy Rule 3012, for any reason, regardless of whether any
party previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any
such objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest,
including during the litigation of any objection to any Claim or Interest or during the pendency of any
appeal relating to such objection.

D.      Disputed Claims Reserve.

        On or before the Effective Date, the Reorganized Debtors, Plan Administrator, or Creditor Trust
(as applicable) shall establish one or more reserves of the applicable consideration for any Claims against
any Debtor that are Disputed Claims as of the Distribution Record Date, which reserves shall be
administered by the Disbursing Agent.
         After the Effective Date, the applicable Disbursing Agent shall hold such consideration in such
reserve(s) in trust for the benefit of such Disputed Claims as of the Distribution Record Date, that are
ultimately determined to be Allowed after the Distribution Record Date. The Disbursing Agent shall
distribute such amounts (net of any expenses, including any taxes relating thereto), as provided herein, as
such Claims are resolved by a Final Order or agreed to by settlement, and such amounts will be
distributable on account of such Claims as such amounts would have been distributable had such Claims
been Allowed Claims as of the Effective Date under Article III of the Plan solely to the extent of the
amounts available in the applicable reserve(s).
         Upon a Disputed Claim becoming disallowed by a Final Order, the applicable amount of the
consideration that was in the disputed claims reserve on account of such Disputed Claim shall be canceled
by the Reorganized Debtors or the applicable Disbursing Agent. The Disbursing Agent shall adjust the
distributions of the consideration to reflect any such cancellation.

                                                    69
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 75 of 92



        [The Debtors, the Reorganized Debtors, Plan Administrator, or Creditor Trust (as applicable) may
take the position that grantor trust treatment applies in whole or in part to any assets held in a disputed
claims reserve. To the extent such treatment applies to any such account or fund, for all U.S. federal
income tax purposes, the beneficiaries of any such account or fund would be treated as grantors and
owners thereof, and it is intended, to the extent reasonably practicable, that any such account or fund
would be classified as a liquidating trust under section 301.7701-4 of the Treasury Regulations.
Accordingly, subject to the immediately foregoing sentence, if such intended U.S. federal income tax
treatment applied, then for U.S. federal income tax purposes, the beneficiaries of any such account or fund
would be treated as if such beneficiaries had received an interest in such account or fund’s assets and then
contributed such interests to such account or fund. Alternatively, any assets held in a disputed claim
reservethe Trust Claims Reserve for certain Disputed Claims may be subject to the tax rules that apply to
“disputed ownership funds” under 26 C.F.R. 1.468B–9. To the extent such treatment applies, such assets
will be subject to entity-level taxation, and the Reorganized Debtors shall be required to comply with the
relevant rules.]

E.      Time to File Objections to Claims.

        Any objections to Claims or Interests shall be Filed on or before the later of (1) 180 days after the
Effective Date and (2) such other period of limitation as may be specifically fixed by the Bankruptcy
Court upon a motion by the Debtors, the Reorganized Debtors.

F.      Disallowance of Claims or Interests.

        Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which
property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the
Debtors or the Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections
522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the
Entity, on the one hand, and the Debtors or the Reorganized Debtors, as applicable, on the other hand,
agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is liable to
turn over any property or monies under any of the aforementioned sections of the Bankruptcy Code; and
(b) such Entity or transferee has failed to turn over such property by the date set forth in such agreement
or Final Order.

G.      No Distributions Pending Allowance.

         Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a
Disputed Claim or Interest, as applicable, no payment or distribution provided hereunder shall be made on
account of such Claim or Interest unless and until such Disputed Claim or Interest becomes an Allowed
Claim or Interest; provided that if only the Allowed amount of an otherwise valid Claim or Interest is
Disputed, such Claim or Interest shall be deemed Allowed in the amount not Disputed and payment or
distribution shall be made on account of such undisputed amount pending resolution of the dispute.

H.      Distributions After Allowance.

         To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the
provisions of the Plan. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim or Interest becomes a Final Order, the Disbursing Agent
shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder is



                                                   70
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH             Doc 826-3       Filed 12/06/23        Page 76 of 92



entitled under the Plan as of such date, without any interest to be paid on account of such Claim or
Interest.

I.      Single Satisfaction of Claims.

        Holders of Allowed Claims or Allowed Interests may assert such Claims against or Interests in the
Debtors obligated with respect to such Claims or Interests, and such Claims and Interests shall be entitled
to share in the recovery provided for the applicable Claim or Interest against the Debtors based upon the
full Allowed amount of such Claims or Interests. Notwithstanding the foregoing, in no case shall the
aggregate value of all property received or retained under the Plan on account of any Allowed Claim or
Allowed Interest exceed the amount of the Allowed Claim or Allowed Interest.

                                     ARTICLE IX.
             SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests.

         Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, the Confirmation Order, any other Definitive Document, or in any contract,
instrument, or other agreement or document created or entered into pursuant to the Plan or the Plan
Supplement, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any
Intercompany Claims resolved or compromised after the Effective Date by the Reorganized Debtors),
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on Claims or
Interests from and after the Petition Date, whether known or unknown, against, liabilities of, Liens on,
obligations of, rights against, and interests in, the Debtors or any of their assets or properties, regardless of
whether any property shall have been distributed or retained pursuant to the Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in
each case whether or not: (a) a Proof of Claim based upon such debt or right is Filed or deemed Filed
pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest based upon such debt, right, or
interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or
Interest has accepted the Plan; provided, however, any DIP Facility Claims and/or Foris Prepetition
Secured Claims that are rolled up, converted, exchanged, refinanced or amended and restated into the Exit
First Lien Facility and/or New Common Stock of Reorganized Amyris shall not be deemed satisfied and
discharged and shall continue in full force and effect. Any default by the Debtors or their Affiliates with
respect to any Claim or Interest that existed immediately prior to or on account of the filing of the Chapter
11 Cases shall be deemed cured on the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims (other than the Reinstated Claims) and Interests (other than
the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.      Release of Liens.

        Except as otherwise provided herein, in the Exit First Lien Facility Documents, the Plan
Supplement, the Confirmation Order, or in any contract, instrument, release, or other agreement or
document created pursuant to the Plan, and other than as to the DIP Facility Claims and Foris
Prepetition Secured Claims rolled up, converted, exchanged, refinanced or amended and restated,
into the Exit First Lien Facility, on the Effective Date and concurrently with the applicable
distributions made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of
the portion of the Secured Claim that is Allowed as of the Effective Date, except for Other Secured
Claims that the Debtors elect to Reinstate in accordance with the Plan, all mortgages, deeds of trust,

                                                     71
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH         Doc 826-3      Filed 12/06/23      Page 77 of 92



Liens, pledges, or other security interests against any property of the Estates shall be fully released
and discharged, and all of the right, title, and interest of any Holder of such mortgages, deeds of
trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their
successors and assigns, in each case, without any further approval or order of the Bankruptcy
Court and without any action or Filing being required to be made by the Debtors or the
Reorganized Debtors, or any other Holder of a Secured Claim. Any Holder of such Secured Claim
(and the applicable agents for such Holder) shall be authorized and directed, at the sole cost and
expense of the Reorganized Debtors, to release any collateral or other property of any Debtor
(including any cash collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Liens and/or security interests, including the
execution, delivery, and filing or recording of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial, or local agency, records office, or
department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such mortgages, deeds of trust, Liens, pledges, and other security interests.

        To the extent that any Holder of a Secured Claim that has been satisfied or discharged in
full pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly any Liens
and/or security interests to secure such Holder’s Secured Claim, then as soon as practicable on or
after the Effective Date, such Holder (or the agent for such Holder) shall take any and all steps
requested by the Debtors, the Reorganized Debtors, or the Exit First Lien Facility Agent, that are
necessary or desirable to record or effectuate the cancellation and/or extinguishment of such Liens
and/or security interests, including the making of any applicable filings or recordings, and the
Reorganized Debtors shall be entitled to make any such filings or recordings on such Holder’s
behalf.
C.
        Releases by the Debtors.

         Except as otherwise expressly provided in the Plan or the Confirmation Order, on the
Effective Date, for good and valuable consideration, each of the Debtors, on its own behalf and as a
representative of its Estates, to the fullest extent permitted under applicable law, shall, and shall be
deemed to, completely and forever release, waive, void and extinguish unconditionally, as against
each and all of the Released Parties, any and all Claims, Estate Causes of Action, interests,
obligations, suits, judgments, damages, debts, rights, remedies, set offs, and Liabilities of any nature
whatsoever, whether liquidated or Unliquidated, fixed or Contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, then existing or thereafter arising, in law, equity, tort,
contract, or otherwise, that are or may be based in whole or part on any act, omission, transaction,
event, occurrence, or other circumstance, whether direct or derivative, taking place or existing on
or prior to the Effective Date (including prior to the Petition Date) arising from, in connection with,
or related to, directly or indirectly, in any manner whatsoever, the Debtors or their operations,
assets, liabilities, financings, the Estates, or the Chapter 11 Cases, that may be asserted by or on
behalf of such Debtor or its Estate, against any of the Released Parties; provided, however, that
nothing in this section shall operate as a release, waiver, discharge or impairment of any Estate
Causes of Action transferred to the Excluded Party LitigationCreditor Trust, which are preserved
notwithstanding anything to the contrary in this section.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (a) any post-Effective Date obligations of any party or Entity under the Plan, the
Confirmation Order, any Restructuring Transaction, any Definitive Document, or any other
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or the Restructuring Transactions; (b) the rights of any Holder of Allowed

                                                 72
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH         Doc 826-3       Filed 12/06/23     Page 78 of 92



Claims to receive distributions under the Plan; (c) any Claims for indemnification that are
expressly assumed by the Reorganized Debtors pursuant to the Plan or any document, instrument,
or agreement executed to implement the Plan or the Restructuring Transactions; or (d) any
obligations arising under business or commercial agreements or arrangements among the Released
Parties and any non-Debtor Entity.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the
related provisions and definitions contained in the Plan, and further, shall constitute the
Bankruptcy Court’s finding that the Debtor Release is: (i) in exchange for the good and valuable
consideration provided by the Released Parties; (ii) a good faith settlement and compromise of the
claims or Causes of Action released by the Debtor Release; (iii) in the best interests of the Debtors,
the Estates, and all Holders of Claims and Interests; (iv) fair, equitable and reasonable; (v) given
and made after reasonable investigation by the Debtors and after notice and opportunity for
hearing; and (vi) a bar to any of the Debtors, the Reorganized Debtors, or the Estates asserting any
claim or Cause of Action released by the Debtor release against any of the Released Parties.

D.      Third-Party Release by the Releasing Parties.

         Notwithstanding anything contained in the Plan to the contrary, as of the Effective Date,
for good and valuable consideration, the adequacy of which is hereby confirmed, the Releasing
Parties shall be deemed to forever release and waive, as against each and all of the Released Parties,
any and all Direct Claims, whether liquidated or Unliquidatedunliquidated, fixed or
Contingentcontingent, matured or unmatured, known or unknown, foreseen or unforeseen, then
existing or hereafter arising, in law, equity, or otherwise that are or may be based in whole or in
part upon any act, omission, transaction, event, or other occurrence taking place or existing on or
prior to the Effective Date; provided, however, that nothing in this section shall operate as a release,
waiver, discharge or impairment of (i) any Estate Causes of Action or liabilities arising out of actual
fraud, willful misconduct, or gross negligence of any such Released Party as determined by a Final
Order, or (ii) any Causes of Action transferred to the Excluded Party LitigationCreditor Trust,
which Causes of Action are preserved notwithstanding anything to the contrary in this section, or
(iii) any Excluded Party Direct Claims.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release: (a) any post-Effective Date obligations of any party or Entity under the Plan, the
Confirmation Order, any Restructuring Transaction, any Definitive Document, or any other
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan or the Restructuring Transactions, including the Exit First Lien Facility
Documents; (b) the rights of any Holder of Allowed Claims or Allowed Interests to receive
distributions under the Plan; and (c) any obligations arising under business or commercial
agreements or arrangements among the Released Parties and any non-Debtor Entity.

        If the Third-Party Releases are not approved by the Bankruptcy Court, each holder of a
Direct Claim may voluntarily elect to receive its Pro Rata portion of the Third-Party Release
Amounts to which it is entitled by electing to grant the Third-Party Releases, through the following
methods: (x) for (i) holders of Claims who are entitled to submit a ballot to vote on the Plan and
vote to accept the Plan, (ii) holders of Claims who are entitled to submit a ballot to vote on the Plan
and (a) vote to reject the Plan or (b) abstain from voting on the Plan and, in either case, do not elect
to exercise their right to opt out of granting the Third-Party Releases, and (y) for holders of Claims
and Interests who are deemed to accept or reject the Plan and are provided with a notice of
non-voting status providing them with the right to opt out of granting the Third-Party Releases and
                                                 73
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH        Doc 826-3      Filed 12/06/23      Page 79 of 92



do not elect to exercise such right; provided, that, as applicable, the Direct Claims Threshold is
satisfied.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference each of
the related provisions and definitions contained in the Plan, and, further, shall constitute the
Bankruptcy Court’s finding that the Third-Party Release is: (i) essential to the Confirmation; (ii)
given in exchange for the good and valuable consideration provided by the Released Parties,
including, without limitation, the Released Parties’ contributions to facilitating the Excluded Party
Litigation Trust, the Unsecured Claims ReserveCreditor Trust and the Third-Party Release
Settlement Amounts and the restructuring and implementing the Plan; (iii) a good faith settlement
and compromise of the claims or Causes of Action released by the Third-Party Release; (iv) in the
best interests of the Debtors and their Estates; (v) fair, equitable, and reasonable; (vi) given and
made after due notice and opportunity for hearing; and (vii) a bar to any of the Releasing Parties
asserting any Direct Claim released pursuant to the Third-Party Release.

E.      Exculpation.

        Except as otherwise specifically provided in the Plan or the Confirmation Order, no
Exculpated Party shall have or incur liability for, and each Exculpated Party shall be released and
exculpated from any claims and Causes of Action for any claim related to any act or omission in
connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, filing, or termination of prepetition transactions (including with respect
to the Debt Documents), the Disclosure Statement, the DIP Facility, the Plan, the Plan Supplement,
the Exit First Lien Facility Documents, or any Restructuring Transaction, contract, instrument,
release or other agreement or document (including any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement contemplated by
the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) created or entered into in connection with the Disclosure Statement, the DIP
Facility, the Plan, the Plan Supplement, the Exit First Lien Facility, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to the Plan,
or the distribution of property under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event, or other occurrence, except for claims
related to any act or omission that is determined in a Final Order by a court of competent
jurisdiction to have constituted actual fraud, willful misconduct, or gross negligence, but in all
respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities pursuant to the Plan.

        The Exculpated Parties have, and upon Confirmation shall be deemed to have, participated
in good faith and in compliance with the applicable Law with regard to the solicitation of votes and
distribution of consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable Law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.

F.      Plan Injunction.

        Except as otherwise expressly provided in the Plan or the Confirmation Order or for
obligations or distributions issued or required to be paid pursuant to the Plan or the Confirmation
Order, and separate and apart from the Direct Claims Injunction, all Entities who have held, hold,

                                                74
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH          Doc 826-3      Filed 12/06/23      Page 80 of 92



or may hold the Released Claims are permanently enjoined from and after the Effective Date, from
taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, the
Exculpated Parties, or the Released Parties: (a) commencing or continuing in any manner any
action, suit, or other proceeding of any kind on account of or in connection with or with respect to
any Released Claims; (b) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any Released Claims; (c) creating, perfecting, or enforcing any lien or encumbrance
of any kind against such Entities or the Estates of such Entities on account of or in connection with
or with respect to any Released Claims; (d) asserting any right of setoff, subrogation, or
recoupment of any kind against any obligation due from such Entities or against the property or the
Estates of such Entities on account of or in connection with or with respect to any Released Claims
unless such Entity has Filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such
Entity asserts, has, or intends to preserve any right of setoff pursuant to applicable Law or
otherwise; and (e) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any Released Claims released or settled
pursuant to the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals, and
direct and indirect Affiliates, in their capacities as such, shall be enjoined from taking any actions to
interfere with the implementation or Consummation of the Plan. Each Holder of an Allowed Claim
or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions under or
Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to
have consented to the injunction provisions set forth in this Article IX.F hereof.

G.      Direct Claims Injunction.

        1. General Purposes and Terms.

         The Confirmation Order shall provide that, as of the Effective Date, and irrespective of
whether any such holder has agreed to be bound by the Plan, all holders of Direct Claims and their
respective Related Parties will be permanently and forever stayed, enjoined, barred, and restrained
from taking any action, directly or indirectly, for the purposes of asserting, enforcing, or attempting
to assert or enforce any Direct Claim against the Direct Claims Injunction Parties, including all of
the following actions (collectively, the “Direct Claims Injunction”):

             a. commencing or continuing in any manner, any actions or other proceedings
                of any kind with respect to any Direct Claims against any of the Direct
                Claims Injunction Parties or against the property of any of the Direct Claims
                Injunction Parties;
             b. enforcing, levying, attaching, collecting, or otherwise recovering, by any
                manner or means, from any of the Direct Claims Injunction Parties, or the
                property of the Direct Claims Injunction Parties, any judgment, award,
                decree, or order with respect to any Direct Claim against any of the Direct
                Claims Injunction Parties, or any other person;
             c. creating, perfecting, or enforcing any lien of any kind relating to any Direct
                Claim against any of the Direct Claims Injunction Parties, or the property of
                the Direct Claims Injunction Parties; and


                                                 75
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH          Doc 826-3       Filed 12/06/23      Page 81 of 92



             d. taking any act, in any manner, in any place whatsoever, that does not
                conform to, or comply with, the provisions of the Plan, with respect to any
                such Direct Claim.
        2. Standing of Direct Claim Injunction Parties.

        Each of the Direct Claims Injunction Parties shall have standing to seek relief from the
Bankruptcy Court or any court of competent jurisdiction for purposes of enforcement of the Direct
Claims Injunction or other Injunction or releases under the Plan to the extent that any act occurs or
is taken that is contrary to the provisions of, or would interfere with, restrict, defeat, nullify, violate
or otherwise limit the protections afforded the Direct Claims Injunction Party through the Direct
Claims Injunction.

H.      Protections Against Discriminatory Treatment.

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the United
States Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
other similar grant to, condition such a grant to, discriminate with respect to such a grant against, the
Reorganized Debtors, or another Entity with whom the Reorganized Debtors have been associated, solely
because each Debtor has been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent
before the commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors
are granted or denied a discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

I.      Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance
with their standard document retention policy, as may be altered, amended, modified, or supplemented by
the Reorganized Debtors.

J.      Reimbursement or Contribution.

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent
as of the time of allowance or disallowance, such Claim shall be forever disallowed and expunged
notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date: (a) such
Claim has been adjudicated as non-contingent or (b) the relevant Holder of a Claim has Filed a
non-contingent Proof of Claim on account of such Claim and a Final Order has been entered prior to the
Confirmation Date determining such Claim as no longer contingent.

                                     ARTICLE X.
                CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN

A.      Conditions Precedent to Approval of the Disclosure Statement

       The Creditors Committee and the holders of at least 60% of the outstanding principal amount of
the Convertible Notes) each executes a joinder to the Plan Support Agreement.




                                                  76
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH          Doc 826-3       Filed 12/06/23      Page 82 of 92



B.      A. Conditions Precedent to the Confirmation Date.

         It shall be a condition to the Confirmation Date that the following conditions shall have been
satisfied:

        1. the Disclosure Statement Order shall have been entered and shall be in full force and effect
        and not have been reversed, stayed, modified, or vacated on appeal;
        2. the Estate Claims Settlement Order shall have been entered and shall be in full force and
        effect and not have been reversed, stayed, modified, or vacated on appeal;
        2. 3. the Plan Supplement and all of the schedules, documents, and exhibits contained therein
        shall have been filed;
        3. 4. the Plan Support Agreement shall not have been terminated and shall be in full force and
        effect;
        4. 5. the Bankruptcy Court shall have entered the DIP Orders, and the Final DIP Order (in a form
        acceptable to the DIP Lender and the Foris Prepetition Secured Lenders in their sole and absolute
        discretion) shall be in full force and effect in accordance with the terms thereof, and no event of
        default (that had not been waived) shall be continuing thereunder or occur as a result of entry of
        the Confirmation Order;
        5. 6. the sale of the Sold Assets (including the Other Assets in the event of a Sale ToggleOption)
        shall have been approved by the Bankruptcy Court and the order approving the sale of the Sold
        Assets (including the Other Assets in the event of a Sale ToggleOption) shall be entered and not
        reversed, stayed, modified or vacated on appeal;
        6. 7. in the event of a Sale Option, the proceeds of the Sold Assets shall in the aggregate
        generate cash Net Proceeds in an amount necessary to fund the Administrative Claims Budget not
        funded by the Debtors’ receipts and draws under the DIP FacilityPlan Effective Date Funding
        Amount;
        7. 8. the amount of the Allowed Lavvan Secured Claim shall be determined by the Bankruptcy
        Court and such amount shall be acceptable to the DIP Lender and the Foris Prepetition Secured
        Lenders in their sole and absolute discretion;
        8. 9. the Debtors shall negotiate modifications to the Lease dated as of March 10, 2008 by and
        between ES East Associates, LLC and Amyris, Inc. (as from time to time amended, modified,
        supplemented, restated or amended and restated) for the real property located at 5885 Hollis
        Street, Emeryville, California that are acceptable to the DIP Lender and the Foris Prepetition
        Secured Lenders;
        9. 10. the (i) Allowed Administrative Claims shall not exceed the Threshold Administrative
        Claimsamounts set forth in the Plan Effective Date Funding Schedule; and (ii) the Plan Effective
        Date Funding Amount shall not exceed the amount set forth on the Plan Effective Date Funding
        Schedule; and
        10. 11. the Third-Party Releases, Exculpation, Injunction, and Direct Claims Injunction
        provisions provided herein shall be approved and the Released Parties and Direct Claims
        Injunction Parties shall include such persons as is acceptable to the DIP Lender and the Foris
        Prepetition Secured Lenders and the Debtors in their respective sole and absolute discretion.




                                                  77
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3        Filed 12/06/23      Page 83 of 92



C.      B. Conditions Precedent to the Effective Date.

        It shall be a condition to the Effective Date that the following conditions shall have been satisfied:

        1. the Plan Support Agreement shall not have been terminated and shall be in full force and
        effect;

        2. the Bankruptcy Court shall have entered the DIP Orders, and the Final DIP Order shall be in
        full force and effect and not have been reversed, stayed, modified or vacated on appeal;

        3. the Bankruptcy Court shall have entered an order(s) approving the sale of the Sold Assets
        (including the Other Assets in the event of a Sale ToggleOption) and such order(s) shall not
        behave been reversed, stayed, modified or vacated on appeal;

        4. the Bankruptcy Court shall have entered the Confirmation Order in form and substance and
        Materially Consistent (as defined in the Plan Support Agreement) with the Plan Support
        Agreement, and the Confirmation Order shall be in full force and effect and not have been
        reversed, stayed, modified, or vacated on appeal;

        5. the Estate Claims Settlement Order shall have been entered and shall be in full force and
        effect and not have been reversed, stayed, modified, or vacated on appealapproved by the
        Bankruptcy Court and incorporated into the Confirmation Order;

        6. the Definitive Documents shall (i) be on terms Materially Consistent (as defined in the Plan
        Support Agreement) with the Plan Support Agreement and otherwise approved by the requisite
        parties thereto consistent with their respective consent and approval rights as set forth in the Plan
        Support Agreement and (ii) have been executed or deemed executed and delivered by each party
        thereto, and any conditions precedent related thereto shall have been satisfied or waived by the
        applicable party or parties;

        7. all actions, documents, and agreements necessary to implement and consummate the Plan shall
        have been effected and executed, including, without limitation, the closing of the sales of the
        Consumer Brands Businesses;

        8. each of the Exit Facility and related documentation shall have been executed and delivered by
        each party thereto, and any conditions precedent related thereto shall have been satisfied or
        waived (with the consent of the Debtors, the DIP Lender, the Foris Prepetition Secured Lenders,
        and the Exit Facility Lenders), other than such conditions that relate to the effectiveness of the
        Plan and related transactions, including payment of fees and expenses;

        9. all fees, expenses, and other amounts payable to the DIP Lender, the Foris Prepetition Secured
        Lenders and the Consenting Stakeholders as provided for in the Plan and the Plan Support
        Agreement and paymenton account of the Convertible Notes Trustee Fees and Expenses shall
        have been satisfied in full (or provision for such payment made); and

        10. the Debtors, the DIP Lenders and the Foris Prepetition Secured Lenders shall have obtained
        all authorizations, consents, regulatory approvals, rulings, or documents that are necessary to
        implement and effectuate the Plan and each of the other transactions contemplated by the
        Restructuring.

D.      C. Waiver of Conditions.

                                                    78
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23      Page 84 of 92



         Except as otherwise specified in the Plan, any one or more of the conditions to Consummation set
forth in this Article X may be waived only if waived in writing by the Debtors and the DIP Lender and/or
the Foris Prepetition Secured Lenders, as applicable, without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceedings to confirm or consummate the Plan.

E.      D. Effect of Failure of Conditions.

        If Consummation does not occur, the Plan shall be null and void in all respects and nothing
contained in the Plan, the Disclosure Statement, or any other Definitive Document shall: (a) constitute a
waiver or release of any Claims by the Debtors, Claims, or Interests; (b) prejudice in any manner the
rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or (c) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or Interests, or
any other Entity; provided that all provisions of the Plan or other any Definitive Document that survive
termination thereof shall remain in effect in accordance with the terms thereof.

F.      E. Substantial Consummation.

         “Substantial Consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                    ARTICLE XI.
              MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN

A.      Modification and Amendments.

        Except as otherwise specifically provided in the Plan, the Debtors reserve the right to modify the
Plan, whether such modification is material or immaterial, and seek Confirmation consistent with the
Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan; provided that any such
modification (whether material or immaterial) shall be acceptable in form and substance to Foris in its
sole and absolute discretion, the Creditors’ Committee, and the Ad Hoc Group and materially consistent
with the Plan Support Agreement. Subject to those restrictions on modifications set forth in the Plan, and
the Plan Support Agreement and the requirements of section 1127 of the Bankruptcy Code, Bankruptcy
Rule 3019, and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of
the Debtors expressly reserves its respective rights to revoke or withdraw, or to alter, amend, or modify
the Plan with respect to such Debtor, one or more times, after Confirmation, and, to the extent necessary
may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any
defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of the Plan.

B.      Effect of Confirmation on Modifications.

        Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan
since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not
require additional disclosure or resolicitation under Bankruptcy Rule 3019.

C.      Revocation or Withdrawal of Plan.

        Subject to the Plan Support Agreement, the Debtors reserve the right to revoke or withdraw the
Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (a) the Plan shall be null
and void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing or

                                                   79
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23       Page 85 of 92



limiting to an amount certain of any Claim or Interest or Class of Claims or Interests), assumption or
rejection of Executory Contracts or Unexpired Leases effected under the Plan, and any document or
agreement executed pursuant to the Plan, shall be deemed null and void; and (c) nothing contained in the
Plan shall: (i) constitute a waiver or release of any Claims or Interests; (ii) prejudice in any manner the
rights of such Debtor or any other Entity; or (iii) constitute an admission, acknowledgement, offer, or
undertaking of any sort by such Debtor or any other Entity.

                                          ARTICLE XII.
                                  RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
arising out of, or relating to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of
the Bankruptcy Code, including jurisdiction to:

        a. allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
           unsecured status, or amount of any Claim or Interest, including the resolution of any request
           for payment of any Administrative Claim and the resolution of any and all objections to the
           secured or unsecured status, priority, amount, or allowance of Claims or Interests;

        b. decide and resolve all matters related to the granting and denying, in whole or in part, any
           applications for allowance of compensation or reimbursement of expenses to Professionals
           authorized pursuant to the Bankruptcy Code or the Plan;

        c. resolve any matters related to: (i) the assumption, assumption and assignment, or rejection of
           any Executory Contract or Unexpired Lease to which a Debtor is party or with respect to
           which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims
           arising therefrom, including Cures pursuant to section 365 of the Bankruptcy Code; (ii) any
           potential contractual obligation under any Executory Contract or Unexpired Lease that is
           assumed; (iii) the Reorganized Debtors amending, modifying, or supplementing, after the
           Effective Date, pursuant to Article VI hereof, the list of Executory Contracts and Unexpired
           Leases to be assumed or rejected or otherwise; and (iv) any dispute regarding whether a
           contract or lease is or was executory or expired;

        d. ensure that distributions to Holders of Allowed Claims and Holders of Allowed Interests are
           accomplished pursuant to the provisions of the Plan;

        e. adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
           matters, and any other matters, and grant or deny any applications involving a Debtor that may
           be pending on the Effective Date;

        f.   enter and implement such orders as may be necessary to execute, implement, or consummate
             the provisions of the Plan and all contracts, instruments, releases, indentures, and other
             agreements or documents created or entered into in connection with the Plan, the
             Confirmation Order, or the Disclosure Statement;

        g. enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a)
           of the Bankruptcy Code;




                                                  80
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3      Filed 12/06/23      Page 86 of 92



        h. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
           connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s
           obligations incurred in connection with the Plan;

        i.   issue injunctions, enter and implement other orders, or take such other actions as may be
             necessary to restrain interference by any Entity with Consummation or enforcement of the
             Plan;

        j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
             releases, injunctions, exculpations, and other provisions contained in Article IX hereof and
             enter such orders as may be necessary or appropriate to implement such releases, injunctions,
             and other provisions;

        k. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
           repayment or return of distributions and the recovery of additional amounts owed by the
           Holder of a Claim or Interest for amounts not timely repaid pursuant to Article VII.J hereof;

        l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason
             modified, stayed, reversed, revoked, or vacated;

        m. determine any other matters that may arise in connection with or relate to the Plan, the Plan
           Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument,
           release, indenture, or other agreement or document created in connection with the Plan or the
           Disclosure Statement;

        n. enter an order or final decree concluding or closing the Chapter 11 Cases;

        o. adjudicate any and all disputes arising from or relating to distributions under the Plan or any
           transactions contemplated therein;

        p. adjudicate any and all matters relating to the Excluded Party LitigationCreditor Trust;

        q. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
           inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        r.   determine requests for the payment of Claims and Interests entitled to priority pursuant to
             section 507 of the Bankruptcy Code;

        s. hear and determine disputes arising in connection with the interpretation, implementation, or
           enforcement of the Plan or the Confirmation Order, including disputes arising under
           agreements, documents, or instruments executed in connection with the Plan;

        t.   hear and determine matters concerning U.S. state, local, and federal taxes in accordance with
             sections 346, 505, and 1146 of the Bankruptcy Code;

        u. hear and determine all disputes involving the existence, nature, scope, or enforcement of any
           exculpations, discharges, injunctions, and releases granted in the Plan, including under Article
           IX hereof, whether occurring prior to or after the Effective Date;

        v. enforce all orders previously entered by the Bankruptcy Court; and


                                                  81
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 87 of 92



        w. hear any other matter not inconsistent with the Bankruptcy Code.

                                           ARTICLE XIII.
                                    MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect.

        Subject to Article X.A hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062
or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the
avoidance of doubt, the documents and instruments contained in the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized Debtors,
any and all Holders of Claims or Interests (irrespective of whether such Holders of Claims or Interests
have, or are deemed to have, accepted the Plan), all Entities that are parties to or are subject to the
settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtors. All Claims and Interests shall be as fixed, adjusted, or compromised,
as applicable, pursuant to the Plan regardless of whether any Holder of a Claim or Interest has voted on
the Plan.

B.      SEC Matters.

        Notwithstanding any language to the contrary in the Disclosure Statement, Plan and/or
Confirmation Order, no provision shall (i) preclude the United States Securities and Exchange
Commission (“SEC”) from enforcing its police or regulatory powers; or, (ii) enjoin, limit, impair or delay
the SEC from commencing or continuing any claims, causes of action, proceeding or investigations
against any non-Debtor person or non-Debtor entity in any forum; provided that the foregoing shall not
diminish the scope of any exculpation to which any party is entitled under section 1125(e) of the
Bankruptcy Code.

C.      Additional Documents.

         On or before the Effective Date, the Debtors may file with the Bankruptcy Court such agreements
and other documents as may be necessary to effectuate and further evidence the terms and conditions of
the Plan; provided that any and all such agreements and documents shall be in form and substance
acceptable to the Debtors and the Foris Secured Parties. The Debtors or the Reorganized Debtors, as
applicable, and all Holders of Claims or Interests receiving distributions pursuant to the Plan and all other
parties in interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
take any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

D.      Statutory Committee and Cessation of Fee and Expense Payment.

        On the Effective Date, the Creditors’ Committee and any other statutory committee appointed in
the Chapter 11 Cases shall dissolve and members thereof shall be released and discharged from all rights
and duties from or related to the Chapter 11 Cases, except in connection with final fee applications of
Professionalsfor purposes of prosecution of requests for payment of Professional Claims for services
rendered prior to the Effective Dateand reimbursement of expenses on a final basis. The Reorganized
Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of or
advisors to the Creditors’ Committee or any other statutory committees after the Effective Date except
with respect to (a) the prosecution of requests for payment of Professional Claims for services rendered
and reimbursement of expenses on a final basis. Notwithstanding the foregoing, the dissolution of the


                                                   82
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH            Doc 826-3       Filed 12/06/23       Page 88 of 92



Creditors’ Committee shall not prohibit the Creditors’ Committee enforcing and protecting its rights after
the Effective Date.

E.      Reservation of Rights.

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or
effect if the Effective Date does not occur. None of the Filing of the Plan, any statement or provision
contained in the Plan, or the taking of any action by any Debtor with respect to the Plan, the Disclosure
Statement, or the Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights
of any Debtor with respect to the Holders of Claims or Interests prior to the Effective Date.

F.      Successors and Assigns.

         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
Affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if any, of
each Entity.

G.      Notices.

        All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to
have been duly given or made when actually delivered or, in the case of notice by facsimile transmission,
when received and telephonically confirmed, addressed as follows:


        If to Counsel to the Debtors:

        Pachulski Stang Ziehl & Jones LLP
        919 N. Market Street, 17th Floor, Wilmington, DE 19801
        Attn: Richard M. Pachulski (rpachulski@pszjlaw.com) and
        Debra I. Grassgreen, Esq. (dgrassgreen@pszjlaw.com)

        If to Counsel to the DIP Agent, DIP Lenders and Foris Prepetition Secured Lenders:

        Goodwin Procter LLP
        620 Eighth Avenue
        New York, NY 10018
        Attn: Michael H. Goldstein (mgoldstein@goodwinlaw.com)
        Alexander Nicas (anicas@goodwinlaw.com)
        Debora Hoehne (dhoehne@goodwinlaw.com)

        Troutman Pepper Hamilton Sanders LLP
        Hercules Plaza, Suite 5100
        1313 N. Market Street, P.O. Box 1709
        Wilmington, DE 19899
        Attn: David M. Fournier (david.fournier@troutman.com)

        If to Counsel to the Creditors’ Committee:


                                                     83
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH          Doc 826-3       Filed 12/06/23      Page 89 of 92



        White & Case LLP
        111 South Wacker Drive, Suite 5100
        Chicago, IL 60606
        Attn: Gregory F. Pesce (gpesce@whitecase.com) and
        Andrew F. O’Neill (aoneill@whitecase.com)

        White & Case LLP
        1221 Avenue of the Americas
        New York, NY 10020
        Attn: John Ramirez (john.ramirez@whitecase.com) and
        Andrea Kropp (andrea.kropp@whitecase.com)

        Potter Anderson & Corroon LLP
        1313 N. Market Street, 6th Floor
        Wilmington, DE 19801
        Attn: Christopher M. Samis (casmis@potteranderson.com) and
        Katelin A. Morales (kmorales@potteranderson.com)

         After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities
that to continue to receive documents pursuant to Bankruptcy Rule 2002, an Entity must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
Reorganized Debtors are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

H.      Term of Injunctions or Stays.

          Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until the
Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms. The Trading Order shall remain
enforceable (i) as to transfers through the Effective Date with respect to those persons having
“Beneficial Ownership” of “Common Stock” (as such terms are defined in the Trading Order), and
(ii) as to taking any action that claims any deduction for worthlessness of “Beneficial Ownership” of
“Common Stock” by a “50-Percent Shareholder” (as such terms are defined in the Trading Order)
for a taxable year ending before the Effective Date.

        Notwithstanding anything to the contrary herein, the automatic stay imposed by section 362
of the Bankruptcy Code and the injunctions set forth in Article IX.F of the Plan shall remain
applicable to Claims that have the benefit of an applicable insurance policy arising prior to the
Effective Date up to the amount of the applicable SIR or deductible, which Claims shall be treated
as General Unsecured Claims.

I.      Entire Agreement.

       Except as otherwise indicated, the Plan (including, for the avoidance of doubt, the documents and
instruments in the Plan Supplement) supersedes all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.


                                                  84
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH           Doc 826-3       Filed 12/06/23       Page 90 of 92



J.      Plan Supplement.

        All exhibits and documents included in the Plan Supplement are an integral part of the Plan and
are incorporated into and are a part of the Plan as if set forth in full in the Plan. After the exhibits and
documents are Filed, copies of such exhibits and documents shall be available upon written request to the
Debtors’ counsel at the address above or by downloading such exhibits and documents from the Debtors’
restructuring website at https://cases.stretto.com/amyris/ or the Bankruptcy Court’s website at
www.deb.uscourts.gov/bankruptcy. To the extent any exhibit or document in the Plan Supplement is
inconsistent with the terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the Plan
Supplement document or exhibit shall control (unless stated otherwise in such Plan Supplement document
or exhibit or in the Confirmation Order).

K.      Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding, alteration,
or interpretation, the remainder of the terms and provisions of the Plan will remain in full force and effect
and will in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation.

         The Confirmation Order shall constitute a judicial determination and shall provide that each term
and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or modified
without the Debtors’ or the Reorganized Debtors’ consent, as applicable; and (c) nonseverable and
mutually dependent.

L.      Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the
Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to
section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents,
representatives, members, principals, shareholders, officers, directors, managers, employees, advisors, and
attorneys will be deemed to have participated in good faith and in compliance with the Bankruptcy Code
in the offer, issuance, sale, and purchase of Securities offered and sold under the Plan and any previous
plan, and, therefore, no such parties nor individuals nor the Reorganized Debtors will have any liability
for the violation of any applicable Law, rule, or regulation governing the solicitation of votes on the Plan
or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous
plan.

M.      Closing of Chapter 11 Cases.

         On and after the Effective Date, the Debtors or the Reorganized Debtors shall be permitted to
close all of the Chapter 11 Cases of the Debtors, except for the Chapter 11 Case of Debtor Amyris, Inc.
(or such other Debtor as the Debtors may determine in their sole discretion), and change the corporate
name of such Debtor, and thereafter such Debtor’s case will remain open following the Effective Date,
and all contested matters relating to any of the Debtors, including Claim Objections and any adversary
proceedings, shall be administered and heard in the Chapter 11 Case(s) of such Debtor(s), irrespective of
whether such Claim(s) were Filed or such adversary proceeding was commenced against a Debtor whose


                                                   85
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH        Doc 826-3      Filed 12/06/23     Page 91 of 92



Chapter 11 Case was closed.

       When all Disputed Claims have become Allowed or disallowed and all distributions have been
made in accordance with the Plan, the Reorganized Debtors shall seek authority to close any remaining
Chapter 11 Cases in accordance with the Plan, the Bankruptcy Code and the Bankruptcy Rules.




                                                86
LA:4885-6165-4676.6 03703.004
ACTIVE/126095810.17126374413.8
              Case 23-11131-TMH                 Doc 826-3       Filed 12/06/23     Page 92 of 92



Dated: December 16, 2023                                  AMYRIS, INC.

                                                          on behalf of itself and all other Debtors



                                                          /s/

                                                          Philip J. Gund
                                                          Chief Restructuring Officer




                                                          87
LA:4885-6165-4676.6 03703.0044866-1998-1461.5 03703.004
